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                           Exhibit 1




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1    ROBERT W. FERGUSON
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2    NOAH GUZZO PURCELL, WSBA #43492
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3    NATHAN K. BAYS, WSBA #43025
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5      Assistant Attorneys General
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6    TERA M. HEINTZ, WSBA #54921
       (application for admission forthcoming)
7    KARL D. SMITH, WSBA #41988
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8    800 Fifth Avenue, Suite 2000
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9    (206) 464-7744

10
                     UNITED STATES DISTRICT COURT
11                  EASTERN DISTRICT OF WASHINGTON
                               AT YAKIMA
12
       STATE OF WASHINGTON, et                    NO. 1:20-CV-03127-SAB
13     al.,
                                                  DECLARATION OF NIKKI
14                          Plaintiffs,           ANTHONASIN IN SUPPORT
             v.                                   OF PLAINTIFF STATES’
15                                                MOTION FOR TEMPORARY
       DONALD J. TRUMP, et al.,                   RESTRAINING ORDER
16
                            Defendants.
17

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19

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF NIKKI                     1                   Complex Litigation Division
     ANTHONASIN                                                    800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



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1           I, NIKKI ANTHONASIN, declare as follows:

2           1.      I am over the age of 18, am competent to testify as to the matters

3     herein, and make this declaration based on my personal knowledge.

4           2.      I am the Clerk Craft Director of Manual and Mechanization for the

5     American Postal Workers Union at the United States Postal Service, and have

6     held this position since April 2019. I was previously a union steward at the

7     Milwaukee Mail Processing Annex and the Milwaukee Processing and

8     Distribution Center since July of 2015. I work at the Milwaukee Mail Processing

9     Annex (MMPA) in Oak Creek, WI. As the Clerk Craft Director of Manual and

10    Mechanization I represent the entire Clerk Craft at the MMPA and all Clerks in

11    the manual units at the Milwaukee Processing and Distribution Center (P & DC)

12    in downtown Milwaukee. Included in the manual units that I represent are

13    Expeditor Clerks, whose job duties include monitoring the schedules of all mail

14    drivers and trailers. My daily job duties at the Postal Service entail operating

15    automated parcel sorting machines. I have been employed with the Postal Service

16    since 1998.

17          3.      I am aware of recent changes to Postal Service operations involving

18    overtime policy and mail truck departure policy from the Oak Creek facility.

19          4.      In late March to early April of 2020, the Oak Creek facility started

20    seeing significant increases in mail volume, above even that normally received

21    during the holiday season. Although Postal Service staff typically do not work at

22

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1    both the Oak Creek and downtown Milwaukee locations, that policy was initially

2    relaxed in order to handle the overflow. Another option for handling overflow

3    was to transfer extra mail from the Oak Creek to the downtown Milwaukee

4    facility for processing. These procedures worked well for the first week or two to

5    handle the overflow.

6          5.     But then toward the end of June or early July, management at the

7    downtown Milwaukee facility began restricting certain forms of overtime for

8    employees at that facility. Specifically, they restricted employees from earning

9    double-time overtime for working more than 10 hours in a single day or on a

10   second scheduled off-day during a single week. Certain aspects of time-and-a-

11   half overtime were also restricted.

12         6.     At the Oak Creek facility at around the same time, a similar

13   restriction was put in place on double-time overtime for the second scheduled

14   off-day during a single week.

15         7.     After these overtime restrictions were put in place, available

16   employees at both the Oak Creek and downtown Milwaukee facilities were not

17   fully utilized to handle overflow mail at the Oak Creek facility. In other words,

18   the overtime restrictions drastically cut the available workforce at both facilities.

19         8.     At around this same time, significant amounts of incoming mail

20   began backing up at the Oak Creek facility. I witnessed large numbers of trailers

21   waiting to be unloaded at the facility, with up to 30 to 40 backed up trailers sitting

22

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1     outside the facility on some days. For example, on July 12, 2020, my notes

2     indicate that 39 trailers of mail were backed up. These backed up trailers included

3     trailers with Priority Mail, which is very unusual in my experience.

4           9.     The Oak Creek facility did not have enough staff available to unload

5     all this incoming mail. Although it requested support from the downtown

6     Milwaukee facility, the overtime restrictions there meant that it could not send

7     more of its staff to help out at Oak Creek. Similarly, because of the overtime

8     restrictions at the downtown Milwaukee facility, the Oak Creek facility could not

9     transfer its overflow mail to the downtown Milwaukee facility for processing—

10    the downtown Milwaukee facility did not have enough staff to handle Oak

11    Creek’s overflow mail, either.

12          10.    As a result, the Oak Creek facility was forced to transfer some

13    overflow mail to other facilities around Wisconsin, and even one in Illinois.

14          11.    Toward the end of July, the mail volume at the Oak Creek facility

15    decreased, along with the most severe backups. However, in recent weeks I have

16    still sometimes seen around four to eight trailers backed up at the Oak Creek

17    facility. As recently as August 30th, 2020, I saw four trailers backed up at the

18    Oak Creek facility.

19          12.    I had never seen backups this large at the Oak Creek facility before

20    this summer. Perhaps two to four trailers would be backed up in the past on

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1     particular heavy days, but I do not recall ever seeking 30 to 40, or even four to

2     eight, trailers backed up at the same time before this summer.

3           13.    To the best of my knowledge, the overtime restrictions remain in

4     place at both the Oak Creek and downtown Milwaukee facilities.

5           14.    At around the same time that the overtime restrictions were put in

6     place, another policy change regarding outgoing truck scheduling occurred at

7     both the Oak Creek and downtown Milwaukee facilities. Under that new policy,

8     no outgoing mail trucks could leave behind schedule, even if more mail remained

9     to be loaded. Before that policy was put in place, mail trucks had a significant

10    amount of flexibility to leave later than a scheduled departure time in order to

11    ensure no mail was left behind.

12          15.    Another aspect of this new policy was that facilities could not

13    schedule extra truck delivery runs in a given day if some mail remained to be

14    delivered. For example, during June 2020 the Oak Creek facility ordered around

15    seven to nine extra trucks per day to deliver overflow mail to East Coast

16    locations. The new policy prohibited this kind of overflow measure.

17          16.    The new policy meant that outgoing mail trucks had to leave the

18    processing facility at the scheduled departure time with whatever mail had been

19    loaded by then.

20          17.    The effect of this policy was that if the facility could not deliver all

21    mail in a given day, that excess mail had to wait for a future delivery time.

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1             18.    I witnessed significant backups of outgoing mail occur inside the

2       Oak Creek facility at around the time this new policy took effect. Mail that had

3       already been processed was not being loaded onto outgoing mail trucks for

4       delivery because those trucks had to depart on schedule, before they were fully

5       loaded.

6             19.    Some mail trucks would even leave empty from our facility, just so

7       they could leave on schedule. This can happen because it takes time to unload

8       incoming mail from a truck for processing. By the time all the incoming mail is

9       unloaded, there might not be enough time left before the truck’s scheduled

10      departure time to load it up with outgoing mail.

11            20.    The delays caused by backed up mail on the sorting floor

12      compounded themselves. It can be difficult to sort through lots of mail backed up

13      on the sorting floor, which further increases loading times for outgoing mail

14      trucks. So, the more backed up mail on the sorting floor, the longer it takes to

15      load the trucks, the more trucks have to leave before they are fully loaded, and

16      the more mail becomes backed up on the sorting floor.

17            21.    These backups can lead to significant delays for outgoing mail. It is

18      not always true that a piece of mail left behind on a given day necessarily makes

19      it on a truck for delivery the next day, even though that is the goal. When

20      significant backups occur on the floor of the processing facility, an item of mail

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                                                                  ATTORNEY GENERAL OF WASHINGTON
       DECLARATION OF NIKKI                       6                    Complex Litigation Division
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                                                                         Seattle, WA 98104-3188
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        might be buned in the backup far many days before it is found and placed on an
        outgoing truck,
   wa          22.      To the best of my knowledge, the truck departure scheduling

        resmctions remam in place at both the Oak Creek and downtown Milwaukee
        facilities.



                1   declare under penalty ofperjury under the laws ofthc Slate ofWisconsin

        and the Umted States that the foregoing is true and correct.




                                           LEW
                DATED      «my day ofSepbembcL          20211,   at Oak Creek, Wisconsin.

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                                           Nikki Anthonasin
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        DECLARATION OF NIKKI                 77777
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                           Exhibit 2




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5    Assistant Attorneys General
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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
       STATE OF WASHINGTON, et                     NO. 1:20-cv-03127-SAB
13     al.,
                                                   DECLARATION OF JESSICA
14                           Plaintiffs,           ARNDT IN SUPPORT OF
             v.                                    PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
       DONALD J. TRUMP, et al.,                    INJUNCTION
16
                             Defendants.
17

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                                                              ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                            1                   Complex Litigation Division
     JESSICA ARNDT                                                  800 5th Avenue, Suite 2000
                                                                     Seattle, WA 98104-3188
     NO. 1:20-cv-03127-SAB                                                (206) 464-7744




                                                                             Page 10 of 342
     Case 1:20-cv-03127-SAB     ECF No. 54-2       filed 09/09/20   PageID.459 Page 11 of 342

 1    I, Jessica Arndt, declare as follows:

 2            1.   I am over the age of 18, am competent to testify as to the matters

 3    herein, and make this declaration based on my personal knowledge.

 4            2.   I am a resident of Minneapolis, Minnesota. I have been a clinical

 5    social worker for nearly eleven years.

 6            3.   I have voted in every election since I turned eighteen in the year 2000.

 7    I generally follow politics and believe that is it my civic duty to be informed and

 8    vote.

 9            4.   I first voted absentee in 2016 because I was out of state during the

10    time of the general election. I received by ballot in a timely manner and returned it

11    without incident.

12            5.   I attempted to vote absentee again in the 2020 primary. I requested by

13    my ballot two to three weeks before the August primary. I did not receive my

14    ballot before the primary election.

15            6.   Following the primary, I contacted the Minneapolis Office of Election

16    and Voter Services. They informed me that my ballot had in fact been mailed on

17    August 5. I still have not received that absentee ballot.

18            7.   I had planned to vote absentee for the general election because of the

19    pandemic. Due to the problem in receiving my primary ballot, I plan on voting in

20    person in November.

                                                              ATTORNEY GENERAL OF WASHINGTON
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                                                                                     Page 11 of 342
     Case 1:20-cv-03127-SAB     ECF No. 54-2       filed 09/09/20   PageID.460 Page 12 of 342

1           8.     I believe it is important that I am able to cast my ballot. I have

2     already had COVID-19, and am recovered now. But I plan on taking the risk of

3     going to a polling location to ensure that I am able to vote.

4           9.     I believe that if people are unable to vote absentee during a pandemic

5     such as this it will lead to voter suppression. I feel that I was the victim of voter

6     suppression for the primary. Because voting is such an important civic duty I will

7     be casting my vote in person because I do not believe that I can trust in the

8     absentee voting system to get my ballot in on time.

9           I declare under penalty of perjury under the laws of the States of Washington

10    and Minnesota and the United States of America that the foregoing is true and

11    correct.

12
                     9/4/2020
      Dated: ________________
                                                   Jessica Arndt
                                                       JESSICA ARNDT
13

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                                                              ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                           3                   Complex Litigation Division
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      JESSICA ARNDT                                                  Seattle, WA 98104-3188
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                                                                                     Page 12 of 342
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                           Exhibit 3




                                                                     Page 13 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.462 Page 14 of 342




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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF MARY
14                          Plaintiffs,            BARTOLOMUCCI IN
              v.                                   SUPPORT OF PLAINTIFF
15                                                 STATES’ MOTION FOR
        DONALD J. TRUMP, et al.,                   PRELIMINARY INJUNCTION
16
                            Defendants.
17

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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.469 Page 21 of 342




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.470 Page 22 of 342




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.471 Page 23 of 342




                           Exhibit 4




                                                                     Page 23 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.472 Page 24 of 342




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10
                     UNITED STATES DISTRICT COURT
11                  EASTERN DISTRICT OF WASHINGTON
                               AT YAKIMA
12
       STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13     al.,
                                                  DECLARATION OF JOCELYN
14                          Plaintiffs,           BENSON IN SUPPORT OF
             v.                                   PLAINTIFF STATES’ MOTION
15                                                FOR PRELIMINARY
       DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                                            Page 24 of 342
Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20   PageID.473 Page 25 of 342




 1         I, Jocelyn Benson, declare as follows:

 2         1.     I am over the age of 18, am competent to testify as to the matters

 3   herein, and make this declaration based on my personal knowledge.

 4         2.     I am the elected Secretary of State for the State of Michigan. See

 5   Mich. Const. 1963, Art. 5, § 21.

 6         3.     By statute, I am Michigan’s Chief Election Officer with supervisory

 7   control over local election officials in the performance of their duties. See Mich.

 8   Comp. Laws § 168.21. In that capacity, I also oversee the Bureau of Elections,

 9   which is responsible for the integrity of the state’s elections by ensuring election

10   laws are followed, training and advising 1,603 clerks, compiling election results

11   for federal and state elections and providing instructional materials.

12         4.     Under Michigan’s Constitution, “every citizen of the United States

13   who is an elector qualified to vote in Michigan shall have . . . the right, once

14   registered, to vote an absent voter ballot without giving a reason, during the forty

15   (40) days before an election, and the right to choose whether the absent voter

16   ballot is applied for, received and submitted in person or by mail.” Const. 1963,

17   art 2, §4(1)(g).

18         5.     An application for an absent voter ballot may be made by a written

19   request signed by the voter, on an absent voter ballot application form provided

20   by the clerk, or on a federal postcard application. MCL 168.759. The application

21   may be returned by mail or by delivering it in-person. Id.

22

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 1         6.     Requests to have an absent voter ballot mailed must be received by

 2   the local clerk no later than 5:00 p.m. the Friday before the election. MCL

 3   168.759.

 4         7.     Mailed ballots must reach the clerk before the close of the polls at

 5   8:00 p.m. on election day to be counted. MCL 168.764a; MCL 168.720.

 6         8.     Mailed ballots that reach the clerk after the polls close on election

 7   day are rejected and may not be counted, even if they were postmarked before

 8   Election Day.

 9         9.     Local clerks in Michigan use both First Class and marketing mail to

10   mail ballots. Historically, the USPS has worked with the state and clerks to

11   ensure that election mail is marked and receives expedited service regardless of

12   the class of mail.

13         10.    In 2019 and 2020, the state, clerks, and print vendors have expended

14   significant time and money on ensuring absent voter ballot envelopes meet USPS

15   standards for election mail. Since a statewide election in March 2020, the state

16   has allocated more than $2 million for the purchase of absent voter ballot

17   envelopes that meet these standards. The state led this effort largely at the urging

18   of the USPS. The USPS did not request that absent voter ballot envelopes be sent

19   only by First Class mail as part of this process. Rather, the state’s expectation

20   was that USPS would continue to provide expedited service for election mail

21
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                                                               ATTORNEY GENERAL OF WASHINGTON
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Case 1:20-cv-03127-SAB      ECF No. 54-2     filed 09/09/20    PageID.475 Page 27 of 342




 1   regardless of class, and that increased statewide compliance with USPS design

 2   standards for election mail would facilitate this service.

 3         11.    Voters pay First Class to have ballots returned, though some local

 4   jurisdictions prepay for postage.

 5         12.    On July 29, 2020, Mr. Thomas Marshall, General Counsel for the

 6   USPS, sent a letter to me, Michigan Secretary of State Jocelyn Benson, to notify

 7   me that “certain deadlines for requesting and casting mail-in ballots [in

 8   Michigan] are incongruous with the Postal Service’s delivery standards.”

 9   Accordingly, Mr. Marshall notified me that “this mismatch creates a risk that

10   ballots requested near the deadline under state law will not be returned by mail

11   in time to be counted under your laws as we understand them.”

12         13.    Mr. Marshall also advised me that, as a result of the Postal Service’s

13   delivery standards, to the extent the mail is used to transmit ballots to and from

14   voters, “there is significant risk that, at least in certain circumstances, ballots may

15   be requested in a manner that is consistent with your election rules and returned

16   promptly, and yet not be returned in time to be counted.”

17         14.    The scourge of COVID-19 in Michigan has increased reliance on

18   voting by mail by more than 50 percent. In Michigan’s previous statewide

19   election in March, under 40 percent of voters cast ballots by mail. In the August

20   election, 65 percent of votes were cast by mail (a record for a statewide election).

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                                                                  ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF JOCELYN BENSON                                     Complex Litigation Division
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                                                                         Seattle, WA 98104-3188
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Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20   PageID.476 Page 28 of 342




 1         15.    The August election set a state record for number of votes by mail

 2   (1.6 million) despite having much lower turnout than November presidential

 3   elections. Although we have not yet received statewide empirical data, my

 4   Department has received reports from several clerks that ballots they put in the

 5   mail took several weeks to reach voters.

 6         I declare under penalty of perjury under the laws of the State of Michigan

 7   and the United States that the foregoing is true and correct.

 8         DATED this      18th day of August, 2020, at Detroit, Michigan.

 9
10                                    JOCELYN BENSON
                                      Secretary of State
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                                                               ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF JOCELYN BENSON                                  Complex Litigation Division
                                                                     800 5th Avenue, Suite 2000
                                                                      Seattle, WA 98104-3188
                                                                           (206) 464-7744



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                           Exhibit 5




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1    ROBERT W. FERGUSON
     Attorney General
2    NOAH GUZZO PURCELL, WSBA #43492
     Solicitor General
3    NATHAN K. BAYS, WSBA #43025
     KRISTIN BENESKI, WSBA #45478
4    ANDREW R.W. HUGHES, WSBA #49515
     CRISTINA SEPE, WSBA #53609
5    Assistant Attorneys General
     EMMA GRUNBERG, WSBA #54659
6    TERA M. HEINTZ, WSBA #54921
       (application for admission forthcoming)
7    KARL D. SMITH, WSBA #41988
       Deputy Solicitors General
8    800 Fifth Avenue, Suite 2000
     Seattle, WA 98104
9    (206) 464-7744

10
                         UNITED STATES DISTRICT COURT
11                      EASTERN DISTRICT OF WASHINGTON
                                   AT YAKIMA
12
       STATE OF WASHINGTON, et                         NO. 1:20-cv-03127-SAB
13     al.,
                                                       DECLARATION OF ANNE
14                               Plaintiffs,           BIPES IN SUPPORT OF
                v.                                     PLAINTIFF STATES’ MOTION
15                                                     FOR PRELIMINARY
       DONALD J. TRUMP, et al.,                        INJUNCTION
16
                                 Defendants.
17

18
           I, Anne Bipes, declare as follows:
19
           1.        I am over the age of 18, am competent to testify as to the matters
20
     herein, and make this declaration based on my personal knowledge.
21
22

                                                                  ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                                    Complex Litigation Division
     ANN BIPES                                                          800 5th Avenue, Suite 2000
                                                                         Seattle, WA 98104-3188
                                                                              (206) 464-7744




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     Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20   PageID.479 Page 31 of 342


1           2.      I am a resident of Saint Louis Park, in Hennepin County, Minnesota.

2           3.      I am temporarily staying with a friend of mine in Portola Valley,

3     California.

4           4.      On July 23, 2020, I submitted an electronic application through the

5     Minnesota Secretary of State’s website for a Minnesota absentee ballot to enable

6     me to vote in the statewide primary election that was held on August 11.

7           5.      According to the Secretary of State’s website, my absentee ballot was

8     mailed to me from Minnesota on July 23. The ballot did not reach me in California

9     until August 4, 12 days later.

10          6.      At that time, I was concerned that if I returned my completed ballot by

11    standard U.S. Mail, it would not reach election officials in Minnesota in time to be

12    counted in the August 11 primary. As a result, on August 5, I sent my completed

13    ballot to the Hennepin County election office by Priority Mail, which promised

14    expedited delivery but cost $7.75.

15          7.      The Postal Service reported that my ballot was delivered to the county

16    election office on August 8. I learned from the Secretary of State’s website that the

17    ballot was accepted by election officials. If I had not sent my ballot by the

18    expedited Priority Mail service, I do not believe it would have arrived in time to be

19    counted.


      DECLARATION OF                         2                ATTORNEY GENERAL OF WASHINGTON
                                                                   Complex Litigation Division
      ANNE BIPES                                                    800 5th Avenue, Suite 2000
                                                                     Seattle, WA 98104-3188
                                                                          (206) 464-7744




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1           8.     I have voted in every even-year election since I became old enough to

2     be eligible to vote. I believe that voting is a responsibility as well as right and a

3     privilege. It is of utmost importance to me that every voter’s vote is counted, and I

4     am deeply opposed to any attempt to impair any person’s right to have their vote

5     received and counted.

6           9.     I am concerned about my ability to cast an effective vote in

7     Minnesota’s November 2020 general election. Because I expect to stay in

8     California until after Election Day, I will need to use the absentee process to cast

9     my ballot. In light of my experience casting a ballot in the primary, I am concerned

10    that using the mail process from 2,000 miles away from my home could lead to

11    delivery delays that could prevent my vote from being timely received and

12    counted.

13          I declare under penalty of perjury under the laws of the States of Washington

14    and California and the United States that the foregoing is true and correct.


15    Dated: August 18, 2020                         /s/ Anne Bipes
16                                                   ANNE BIPES

17

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      DECLARATION OF                         3                ATTORNEY GENERAL OF WASHINGTON
                                                                   Complex Litigation Division
      ANNE BIPES                                                    800 5th Avenue, Suite 2000
                                                                     Seattle, WA 98104-3188
                                                                          (206) 464-7744




                                                                                   Page 32 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.481 Page 33 of 342




                           Exhibit 6




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2    NOAH GUZZO PURCELL, WSBA #43492
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     KRISTIN BENESKI, WSBA #45478
4    ANDREW R.W. HUGHES, WSBA #49515
     CRISTINA SEPE, WSBA #53609
5    Assistant Attorneys General
     EMMA GRUNBERG, WSBA #54659
6    TERA M. HEINTZ, WSBA #54921
       (application for admission forthcoming)
7    KARL D. SMITH, WSBA #41988
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     Seattle, WA 98104
9    (206) 464-7744

10
                     UNITED STATES DISTRICT COURT
11                  EASTERN DISTRICT OF WASHINGTON
                               AT YAKIMA
12
       STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13     al.,
                                                  DECLARATION OF ELISA
14                          Plaintiffs,           CAFFERATA IN SUPPORT OF
             v.                                   PLAINTIFF STATES’ MOTION
15                                                FOR PRELIMINARY
       DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

18
19

20

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22

                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF ELISA                                         Complex Litigation Division
     CAFFERATA                                                     800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.485 Page 37 of 342




                           Exhibit 7




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.488 Page 40 of 342




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.489 Page 41 of 342




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.491 Page 43 of 342




                           Exhibit 8




                                                                     Page 43 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.492 Page 44 of 342




1    ROBERT W. FERGUSON
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2    NOAH GUZZO PURCELL, WSBA #43492
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3    NATHAN K. BAYS, WSBA #43025
     KRISTIN BENESKI, WSBA #45478
4    ANDREW R.W. HUGHES, WSBA #49515
     CRISTINA SEPE, WSBA #53609
5    Assistant Attorneys General
     EMMA GRUNBERG, WSBA #54659
6    TERA M. HEINTZ, WSBA #54921
       (application for admission forthcoming)
7    KARL D. SMITH, WSBA #41988
       Deputy Solicitors General
8    800 Fifth Avenue, Suite 2000
     Seattle, WA 98104
9    (206) 464-7744

10
                     UNITED STATES DISTRICT COURT
11                  EASTERN DISTRICT OF WASHINGTON
                               AT YAKIMA
12
       STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13     al.,
                                                  DECLARATION OF KEITH
14                          Plaintiffs,           COMBS IN SUPPORT OF
             v.                                   PLAINTIFF STATES’ MOTION
15                                                FOR PRELIMINARY
       DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF COMBS                                         Complex Litigation Division
                                                                   800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.493 Page 45 of 342




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.495 Page 47 of 342




                           Exhibit 9




                                                                     Page 47 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.496 Page 48 of 342




1    ROBERT W. FERGUSON
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2    NOAH GUZZO PURCELL, WSBA #43492
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4    ANDREW R.W. HUGHES, WSBA #49515
     CRISTINA SEPE, WSBA #53609
5    Assistant Attorneys General
     EMMA GRUNBERG, WSBA #54659
6    TERA M. HEINTZ, WSBA #54921
       (application for admission forthcoming)
7    KARL D. SMITH, WSBA #41988
       Deputy Solicitors General
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     Seattle, WA 98104
9    (206) 464-7744

10
                     UNITED STATES DISTRICT COURT
11                  EASTERN DISTRICT OF WASHINGTON
                               AT YAKIMA
12
       STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13     al.,
                                                  DECLARATION OF LESLIE
14                          Plaintiffs,           CULLY IN SUPPORT OF
             v.                                   PLAINTIFF STATES’ MOTION
15                                                FOR PRELIMINARY
       DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

18
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21
22

                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                               Complex Litigation Division
     LESLIE CULLY                                                  800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744




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Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20   PageID.497 Page 49 of 342




 1   I, LESLIE CULLY, declare:

 2         1. I am a resident of the State of Illinois. I am over the age of 18 and

 3   make this declaration from personal knowledge and based on records from the

 4   Illinois Department of Human Services. If called as a witness, I could and

 5   would testify competently to all the matters set forth below.

 6         2. I am the Associate Director of the Division of Family and

 7   Community Services within the Illinois Department of Human Services. I

 8   oversee the administration of the local offices across Illinois that administer

 9   public assistance programs. I have held this position since April 2019.

10         3. The Division of Family and Community Services (the “Division”)

11   administers the following federal and state benefit programs for low income

12   households: Supplemental Nutrition Assistance Program (“SNAP”), Temporary

13   Assistance for Needy Families (“TANF”), and Medicaid programs.

14         4. As of August 1, 2020, the Division was administering benefits for a

15   total of 2,032,767 individuals receiving SNAP, 69,631 individuals receiving

16   TANF (including state-funded programs), and 2,954,142 individuals receiving

17   Medicaid.

18         5. The Division’s primary method of communication with these

19   individuals and households is through mail delivered by the United States

20   Postal Service (“USPS”).

21

22

                                                               ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                                 Complex Litigation Division
24   LESLIE CULLY                                                    800 5th Avenue, Suite 2000
                                                                      Seattle, WA 98104-3188
                                                                           (206) 464-7744
25

26                                                                            Page 49 of 342
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 1         6. On August 12 and 19, 2020, the Division mailed a combined total of

 2   110,361 SNAP redetermination notices to recipients. As of August 31, 2020,

 3   however, we have only received 1594 responses. This amount is significantly

 4   lower than our normal response rate, which is typically 60% of applications

 5   mailed.

 6         7. Federal and state laws governing the programs administered by the

 7   Division impose strict timelines on the processing and delivery of benefits,

 8   notification to applicants and recipients, and appeals associated with public

 9   benefits. For example, the Division must provide at least 10 days’ advance

10   notice before reducing or terminating benefits. See 7 CFR § 273.13.

11         8. The Division also depends upon the USPS to ensure timely

12   communication with the more than 2 million individuals it serves.

13         9. Mail delays resulting from the proposed cuts to the postal service will

14   impede the Division’s ability to timely communicate with households in need of

15   assistance.

16         10. No other viable form of communication exists to contact the

17   Division’s benefit recipients. For example, electronic mail or use of a website is

18   not feasible because our constituents do not have regular or reliable access to

19   the Internet. In addition, private delivery or courier services are cost-

20   prohibitive. As a result, the Division relies heavily upon USPS services and

21

22

                                                                ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                                  Complex Litigation Division
24   LESLIE CULLY                                                     800 5th Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
                                                                            (206) 464-7744
25

26                                                                             Page 50 of 342
     Case 1:20-cv-03127-SAB       ECF No. 54-2   filed 09/09/20   PageID.499 Page 51 of 342



 1       developed its method to distribute benefits in reliance on timely, efficient postal

 2       services.

 3                11. Mail delays resulting from the proposed cuts to the postal service will

 4       slow the delivery of approximately $353 million in monthly SNAP benefits and

 5       $11 million in monthly TANF and related state-funded program benefits,

 6       potentially impacting the ability of low income households to meet their basic

 7       needs.

 8                I declare under penalty of perjury under the laws of the State of

 9       Washington and Illinois and the United States that the foregoing is true

10       and correct.

11

12                DATED this 4th day of September, 2020, at Springfield, Illinois.

13

14                                          LESLIE CULLY
                                            Associate Director
15                                          Illinois Department of Human Services
16

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                                                                    ATTORNEY GENERAL OF WASHINGTON
        DECLARATION OF                                                   Complex Litigation Division
24      LESLIE CULLY                                                      800 5th Avenue, Suite 2000
                                                                           Seattle, WA 98104-3188
                                                                                (206) 464-7744
25
                                                                                 Page 51 of 342
26
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.500 Page 52 of 342




                         Exhibit 10




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Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.501 Page 53 of 342




1    ROBERT W. FERGUSON
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4    ANDREW R.W. HUGHES, WSBA #49515
     CRISTINA SEPE, WSBA #53609
5    Assistant Attorneys General
     EMMA GRUNBERG, WSBA #54659
6    TERA M. HEINTZ, WSBA #54921
       (application for admission forthcoming)
7    KARL D. SMITH, WSBA #41988
       Deputy Solicitors General
8    800 Fifth Avenue, Suite 2000
     Seattle, WA 98104
9    (206) 464-7744

10
                     UNITED STATES DISTRICT COURT
11                  EASTERN DISTRICT OF WASHINGTON
                               AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF CHRIS
14                          Plaintiffs,            CZUBAKOWSKI IN SUPPORT
             v.                                    OF PLAINTIFF STATES’
15                                                 MOTION FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF CHRIS                                         Complex Litigation Division
     CZUBAKOWSKI                                                   800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.502 Page 54 of 342




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.503 Page 55 of 342




                                                                    Page 55 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.504 Page 56 of 342




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.505 Page 57 of 342




                                                                    Page 57 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.506 Page 58 of 342




                Exhibit 11




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Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.507 Page 59 of 342




1    ROBERT W. FERGUSON
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2    NOAH GUZZO PURCELL, WSBA #43492
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     KRISTIN BENESKI, WSBA #45478
4    ANDREW R.W. HUGHES, WSBA #49515
     CRISTINA SEPE, WSBA #53609
5    Assistant Attorneys General
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6    TERA M. HEINTZ, WSBA #54921
       (application for admission forthcoming)
7    KARL D. SMITH, WSBA #41988
       Deputy Solicitors General
8    800 Fifth Avenue, Suite 2000
     Seattle, WA 98104
9    (206) 464-7744

10
                     UNITED STATES DISTRICT COURT
11                  EASTERN DISTRICT OF WASHINGTON
                               AT YAKIMA
12
       STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13     al.,
                                                  DECLARATION OF DAVID W.
14                          Plaintiffs,           DART IN SUPPORT OF
             v.                                   PLAINTIFF STATES’ MOTION
15                                                FOR PRELIMINARY
       DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                               Complex Litigation Division
     DAVID W. DART                                                 800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



                                                                            Page 59 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.508 Page 60 of 342




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.509 Page 61 of 342




                                                                     Page 61 of 342
Case 1:20-cv-03127-SAB    ECF No. 54-2   filed 09/09/20   PageID.510 Page 62 of 342




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                                                                      Page 62 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.511 Page 63 of 342




                         Exhibit 12




                                                                     Page 63 of 342
 Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20   PageID.512 Page 64 of 342


 1    ROBERT W. FERGUSON
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 2    NOAH GUZZO PURCELL, WSBA #43492
      Solicitor General
 3    NATHAN K. BAYS, WSBA #43025
      KRISTIN BENESKI, WSBA #45478
 4    ANDREW R.W. HUGHES, WSBA #49515
      CRISTINA SEPE, WSBA #53609
 5      (application for admission forthcoming)
      Assistant Attorneys General
 6    EMMA GRUNBERG, WSBA #54659
      TERA M. HEINTZ, WSBA #54921
 7      (application for admission forthcoming)
      KARL D. SMITH, WSBA #41988
 8      (application for admission forthcoming)
      Deputy Solicitors General
 9    800 Fifth Avenue, Suite 2000
      Seattle, WA 98104
10    (206) 464-7744

11
                            UNITED STATES DISTRICT COURT
12                         EASTERN DISTRICT OF WASHINGTON
                                      AT YAKIMA
13
     STATE OF WASHINGTON, et al.,                   NO. 1:20-cv-03127-SAB
14
                             Plaintiffs,            DECLARATION OF NICOLE
15          v.                                      DAVIDSON IN SUPPORT OF
                                                    PLAINTIFF STATES’ MOTION FOR
16   DONALD J. TRUMP, et al.,                       PRELIMINARY INJUNCTION

17                           Defendants.

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     DECLARATION OF                                               ATTORNEY GENERAL OF VIRGINIA
                                                                        202 North Ninth Street
     NICOLE DAVIDSON                                                  Richmond, Virginia 23219
                                                                       804-692-0558 (telephone)
                                                                       804-692-1647 (facsimile)
                                                                        clewis@oag.state.va.us


                                                                             Page 64 of 342
Case 1:20-cv-03127-SAB         ECF No. 54-2       filed 09/09/20      PageID.513 Page 65 of 342




 1           I, Nicole Davidson, declare as follows:

 2           1.      I am over the age of 18, am competent to testify as to the matters herein, and

 3    make this declaration based on my personal knowledge.

 4           2.      I am the Secretary of the Board of Directors of Ring Dog Rescue, Inc. (Ring),

 5    a women-run nonprofit based in Virginia that rescues, rehabilitates and places abused,

 6    abandoned, and homeless dogs. Ring focuses its efforts on pit bulls given the overwhelming

 7    need for their adoption in animal shelters across Virginia. Ring operates a foster program

 8    with homes throughout Virginia, including a number that are dedicated to caring for senior

 9    and terminally ill dogs. Ring acts as a liaison between shelters, animal control, and disaster

10    agencies state-wide, and assists in providing appropriate medical care. This includes ensuring

11    that dogs are spayed and neutered and up-to-date on vaccinations. Ring specifically works

12    with other rescue and transport organizations to rescue, foster, and re-home dogs from

13    municipal shelters.

14           3.      I also serve on the Board of Directors of A.L. Shilling Spay & Neuter, Inc.

15    (Shilling), another women-run and Virginia-based nonprofit that strives to provide low-cost

16    or free spay and neuter services to companion animals in the greater Richmond, Virginia

17    area. Shilling focuses its resources on animals in underserved areas, municipal shelters, and

18    other animal rescue organizations. Shilling’s goal is to reduce the number of homeless

      companion animals in Virginia, and to improve the health and quality of life of owned
19
      companion animals and those awaiting adoption.
20
             4.      Recent changes in delivery of mail by the United States Postal Service have
21
      materially impaired the ability of both Ring and Shilling to offer their services to Virginians
22

     DECLARATION OF                                                       ATTORNEY GENERAL OF VIRGINIA
                                                                                202 North Ninth Street
     NICOLE DAVIDSON                                                          Richmond, Virginia 23219
                                                                               804-692-0558 (telephone)
                                                                               804-692-1647 (facsimile)
                                                                                clewis@oag.state.va.us


                                                                                        Page 65 of 342
Case 1:20-cv-03127-SAB         ECF No. 54-2       filed 09/09/20      PageID.514 Page 66 of 342




 1    across the Commonwealth. These impacts have been particularly acute as pet adoption has

 2    markedly increased during the ongoing COVID-19 pandemic.

 3           5.      Ring relies on the mail to deliver necessary paperwork and contracts to those

 4    who are interested in adopting a dog, along with medications for adopted dogs. In recent

 5    months, Ring has begun to rely even more heavily on the mail to minimize in-person

 6    interactions and decrease the likelihood of exposure to COVID-19.

 7           6.      However, on two separate occasions in the last three months, adoption

 8    packs—which include both the relevant contractual paperwork and medications—have been

 9    lost in transit by the United States Postal Service. One adoption pack was eventually located

10    at a North Carolina facility, even though that pack was sent from Henrico County to

11    Chesterfield County, both of which are located in Central Virginia. The Postal Service never

12    provided an explanation as to why that adoption pack was routed to North Carolina, nor has

13    that pack ever been delivered. The other adoption pack was never located. Ring incurred

14    additional expenses as the lost packages forced the organization to replace the lost

15    medication and reproduce the lost paperwork.

16           7.      Ring also relies on the mail to ensure compliance with various State laws that

17    require nonprofits to register in order to solicit donations. Ring spends thousands of dollars

18    each year to file the necessary paperwork and remain eligible to fundraise in these States.

      The registration process requires regular consultation with outside counsel, including sending
19
      notarized documents through the Postal Service. On multiple occasions in recent months,
20
      however, notarized documents sent via Priority Mail were delayed in transit to Ring’s
21
22

     DECLARATION OF                                                       ATTORNEY GENERAL OF VIRGINIA
                                                                                202 North Ninth Street
     NICOLE DAVIDSON                                                          Richmond, Virginia 23219
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                                                                                        Page 66 of 342
Case 1:20-cv-03127-SAB         ECF No. 54-2        filed 09/09/20       PageID.515 Page 67 of 342




 1    counsel. In some cases, those delays have jeopardized Ring’s registrations, which would

 2    render the nonprofit ineligible to solicit donations in each of the affected States.

 3           8.      Finally, Ring relies on the United States Postal Service to deliver merchandise

 4    sold by the organization to raise funds for its operations. In the last three months, over a

 5    dozen orders have been delayed between five and ten days. Despite repeated inquiries, the

 6    Postal Service has been unable to track those missing packages for Ring, leaving the

 7    nonprofit unable to provide accurate estimates to customers as to when their purchases would

 8    arrive. The organization’s inability to rely on the Postal Service to deliver merchandise

 9    undermines its efforts to fundraise for its adoption services.

10           9.      Shilling also relies on the mail to provide spaying and neutering services to

11    pet owners across Virginia. But, as with Ring, Shilling has experienced delays in the delivery

12    of critical mail sent through the United States Postal Service.

13           10.     Just this month, a set of documents necessary for an insurance audit and sent

14    through the United States Postal Service were delayed by over a month. As a result of that

15    delay, Shilling nearly lost its insurance coverage.

16           11.      Shilling also recently received word from a laboratory with which the

17    nonprofit contracts that Shilling had not paid various medical bills. The laboratory, which

18    among other things provides heartworm tests for Shilling, threatened to discontinue service

      in the event that Shilling did not pay those bills. Upon investigation, Shilling learned that the
19
      medical bills had been sent through the United States Postal Service but were never
20
      delivered.
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                                                                                         Page 67 of 342
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 1           12.     Shilling separately experienced a week-and-a-half period in recent months

 2    during which the nonprofit received absolutely no mail, which was highly unusual. Although

 3    mail delivery resumed after Shilling filed a complaint with the local Post Office, no mail

 4    from that period was ever delivered.

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     DECLARATION OF                                                      ATTORNEY GENERAL OF VIRGINIA
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                         Exhibit 13




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10
                     UNITED STATES DISTRICT COURT
11                  EASTERN DISTRICT OF WASHINGTON
                               AT YAKIMA
12
       STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13     al.,
                                                  DECLARATION OF STEVE H.
14                          Plaintiffs,           FISHER IN SUPPORT OF
             v.                                   PLAINTIFF STATES’ MOTION
15                                                FOR PRELIMINARY
       DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                         Exhibit 14




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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
       STATE OF WASHINGTON, et                     NO. 1:20-cv-03127-SAB
13     al.,
                                                   DECLARATION OF NATHAN
14                           Plaintiffs,           GEISSEL IN SUPPORT OF
             v.                                    PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
       DONALD J. TRUMP, et al.,                    INJUNCTION
16
                             Defendants.
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Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20   PageID.524 Page 76 of 342




 1         I, Nathan Geissel, declare as follows:

 2         1.     I am over the age of 18, am competent to testify as to the matters

 3   herein, and make this declaration based on my personal knowledge.

 4         2.     I am a resident of Grants Pass, Oregon.

 5         3.     I am an Emergency Medical Technician. Before this, I worked as a

 6   patient access specialist

 7         4.     Two years ago, my doctor prescribed me Eliquis—a medication to

 8   treat and prevent blood clots and to prevent stroke.

 9         5.     I have received this medication by mail for the last year and a half.

10   I get my medication delivered by mail because my insurance covers more of the

11   cost of the medication when it is delivered by mail. Otherwise, I have to pay a

12   $135 copay for a month’s supply of medicine if I pick it up at a retail pharmacy.

13   Getting my prescription by mail is also more convenient.

14         6.     I ordered a refill for this medication on August 10, 2020, but I did

15   not receive it until August 21, 2020. It took 11 days for the medication to get

16   from Portland, Oregon to Grants Pass, Oregon.

17         7.     Before this delayed delivery for my medicine ordered on August 10,

18   2020, I had never experienced a delay in receiving my medicine. Generally, I

19   receive my prescription refills by mail two days, at most three days, after ordering

20   it.

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     NO. 1:20-CV-03127-SAB                                                 (206) 464-7744



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 1         8.     After ordering the refill on August 10, I tracked the package to make

 2   sure it would get to me before I ran out my medication on August 18.

 3         9.     I saw that the package was stuck in Portland, Oregon until August

 4   16, and then it remained in Eugene, Oregon for another few days.

 5         10.    When I realized that this refill package might not get to me before I

 6   would run out on August 18, 2020, I began to panic and called my doctor and

 7   insurer to figure out what I should do. I spent over three hours on the phone with

 8   various folks, and it seemed like everyone passed the buck.

 9         11.    Eventually, a local pharmacist approved two more weeks of the

10   medication that I picked up in person. I initially paid out of pocket for this

11   emergency refill but my insurance has since covered it.

12         12.    I finally received my refill on August 21, 2020. If I had not taken all

13   of these efforts to get an emergency supply, I would have gone three days without

14   this critical medication.

15         13.    The potential consequences of missing doses of this medicine are

16   serious. This medication is vital to my health because of my blood clotting

17   disorder. If I do not take this blood thinner twice a day in regular intervals, I run

18   an extremely high risk of having another serious blood clot.

19         14.    I consider myself lucky because I work in the healthcare field and

20   know how the system works and how to advocate for myself within it. I worry

21   about how the mail delays will affect seniors and veterans who do not know the

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     DECLARATION OF                              3              ATTORNEY GENERAL OF WASHINGTON
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 1   system and would not be able to get a local supply. I worry that many of them

 2   would simply go without their medication, leading to dire consequences.

 3         I declare under penalty of perjury under the laws of the United States that

 4   the foregoing is true and correct.

 5
 6         DATED this _____ day of August, 2020, at Grants Pass, Oregon.

 7

 8                                    Nathan Geissel
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     DECLARATION OF                            4             ATTORNEY GENERAL OF WASHINGTON
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                         Exhibit 15




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10
                     UNITED STATES DISTRICT COURT
11                  EASTERN DISTRICT OF WASHINGTON
                               AT YAKIMA
12
       STATE OF WASHINGTON, et                        NO. 1:20-cv-03127-SAB
13     al.,
                                                      DECLARATION OF RUTH Y.
14                          Plaintiffs,               GOLDWAY IN SUPPORT OF
             v.                                       PLAINTIFF STATES’ MOTION
15                                                    FOR PRELIMINARY
       DONALD J. TRUMP, et al.,                       INJUNCTION
16
                            Defendants.
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                                                                                Page 80 of 342
     Case 1:20-cv-03127-SAB    ECF No. 54-2      filed 09/09/20   PageID.529 Page 81 of 342



1             I, Ruth Y. Goldway, declare as follows:

2             1.     I am over the age of 18, am competent to testify as to the matters

3       herein, and make this declaration based on my personal knowledge.

4             2.     I was a commissioner of the U.S. Postal Regulatory Commission

5       (PRC) from 1998 to 2015 and its chair from 2009 to 2014. From 2016 to 2018, I

6       worked as an independent consultant to several research firms offering expertise

7       on the Postal Service's operations to investors wanting to invest in publicly traded

8       companies involved in the postal sector.

9             3.     The PRC is an independent agency with oversight and regulatory

10      authority over the United States Postal Service. Among other things, the PRC

11      works with the USPS to develop and maintain postal rate regulations and service

12      standards and to adjudicate complaints against the USPS.

13            4.     I am aware that in late July USPS General Counsel Thomas

14      Marshall sent letters to state election officials indicating that state election mail,

15      including ballots, would no longer be treated as First Class Mail unless states paid

16      the higher First Class Mail rates.

17            5.     Mr. Marshall’s letter represents a very concerning change in USPS

18      policy.

19            6.     Typically, states have sent election mail at the Non-Profit Marketing

20      Mail rate, which is considerably less expensive than First Class Mail. Currently,

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                                             2
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25
                                                                                 Page 81 of 342
26
     Case 1:20-cv-03127-SAB    ECF No. 54-2     filed 09/09/20   PageID.530 Page 82 of 342



1       First Class postage is 55 cents per item, while Marketing Mail postage is only 20

2       cents per item.

3             7.     Even though states typically pay Marketing rate, the Postal Service

4       has a longstanding practice of providing extra care and attention to election-

5       related mail, on the level of First Class mail.

6             8.     USPS created a special logo and bar code identifiers several years

7       ago so that mail sorters are able to pull election mail out from the routine mail

8       stream to be sure it is delivered as soon as possible.

9             9.     As a result, election mail has historically been subject to the delivery

10      standards for First Class Mail, usually 2–5 days, rather than the slower standard

11      for Marketing Mail, usually 3–10 days.

12            10.    The practical effect of treating election mail as Marketing Mail

13      versus First Class Mail is actually much greater than the differing delivery

14      standards would suggest. This is because First Class is delivered on time at higher

15      rates than Marketing Mail.

16            11.    According to the PRC’s most recent Quarterly Service Performance

17      Reports, published August 10, 2020, between April 1 and June 30, 2020, the

18      USPS delivered between 81 percent and 95 percent of domestic First Class Mail

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                                            3
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                                                                                Page 82 of 342
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1       on time.1 Upwards of 98 percent of First Class Mail was delivered no more than

2       three days late. Thus, nearly 100 percent of First Class Mail was delivered within

3       eight days of mailing.

4              12.       By contrast, USPS delivered between 70.4 and 92.2 percent of

5       Marketing Mail on time and 88.8 to 98.1 percent no more than three days late,

6       depending on whether senders delivered mail to a USPS facility themselves. Put

7       another way, where USPS was responsible for both pick-up and delivery, as much

8       as 10 percent of Marketing Mail took longer than 13 days to deliver.

9              13.       The differing on-time performance between First Class and

10      Marketing Mail compounds the differences in stated delivery standards, and

11      makes it more likely that treating election mail as Marketing Mail will result in

12      voters not getting their ballots in time to vote.

13             14.       True and correct copies of the PRC’s most recent Quarterly Service

14      Performance Reports are attached hereto as Exhibit A.

15             15.       Offering citizens the option of voting by mail provides significant

16      advantages, including the potential to increase voter turnout for national, state,

17      and local elections. Mail-in voting means voters do not need to take time off from

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20                 The variance between 81% and 95% depends chiefly on two factors: (1)

21      whether the mail was presorted, which speeds delivery; and (2) how far the mail

22      has to travel.


                                              4
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                                                                                  Page 83 of 342
26
     Case 1:20-cv-03127-SAB    ECF No. 54-2     filed 09/09/20   PageID.532 Page 84 of 342



1       work, find transportation, locate the right polling station, get babysitters, or rush

2       through critical, yet sometimes complicated ballot initiatives.

3             16.    Mail-in voting makes it much easier for disabled people, people with

4       limited English proficiency, and others who might need additional time or

5       assistance to vote.

6             17.    Mail-in voting is secure, tamper-resistant, and, in contrast to

7       electronic voting machines, leaves a paper trail to ensure an accurate count.

8             18.    As we are facing the global COVID-19 pandemic, mail-in voting

9       has never been more important to facilitate the right of individuals to safely and

10      securely participate in our democracy.

11            19.    As I wrote recently in the New York Times, the USPS is fully

12      capable of handling what is expected to be a record number of mail-in ballots for

13      the November election. See Ruth Y. Goldway, I Was a Postal Service Regulator

14      for   18    Years.     Don’t    Panic.,    N.Y.     Times     (Aug.       18,     2020),

15      https://www.nytimes.com/2020/08/18/opinion/usps-vote-by-mail.html. But to

16      ensure that citizens’ votes are actually counted, the USPS needs to ensure that

17      mailed ballots continue to be treated as First Class Mail and delivered in a timely

18      manner.

19      //

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                                            5
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        DECLARATION OF RUTH Y.                                           Complex Litigation Division
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25
                                                                                 Page 84 of 342
26
     Case 1:20-cv-03127-SAB   ECF No. 54-2    filed 09/09/20   PageID.533 Page 85 of 342



1             I declare under penalty of perjury under the laws of the State of

2       Washington and the United States that the foregoing is true and correct.

3             DATED this 28th day of August, 2020, at Venice, California.

4                                          Ruth Y. Goldway
5                                       Ruth Y. Goldway
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                                          6
                                                                 ATTORNEY GENERAL OF WASHINGTON
        DECLARATION OF RUTH Y.                                        Complex Litigation Division
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                                                                              Page 85 of 342
26
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.534 Page 86 of 342




                         Goldway Declaration
                               Exhibit A




                                                                     Page 86 of 342
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                                                 United States Postal Service®                                                     Quarter III
                                Quarterly Performance for USPS Marketing Mail®                                                      FY2020

Overview

Beginning FY2019 Q1, service performance for USPS Marketing Mail® Letters and non-Saturation flats is measured through
the USPS® internal measurement system. The system uses documented arrival time at a designated postal facility to start the
clock, and an Intelligent Mail® barcode (IMB®) scan by postal personnel at delivery for randomly selected delivery points to
stop the clock. Mail piece tracking from IMB® in-process scans is used in conjunction with the sampling data to extrapolate
results for the entire volume of measurement eligible Full Service Intelligent Mail. The transit time from the start-the-clock
through final automated processing is the Processing Duration leg, and the transit time from final automated processing until
delivery is the Last Mile. Total transit time was calculated for the mail and compared with the appropriate service standard for
the product to determine the service performance.

Scores prior to FY2019 Q1 were calculated and compiled by an independent external contractor. The system used for this
reporting was called the Intelligent Mail® Accuracy and Performance System (iMAPS). The external contractor determined
service performance based on the elapsed time between the start-the-clock event recorded by U.S. Postal Service® and the
stop-the-clock event recorded by anonymous households and small businesses that report delivery information directly to the
contractor. The service measure consisted of two parts: (1) how long mail pieces take to get through processing, and (2) how
long mail takes from the last processing scan to delivery. The second portion was used as a delivery factor differential to
determine the percent of all USPS Marketing Mail® delivered on the last processing date versus the percent delivered after the
last processing date. Service performance was measured by comparing the transit time to USPS® service standards to
determine the percent of mail delivered on time.

The service performance measure for Destination Delivery Unit (DDU) Entry Saturation flats involves the identification of major
weekly Saturation mailings within delivery units. Delivery of these mailings is captured with a scan made by carriers at the
completion of delivery of all pieces on the route. Service performance is measured by comparing the delivery date to the end
date of the mailer requested in-home window to determine the percent delivered on time.

The service performance measurement system for Every Door Direct Mail – Retail® (EDDM Retail®) uses the documented
arrival time of a mailing at a retail unit to start the clock, using the point-of-sale scan when mail is handed to U.S. Postal
Service®, and an Intelligent Mail® parcel barcode (IMpb®) scan by a USPS® carrier to stop the clock. The delivery of bundles
of EDDM Retail® pieces is captured with a scan made by carriers at the delivery unit upon distribution for delivery. Service
performance is measured by comparing the total transit time of mail piece bundles to the service standard to determine the
percent delivered on time.

Results for DDU Entry Saturation flats and EDDM Retail® are combined with other Destination Entry Standard Mail in the
Destination Entry scores in this report.

The service performance measure for USPS Marketing Mail® Parcels with USPS Tracking® serves as a proxy for measuring
service performance for USPS Marketing Mail® Parcels.

Limitations

Due to limited automated processing for USPS Marketing Mail® Flats, the service performance results may not be
representative of all USPS Marketing Mail® Flats performance. While Destination Delivery Unit (DDU) entered Saturation Flats
and EDDM Retail® Flats have been included this quarter, significant gaps in the coverage of non-Saturation/non-EDDM Retail®
DDU Entry mail still remain and are excluded from measurement. Results for USPS Marketing Mail® Parcels, which represent
less than 0.1 percent of all USPS Marketing Mail®, are not included in the overall USPS Marketing Mail® results.

Performance Highlights

National Destination Entry mail achieved 92.2 percent on time in FY2020 Quarter 3, which is 1.9 points lower than the same
period last year. For Destination Entry mail, 98.1 percent was delivered within service standard plus three days. The Alaska
Performance Cluster led the nation in Destination Entry performance with 97.8 percent on time. Forty-nine out of 67 districts
achieved an on-time performance at or above the performance target of 91.8 for Destination Entry mail.

End-To-End Entry national performance was 70.4 percent on time, which is 2.9 points higher than the same period last year. In
FY2020 Quarter 3, 88.8 percent of End-To-End Entry USPS Marketing Mail® was delivered within the service standard plus
three days. The Alaska District had the highest End-To-End Entry score with 92.2 percent on time.




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                              United States Postal Service®                                Quarter III
           Quarterly Performance for USPS Marketing Mail®                                   FY2020
            Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                        Destination Entry       End-To-End
                District
                                        Percent On Time       Percent On Time
     Capital Metro Area                      92.3                  67.8
     Atlanta                                 89.7                  50.5
     Baltimore                               83.9                  63.5
     Capital                                 94.9                  76.0
     Greater South Carolina                  95.1                  78.7
     Greensboro                              94.1                  78.3
     Mid-Carolinas                           93.8                  77.1
     Northern Virginia                       96.3                  66.6
     Richmond                                91.4                  63.8
     Eastern Area                            94.5                  73.5
     Appalachian                             97.1                  75.4
     Central Pennsylvania                    93.5                  61.4
     Kentuckiana                             96.6                  79.4
     Northern Ohio                           92.9                  76.0
     Ohio Valley                             94.4                  79.2
     Philadelphia Metro                      92.8                  62.2
     South Jersey                            93.7                  63.0
     Tennessee                               92.9                  67.8
     Western New York                        95.7                  78.2
     Western Pennsylvania                    97.7                  85.8
     Great Lakes Area                        86.2                  63.8
     Central Illinois                        90.4                  64.3
     Chicago                                 86.7                  53.1
     Detroit                                 63.3                  52.5
     Gateway                                 94.7                  73.0
     Greater Indiana                         91.6                  66.2
     Greater Michigan                        91.8                  61.2
     Lakeland                                91.6                  63.2
     Northeast Area                          84.5                  58.0
     Albany                                  96.0                  70.4
     Caribbean                               76.1                  67.6
     Connecticut Valley                      88.1                  62.8
     Greater Boston                          85.1                  58.8
     Long Island                             77.7                  46.8
     New York                                59.5                  52.1
     Northern New England                    92.7                  67.1
     Northern New Jersey                     84.6                  50.8
     Triboro                                 83.3                  56.7
     Westchester                             79.3                  54.1
     Pacific Area                            95.1                  72.0
     Bay-Valley                              95.2                  73.6
     Honolulu                                96.8                  72.4
     Los Angeles                             92.4                  66.4
     Sacramento                              93.8                  68.9
     San Diego                               95.3                  74.1
     San Francisco                           94.8                  79.3
     Santa Ana                               96.5                  72.4
     Sierra Coastal                          96.4                  74.4




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                          United States Postal Service®                                Quarter III
           Quarterly Performance for USPS Marketing Mail®                               FY2020
            Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                    Destination Entry       End-To-End
               District
                                    Percent On Time       Percent On Time
     Southern Area                       94.0                  74.6
     Alabama                             93.2                  63.7
     Arkansas                            95.5                  64.9
     Dallas                              94.5                  74.2
     Fort Worth                          92.9                  75.7
     Gulf Atlantic                       95.1                  74.0
     Houston                             94.0                  83.8
     Louisiana                           89.8                  67.7
     Mississippi                         92.2                  66.9
     Oklahoma                            96.2                  76.6
     Rio Grande                          95.7                  77.6
     South Florida                       92.8                  75.1
     Suncoast                            94.9                  72.3
     Western Area                        96.1                  74.8
     Alaska                              97.8                  92.2
     Arizona                             96.7                  66.0
     Central Plains                      97.4                  77.7
     Colorado/Wyoming                    90.5                  69.4
     Dakotas                             97.4                  75.3
     Hawkeye                             97.7                  81.3
     Mid-America                         95.3                  68.8
     Nevada-Sierra                       97.4                  77.9
     Northland                           96.5                  74.6
     Portland                            97.7                  77.0
     Salt Lake City                      96.3                  75.4
     Seattle                             96.8                  80.9
     Nation FY2020 Q3                    92.2                  70.4

     Nation FY2019 Q3 (SPLY)             94.1                  67.5

     Nation FY2009 Annual                86.4                  70.7
     Nation FY2010 Annual                83.4                  59.0
     Nation FY2011 Annual                70.3                  38.4
     Nation FY2012 Annual                82.0                  56.5
     Nation FY2013 Annual                88.8                  63.3
     Nation FY2014 Annual                89.9                  63.5
     Nation FY2015 Annual                89.1                  59.6
     Nation FY2016 Annual                92.3                  65.9
     Nation FY2017 Annual                93.7                  69.8
     Nation FY2018 Annual                91.6                  66.4
     Nation FY2019 Annual                91.9                  66.2
     Nation FY2020 Q1                    92.0                  67.2
     Nation FY2020 Q2                    93.9                  73.9

     FY2020 Annual Target                91.8                  91.8




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                                                 United States Postal Service®                                                  Quarter III
                                Quarterly Performance for USPS Marketing Mail®                                                   FY2020
                                                Service Variance
Overview

Beginning FY2019 Q1, service performance for USPS Marketing Mail® Letters and non-Saturation flats is measured through
the USPS® internal measurement system. The system uses documented arrival time at a designated postal facility to start the
clock, and an Intelligent Mail® barcode (IMB®) scan by postal personnel at delivery for randomly selected delivery points to
stop the clock. Mail piece tracking from IMB® in-process scans is used in conjunction with the sampling data to extrapolate
results for the entire volume of measurement eligible Full Service Intelligent Mail. The transit time from the start-the-clock
through final automated processing is the Processing Duration leg, and the transit time from final automated processing until
delivery is the Last Mile. Total transit time was calculated for the mail and compared with the appropriate service standard for
the product to determine the service performance.

Scores prior to FY2019 Q1 were calculated and compiled by an independent external contractor. The system used for this
reporting was called the Intelligent Mail® Accuracy and Performance System (iMAPS). The external contractor determined
service performance based on the elapsed time between the start-the-clock event recorded by U.S. Postal Service® and the
stop-the-clock event recorded by anonymous households and small businesses that report delivery information directly to the
contractor. The service measure consisted of two parts: (1) how long mail pieces take to get through processing, and (2) how
long mail takes from the last processing scan to delivery. The second portion was used as a delivery factor differential to
determine the percent of all USPS Marketing Mail® delivered on the last processing date versus the percent delivered after the
last processing date. Service performance was measured by comparing the transit time to USPS® service standards to
determine the percent of mail delivered on time.

The service performance measure for Destination Delivery Unit (DDU) Entry Saturation flats involves the identification of major
weekly Saturation mailings within delivery units. Delivery of these mailings is captured with a scan made by carriers at the
completion of delivery of all pieces on the route. Service performance is measured by comparing the delivery date to the end
date of the mailer requested in-home window to determine the percent delivered on time.

The service performance measurement system for Every Door Direct Mail – Retail® (EDDM Retail®) uses the documented
arrival time of a mailing at a retail unit to start the clock, using the point-of-sale scan when mail is handed to U.S. Postal
Service®, and an Intelligent Mail® parcel barcode (IMpb®) scan by a USPS® carrier to stop the clock. The delivery of bundles
of EDDM Retail® pieces is captured with a scan made by carriers at the delivery unit upon distribution for delivery. Service
performance is measured by comparing the total transit time of mail piece bundles to the service standard to determine the
percent delivered on time.

Results for DDU Entry Saturation flats and EDDM Retail® are combined with other Destination Entry Standard Mail in the
Destination Entry scores in this report.

The service performance measure for USPS Marketing Mail® Parcels with USPS Tracking® serves as a proxy for measuring
service performance for USPS Marketing Mail® Parcels.

Limitations

Due to limited automated processing for USPS Marketing Mail® Flats, the service performance results may not be
representative of all USPS Marketing Mail® Flats performance. While Destination Delivery Unit (DDU) entered Saturation Flats
and EDDM Retail® Flats have been included this quarter, significant gaps in the coverage of non-Saturation/non-EDDM Retail®
DDU Entry mail still remain and are excluded from measurement. Results for USPS Marketing Mail® Parcels, which represent
less than 0.1 percent of all USPS Marketing Mail®, are not included in the overall USPS Marketing Mail® results.

Performance Highlights

National Destination Entry mail achieved 92.2 percent on time in FY2020 Quarter 3, which is 1.9 points lower than the same
period last year. For Destination Entry mail, 98.1 percent was delivered within service standard plus three days. The Alaska
Performance Cluster led the nation in Destination Entry performance with 97.8 percent on time. Forty-nine out of 67 districts
achieved an on-time performance at or above the performance target of 91.8 for Destination Entry mail.

End-To-End Entry national performance was 70.4 percent on time, which is 2.9 points higher than the same period last year. In
FY2020 Quarter 3, 88.8 percent of End-To-End Entry USPS Marketing Mail® was delivered within the service standard plus
three days. The Alaska District had the highest End-To-End Entry score with 92.2 percent on time.




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                                          United States Postal Service®                                          Quarter III
                         Quarterly Performance for USPS Marketing Mail®                                           FY2020
                                         Service Variance
                         Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                            Destination Entry                         End-To-End
           District             Percent         Percent         Percent     Percent    Percent     Percent
                                Within           Within          Within     Within      Within      Within
                                +1-Day          +2-Days         +3-Days     +1-Day     +2-Days     +3-Days
Capital Metro Area               96.9            98.4            99.1        77.4        83.9       88.4
Atlanta                          95.8            97.9            98.9        64.3        74.6       82.1
Baltimore                        93.6            96.6            97.8        73.6        81.4       86.5
Capital                          97.7            98.8            99.3        83.1        87.7       90.6
Greater South Carolina           98.3            99.3            99.6        86.0        90.6       93.5
Greensboro                       98.0            99.1            99.4        85.9        90.3       93.2
Mid-Carolinas                    97.5            98.7            99.3        84.5        89.4       92.4
Northern Virginia                98.2            98.8            99.4        75.8        82.3       86.8
Richmond                         96.5            98.4            99.0        74.7        81.6       86.1
Eastern Area                     97.5            98.6            99.1        81.7        86.7       90.1
Appalachian                      98.7            99.3            99.5        83.4        88.4       91.6
Central Pennsylvania             97.1            98.5            99.2        71.2        78.3       83.4
Kentuckiana                      98.7            99.2            99.5        86.2        90.4       93.2
Northern Ohio                    95.6            96.7            97.4        84.0        88.0       90.6
Ohio Valley                      97.7            98.9            99.3        87.4        91.4       94.0
Philadelphia Metro               96.3            98.0            98.8        73.0        80.4       85.2
South Jersey                     96.7            98.1            98.7        72.2        79.0       83.7
Tennessee                        96.9            98.3            98.9        77.3        83.3       87.8
Western New York                 98.3            99.2            99.5        86.0        90.2       92.9
Western Pennsylvania             99.1            99.5            99.7        90.7        93.4       95.1
Great Lakes Area                 90.6            92.6            94.0        72.5        78.6       82.9
Central Illinois                 94.5            96.4            97.5        73.2        79.8       84.4
Chicago                          92.7            95.5            96.9        63.1        71.3       77.4
Detroit                          69.1            73.0            76.5        60.1        65.3       69.8
Gateway                          97.9            98.9            99.3        82.2        87.9       91.3
Greater Indiana                  95.7            97.4            98.4        74.5        80.0       83.4
Greater Michigan                 94.6            95.8            96.5        66.9        71.8       76.2
Lakeland                         96.1            97.8            98.7        73.3        80.2       85.1
Northeast Area                   90.7            93.3            94.9        67.5        74.4       79.4
Albany                           98.5            99.2            99.5        79.9        85.6       89.2
Caribbean                        87.4            92.2            95.6        77.9        82.7       86.8
Connecticut Valley               92.9            95.0            96.4        72.6        79.3       83.9
Greater Boston                   92.9            95.7            96.9        69.1        76.6       81.8
Long Island                      87.0            91.8            94.2        56.7        64.2       70.0
New York                         67.2            74.6            80.0        60.8        67.6       72.9
Northern New England             96.5            97.7            98.4        74.9        81.1       85.6
Northern New Jersey              89.2            90.8            91.7        60.2        67.8       73.1
Triboro                          89.5            92.4            94.0        64.9        71.1       75.7
Westchester                      88.2            91.2            94.2        63.9        71.4       76.7
Pacific Area                     98.0            99.0            99.4        81.8        87.7       91.4
Bay-Valley                       98.0            99.0            99.4        83.1        88.9       92.7
Honolulu                         98.3            99.1            99.3        81.6        88.4       92.2
Los Angeles                      97.0            98.6            99.1        78.5        85.3       89.6
Sacramento                       97.2            98.5            99.2        80.6        87.5       92.1
San Diego                        98.0            99.0            99.3        82.5        87.3       90.5
San Francisco                    97.9            98.9            99.4        87.2        91.7       94.4
Santa Ana                        98.6            99.4            99.7        81.2        86.4       89.9
Sierra Coastal                   98.5            99.3            99.6        83.0        88.5       92.1




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                                        United States Postal Service®                                          Quarter III
                       Quarterly Performance for USPS Marketing Mail®                                           FY2020
                                       Service Variance
                       Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                          Destination Entry                         End-To-End
         District             Percent         Percent         Percent     Percent    Percent     Percent
                              Within           Within          Within     Within      Within      Within
                              +1-Day          +2-Days         +3-Days     +1-Day     +2-Days     +3-Days
Southern Area                  97.6            98.8            99.3        83.1        88.2       91.6
Alabama                        97.0            98.5            99.1        74.3        81.1       86.4
Arkansas                       97.9            98.9            99.3        73.7        80.8       85.7
Dallas                         97.4            98.6            99.1        83.5        88.4       91.7
Fort Worth                     97.0            98.2            98.7        83.3        88.0       91.2
Gulf Atlantic                  97.8            98.9            99.4        81.9        87.4       91.0
Houston                        97.7            98.9            99.3        89.9        93.2       95.2
Louisiana                      95.8            97.9            98.8        76.1        82.3       87.0
Mississippi                    96.5            98.1            98.8        75.9        82.9       87.3
Oklahoma                       98.6            99.3            99.5        85.7        90.4       93.1
Rio Grande                     98.3            99.2            99.4        86.9        91.4       93.9
South Florida                  97.1            98.8            99.3        83.3        88.5       92.0
Suncoast                       98.3            99.3            99.6        81.4        87.3       91.0
Western Area                   98.6            99.3            99.6        84.4        89.5       92.6
Alaska                         98.7            99.2            99.4        94.6        96.6       97.4
Arizona                        98.8            99.3            99.5        77.1        84.4       89.4
Central Plains                 99.0            99.4            99.6        87.1        91.5       94.0
Colorado/Wyoming               97.2            98.8            99.3        82.1        88.0       91.4
Dakotas                        98.9            99.4            99.6        83.8        88.8       92.1
Hawkeye                        99.0            99.4            99.6        88.5        92.2       94.4
Mid-America                    98.5            99.3            99.5        80.9        87.4       91.0
Nevada-Sierra                  98.7            99.3            99.5        87.1        91.1       93.7
Northland                      98.9            99.4            99.6        83.7        89.0       92.3
Portland                       99.1            99.5            99.7        85.8        90.5       93.4
Salt Lake City                 98.8            99.3            99.6        84.3        89.2       92.2
Seattle                        99.0            99.5            99.7        89.6        93.0       95.2
Nation FY2020 Q3               96.0            97.4            98.1        79.4        85.1       88.8

Nation FY2019 Q3 (SPLY)        97.9            98.9            99.4        80.3        87.8       92.2

Nation FY2009 Annual           93.4            96.4            98.0        78.1        85.1       90.0
Nation FY2010 Annual           92.3            96.0            97.8        68.8        75.8       80.7
Nation FY2011 Annual           86.5            93.2            96.2        53.9        67.1       77.1
Nation FY2012 Annual           92.2            96.0            97.7        70.0        79.7       86.3
Nation FY2013 Annual           96.3            98.4            99.2        77.2        86.3       91.7
Nation FY2014 Annual           96.7            98.6            99.3        77.8        86.6       91.9
Nation FY2015 Annual           96.3            98.4            99.1        74.7        84.0       90.0
Nation FY2016 Annual           97.4            98.8            99.3        79.3        87.0       91.6
Nation FY2017 Annual           97.9            99.0            99.4        82.0        88.9       92.9
Nation FY2018 Annual           97.3            98.8            99.3        79.8        87.5       92.1
Nation FY2019 Annual           97.1            98.6            99.1        79.3        87.1       91.7
Nation FY2020 Q1               97.1            98.5            99.1        80.1        87.6       92.1
Nation FY2020 Q2               97.8            98.9            99.4        84.6        90.3       93.7




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                                            United States Postal Service®                                              Quarter III
                                                                                                                        FY2020
                         Quarterly Performance for Presort First-Class Mail®

  Overview

  Beginning FY2019 Q1, service performance for Presort First-Class Mail® is measured through the USPS®
  internal measurement system. The system uses documented arrival time at a designated postal facility to start
  the clock, and an Intelligent Mail® barcode (IMB®) scan by postal personnel at delivery for randomly selected
  delivery points to stop the clock. Mail piece tracking from IMB® in-process scans is used in conjunction with
  the sampling data to extrapolate results for the entire volume of measurement eligible Full Service Intelligent
  Mail. The transit time from the start-the-clock through final automated processing is the Processing Duration
  leg, and the transit time from final automated processing until delivery is the Last Mile. Total transit time was
  calculated for the mail and compared with the appropriate service standard for the product to determine the
  service performance.

  Scores prior to FY2019 Q1 were calculated and compiled by an independent external contractor. The system
  used for this reporting was called the Intelligent Mail® Accuracy and Performance System (iMAPS). The
  external contractor determined service performance based on the elapsed time between the start-the-clock
  event recorded by U.S. Postal Service® and the stop-the-clock event recorded by anonymous households and
  small businesses that report delivery information directly to the contractor. The service measure consisted of
  two parts: (1) how long mail pieces take to get through processing, and (2) how long mail takes from the last
  processing scan to delivery. The second portion was used as a delivery factor differential to determine the
  percent of all Presort First-Class Mail® delivered on the last processing date versus the percent delivered after
  the last processing date. Service performance was measured by comparing the transit time to USPS® service
  standards to determine the percent of mail delivered on time.

  Performance Highlights

  National Presort First-Class Mail® Overnight performance in FY2020 Quarter 3 was 95.7 percent on time,
  which is 0.6 points lower than the same period last year. National Two-Day performance was 93.2 percent on
  time, which is 2.1 points lower than the same period last year. National Three-To-Five-Day performance was
  90.7 percent on time, which is 2.9 points lower when compared to the same period last year.

  Southern Area led the nation in Overnight service performance, with 96.8 percent on time. Western Area led
  the nation in Two-Day service performance, with 96.0 percent on time in FY2020 Quarter 3. Eastern Area led
  the nation in Three-To-Five-Day service performance, with 91.9 percent on time.

  In FY2020 Quarter 3, 29 districts met or exceeded the Overnight performance target of 96.80, eight districts
  met or exceeded the Two-Day service performance target of 96.50, and none of the districts met or exceeded
  the Three-To-Five-Day service performance target of 95.25. Alaska led the nation in Overnight service
  performance with 98.8 percent on time. Caribbean led in Two-Day service performance with 97.7 percent on
  time, and San Francisco led the nation in Three-To-Five-Day service performance with 94.7 percent on time.




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                                  United States Postal Service®                                       Quarter III
                  Quarterly Performance for Presort First-Class Mail®                                  FY2020
                     Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                      Overnight            Two-Day         Three-To-Five-Day
              District
                                   Percent On Time      Percent On Time     Percent On Time
   Capital Metro Area                   95.8                 94.5                91.6
   Atlanta                              95.8                 95.2                92.7
   Baltimore                            92.6                 88.5                83.2
   Capital                              88.8                 91.9                89.4
   Greater South Carolina               97.2                 95.9                92.4
   Greensboro                           97.2                 96.4                92.2
   Mid-Carolinas                        96.7                 95.2                93.2
   Northern Virginia                    95.5                 93.2                90.6
   Richmond                             94.2                 93.6                90.3
   Eastern Area                         96.3                 93.6                91.9
   Appalachian                          97.9                 95.4                93.4
   Central Pennsylvania                 97.0                 93.6                91.7
   Kentuckiana                          97.1                 94.9                92.2
   Northern Ohio                        95.6                 92.4                90.7
   Ohio Valley                          94.5                 93.1                91.6
   Philadelphia Metro                   95.4                 92.4                92.6
   South Jersey                         97.2                 93.0                91.5
   Tennessee                            96.2                 94.9                91.2
   Western New York                     97.2                 95.8                92.4
   Western Pennsylvania                 97.7                 94.7                93.7
   Great Lakes Area                     92.7                 90.3                88.8
   Central Illinois                     93.5                 92.0                87.3
   Chicago                              91.5                 90.1                87.6
   Detroit                              82.4                 74.7                78.6
   Gateway                              95.8                 94.4                92.8
   Greater Indiana                      95.2                 92.5                93.8
   Greater Michigan                     94.5                 90.1                91.2
   Lakeland                             95.8                 93.6                88.0
   Northeast Area                       94.3                 90.7                86.8
   Albany                               97.4                 92.4                91.7
   Caribbean                            94.8                 97.7                83.2
   Connecticut Valley                   95.5                 92.9                88.4
   Greater Boston                       96.0                 94.8                88.1
   Long Island                          88.6                 87.5                82.5
   New York                             64.1                 66.8                65.6
   Northern New England                 95.8                 94.2                84.5
   Northern New Jersey                  92.4                 92.1                91.4
   Triboro                              88.7                 84.7                80.1
   Westchester                          90.5                 88.6                86.9
   Pacific Area                         95.8                 95.5                91.0
   Bay-Valley                           97.5                 95.2                93.2
   Honolulu                             98.2                 N/A                 80.4
   Los Angeles                          94.1                 95.9                91.3
   Sacramento                           95.5                 94.6                89.5
   San Diego                            97.3                 95.6                90.0
   San Francisco                        95.6                 94.5                94.7
   Santa Ana                            98.1                 96.6                92.3
   Sierra Coastal                       96.7                 96.2                92.8




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                                United States Postal Service®                                       Quarter III
                Quarterly Performance for Presort First-Class Mail®                                  FY2020
                   Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                    Overnight            Two-Day         Three-To-Five-Day
            District
                                 Percent On Time      Percent On Time     Percent On Time
   Southern Area                      96.8                 95.2                91.5
   Alabama                            96.9                 96.2                92.5
   Arkansas                           97.0                 95.2                92.9
   Dallas                             96.2                 94.6                90.8
   Fort Worth                         94.5                 93.7                91.7
   Gulf Atlantic                      98.1                 96.2                92.6
   Houston                            96.9                 94.5                89.5
   Louisiana                          95.3                 94.4                89.6
   Mississippi                        96.9                 94.0                91.4
   Oklahoma                           97.6                 94.6                93.1
   Rio Grande                         96.3                 94.9                92.7
   South Florida                      97.0                 95.2                91.9
   Suncoast                           97.3                 96.5                92.3
   Western Area                       96.7                 96.0                91.3
   Alaska                             98.8                 97.3                92.4
   Arizona                            96.9                 97.0                91.9
   Central Plains                     95.2                 96.4                93.6
   Colorado/Wyoming                   95.3                 90.0                87.3
   Dakotas                            98.5                 97.4                92.8
   Hawkeye                            96.1                 95.7                92.4
   Mid-America                        97.0                 95.6                90.8
   Nevada-Sierra                      98.6                 92.0                94.1
   Northland                          97.2                 95.7                87.5
   Portland                           97.3                 96.5                89.7
   Salt Lake City                     96.8                 97.6                89.3
   Seattle                            96.6                 96.1                89.6
   Nation FY2020 Q3                   95.7                 93.2                90.7

   Nation FY2019 Q3 (SPLY)            96.3                 95.3                93.6

   Nation FY2009 Annual               94.3                 90.0                85.1
   Nation FY2010 Annual               93.4                 92.7                88.2
   Nation FY2011 Annual               90.8                 89.1                90.6
   Nation FY2012 Annual               96.8                 95.7                95.1
   Nation FY2013 Annual               97.2                 97.0                95.1
   Nation FY2014 Annual               97.0                 96.4                92.2
   Nation FY2015 Annual               95.7                 93.6                87.8
   Nation FY2016 Annual               96.2                 95.1                91.7
   Nation FY2017 Annual               96.5                 95.6                93.2
   Nation FY2018 Annual               96.0                 94.9                92.0
   Nation FY2019 Annual               95.5                 94.1                92.0
   Nation FY2020 Q1                   94.4                 93.5                91.2
   Nation FY2020 Q2                   95.9                 94.4                92.6

   FY2020 Annual Target              96.80                96.50               95.25




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                                            United States Postal Service®                                              Quarter III
                                                                                                                        FY2020
                         Quarterly Performance for Presort First-Class Mail®
                                          Service Variance
  Overview

  Beginning FY2019 Q1, service performance for Presort First-Class Mail® is measured through the USPS®
  internal measurement system. The system uses documented arrival time at a designated postal facility to start
  the clock, and an Intelligent Mail® barcode (IMB®) scan by postal personnel at delivery for randomly selected
  delivery points to stop the clock. Mail piece tracking from IMB® in-process scans is used in conjunction with
  the sampling data to extrapolate results for the entire volume of measurement eligible Full Service Intelligent
  Mail. The transit time from the start-the-clock through final automated processing is the Processing Duration
  leg, and the transit time from final automated processing until delivery is the Last Mile. Total transit time was
  calculated for the mail and compared with the appropriate service standard for the product to determine the
  service performance.

  Scores prior to FY2019 Q1 were calculated and compiled by an independent external contractor. The system
  used for this reporting was called the Intelligent Mail® Accuracy and Performance System (iMAPS). The
  external contractor determined service performance based on the elapsed time between the start-the-clock
  event recorded by U.S. Postal Service® and the stop-the-clock event recorded by anonymous households and
  small businesses that report delivery information directly to the contractor. The service measure consisted of
  two parts: (1) how long mail pieces take to get through processing, and (2) how long mail takes from the last
  processing scan to delivery. The second portion was used as a delivery factor differential to determine the
  percent of all Presort First-Class Mail® delivered on the last processing date versus the percent delivered after
  the last processing date. Service performance was measured by comparing the transit time to USPS® service
  standards to determine the percent of mail delivered on time.

  Performance Highlights

  National Presort First-Class Mail® Overnight performance in FY2020 Quarter 3 was 95.7 percent on time,
  which is 0.6 points lower than the same period last year. National Two-Day performance was 93.2 percent on
  time, which is 2.1 points lower than the same period last year. National Three-To-Five-Day performance was
  90.7 percent on time, which is 2.9 points lower when compared to the same period last year.

  Southern Area led the nation in Overnight service performance, with 96.8 percent on time. Western Area led
  the nation in Two-Day service performance, with 96.0 percent on time in FY2020 Quarter 3. Eastern Area led
  the nation in Three-To-Five-Day service performance, with 91.9 percent on time.

  In FY2020 Quarter 3, 29 districts met or exceeded the Overnight performance target of 96.80, eight districts
  met or exceeded the Two-Day service performance target of 96.50, and none of the districts met or exceeded
  the Three-To-Five-Day service performance target of 95.25. Alaska led the nation in Overnight service
  performance with 98.8 percent on time. Caribbean led in Two-Day service performance with 97.7 percent on
  time, and San Francisco led the nation in Three-To-Five-Day service performance with 94.7 percent on time.




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                                            United States Postal Service®                                                         Quarter III
                         Quarterly Performance for Presort First-Class Mail®                                                       FY2020
                                          Service Variance
                           Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                   Overnight                          Two-Day                        Three-To-Five-Day

           District      Percent   Percent      Percent    Percent     Percent   Percent   Percent       Percent     Percent
                         Within     Within       Within    Within       Within    Within   Within         Within      Within
                         +1-Day    +2-Days      +3-Days    +1-Day      +2-Days   +3-Days   +1-Day        +2-Days     +3-Days
Capital Metro Area        98.5       99.1        99.4       98.0        99.0      99.4      97.1           98.6          99.2
Atlanta                   98.4       99.0        99.3       98.3        99.1      99.5      97.3           98.5          99.1
Baltimore                 98.0       98.9        99.2       96.1        98.2      99.0      94.2           97.5          98.6
Capital                   97.2       98.6        99.3       96.8        98.5      99.0      96.3           98.1          98.8
Greater South Carolina    99.0       99.5        99.7       98.6        99.3      99.6      97.5           99.0          99.4
Greensboro                99.1       99.5        99.6       98.7        99.3      99.7      97.4           98.9          99.5
Mid-Carolinas             98.8       99.2        99.5       98.2        99.1      99.5      97.5           98.8          99.2
Northern Virginia         98.0       98.8        99.2       97.6        98.7      99.1      97.1           98.6          99.1
Richmond                  97.6       98.9        99.2       97.6        98.8      99.3      97.0           98.6          99.2
Eastern Area              98.6       99.2        99.5       97.5        98.7      99.2      97.2           98.6          99.2
Appalachian               99.2       99.5        99.7       98.2        99.2      99.5      97.7           99.0          99.5
Central Pennsylvania      99.0       99.4        99.6       97.9        98.9      99.3      97.0           98.4          99.1
Kentuckiana               98.9       99.4        99.6       98.3        99.1      99.5      97.4           98.7          99.3
Northern Ohio             98.3       99.1        99.4       96.4        98.1      99.0      96.3           98.0          98.8
Ohio Valley               97.9       98.8        99.2       96.6        98.1      98.9      97.0           98.6          99.2
Philadelphia Metro        98.4       99.0        99.3       97.4        98.6      99.1      97.5           98.8          99.2
South Jersey              98.9       99.4        99.5       97.6        98.8      99.2      97.3           98.8          99.3
Tennessee                 98.5       99.2        99.5       98.3        99.2      99.5      97.1           98.7          99.3
Western New York          99.0       99.5        99.7       98.6        99.3      99.6      97.6           98.9          99.4
Western Pennsylvania      99.3       99.6        99.8       98.5        99.2      99.6      98.0           99.0          99.4
Great Lakes Area          97.2       98.5        99.1       95.9        97.8      98.7      95.6           97.7          98.7
Central Illinois          97.6       98.9        99.4       97.2        98.8      99.3      95.5           97.9          98.8
Chicago                   97.8       98.9        99.2       96.5        98.2      98.9      94.7           96.8          98.3
Detroit                   92.4       96.1        97.7       85.9        91.6      94.7      89.5           94.2          96.5
Gateway                   98.3       99.0        99.3       98.0        99.0      99.4      97.6           98.8          99.3
Greater Indiana           98.3       99.2        99.5       97.4        98.7      99.3      97.8           99.0          99.4
Greater Michigan          98.1       99.0        99.3       95.9        97.7      98.6      96.7           98.3          99.0
Lakeland                  98.7       99.3        99.6       97.8        98.9      99.4      95.6           97.8          98.8
Northeast Area            97.7       98.7        99.2       96.4        98.0      98.7      95.2           97.8          98.7
Albany                    99.0       99.5        99.7       97.1        98.4      99.0      97.6           99.0          99.5
Caribbean                 98.4       99.1        99.4       99.0        99.4      99.5      94.0           96.7          98.2
Connecticut Valley        97.9       98.7        99.3       97.3        98.5      99.0      95.9           98.2          99.0
Greater Boston            98.3       99.1        99.4       98.1        98.9      99.3      96.4           98.5          99.1
Long Island               97.7       99.1        99.5       95.5        97.7      98.6      93.9           97.8          98.8
New York                  79.7       89.6        94.4       85.4        92.2      95.2      83.0           91.4          94.9
Northern New England      98.0       99.3        99.5       98.0        99.1      99.4      93.8           97.4          98.7
Northern New Jersey       96.6       97.9        98.5       96.7        98.1      98.7      96.9           98.3          99.0
Triboro                   95.1       97.1        97.9       94.5        96.7      97.6      92.6           96.0          97.3
Westchester               95.5       97.3        98.0       95.3        97.4      98.3      95.4           97.7          98.6
Pacific Area              98.8       99.3        99.6       98.8        99.4      99.6      97.0           98.6          99.2
Bay-Valley                99.1       99.5        99.7       98.9        99.4      99.7      97.3           98.7          99.3
Honolulu                  99.2       99.6        99.8       N/A         N/A       N/A       92.8           96.9          98.6
Los Angeles               98.3       99.0        99.3       98.9        99.4      99.6      96.9           98.4          99.1
Sacramento                98.8       99.4        99.6       98.6        99.3      99.6      96.8           98.6          99.2
San Diego                 99.1       99.5        99.7       98.9        99.6      99.7      97.1           98.8          99.4
San Francisco             98.3       99.1        99.4       98.4        99.1      99.4      98.0           99.0          99.3
Santa Ana                 99.4       99.7        99.8       99.0        99.5      99.7      97.5           98.9          99.5
Sierra Coastal            98.9       99.5        99.6       99.0        99.5      99.7      97.4           98.9          99.4




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                                             United States Postal Service®                                                         Quarter III
                          Quarterly Performance for Presort First-Class Mail®                                                       FY2020
                                           Service Variance
                            Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                    Overnight                          Two-Day                        Three-To-Five-Day

         District         Percent   Percent      Percent    Percent     Percent   Percent   Percent       Percent     Percent
                          Within     Within       Within    Within       Within    Within   Within         Within      Within
                          +1-Day    +2-Days      +3-Days    +1-Day      +2-Days   +3-Days   +1-Day        +2-Days     +3-Days
Southern Area              98.9       99.4        99.6       98.4        99.3      99.5      97.2           98.7          99.3
Alabama                    98.9       99.4        99.6       98.5        99.3      99.6      97.6           98.8          99.3
Arkansas                   98.9       99.5        99.6       98.5        99.2      99.5      97.4           98.9          99.4
Dallas                     98.7       99.2        99.5       98.3        99.2      99.5      97.0           98.6          99.2
Fort Worth                 98.7       99.3        99.6       98.1        99.2      99.5      97.3           98.8          99.3
Gulf Atlantic              99.1       99.5        99.7       98.7        99.4      99.6      97.5           98.9          99.4
Houston                    98.8       99.3        99.6       98.1        99.2      99.5      96.4           98.4          99.2
Louisiana                  98.4       99.2        99.4       98.4        99.1      99.4      96.5           98.5          99.2
Mississippi                99.0       99.4        99.6       97.6        99.0      99.4      96.7           98.5          99.2
Oklahoma                   99.0       99.4        99.6       98.5        99.3      99.5      97.7           98.9          99.4
Rio Grande                 98.7       99.3        99.6       98.1        99.2      99.6      97.4           98.9          99.4
South Florida              98.8       99.2        99.5       98.5        99.2      99.6      97.3           98.7          99.3
Suncoast                   99.1       99.5        99.7       99.0        99.5      99.7      97.7           98.9          99.4
Western Area               98.9       99.4        99.6       98.7        99.3      99.6      97.1           98.6          99.2
Alaska                     99.2       99.6        99.7       98.4        98.8      98.9      96.6           98.4          99.0
Arizona                    98.9       99.3        99.5       98.9        99.2      99.4      97.4           98.8          99.3
Central Plains             98.5       99.2        99.5       98.8        99.3      99.6      97.6           98.8          99.3
Colorado/Wyoming           98.2       99.0        99.3       97.7        99.0      99.4      96.1           98.2          99.1
Dakotas                    99.4       99.7        99.7       99.1        99.5      99.7      97.3           98.7          99.3
Hawkeye                    98.7       99.4        99.6       98.5        99.3      99.6      97.6           98.8          99.3
Mid-America                99.0       99.5        99.7       98.6        99.3      99.6      97.2           98.6          99.2
Nevada-Sierra              99.4       99.7        99.7       97.6        98.8      99.5      97.7           98.9          99.3
Northland                  98.9       99.5        99.7       98.6        99.4      99.6      96.1           98.4          99.2
Portland                   99.0       99.5        99.7       98.8        99.4      99.6      96.7           98.5          99.2
Salt Lake City             99.0       99.4        99.6       98.9        99.3      99.6      96.4           98.4          99.1
Seattle                    98.9       99.4        99.7       98.8        99.4      99.6      97.0           98.7          99.3
Nation FY2020 Q3           98.4       99.1        99.4       97.5        98.7      99.2      96.7           98.4          99.1

Nation FY2019 Q3 (SPLY)    98.6       99.2        99.5       98.2        99.1      99.4      97.9           98.9          99.4

Nation FY2009 Annual       98.7       99.3        99.4       97.2        98.6      99.2      93.3           96.7          98.3
Nation FY2010 Annual       98.9       99.6        99.8       98.3        99.3      99.6      96.8           98.4          99.0
Nation FY2011 Annual       98.6       99.5        99.7       98.0        99.4      99.7      97.8           99.1          99.6
Nation FY2012 Annual       99.5       99.8        99.9       99.1        99.7      99.8      98.9           99.6          99.8
Nation FY2013 Annual       99.6       99.8        99.9       99.4        99.8      99.9      98.9           99.6          99.8
Nation FY2014 Annual       99.5       99.8        99.9       99.2        99.7      99.9      97.8           99.2          99.6
Nation FY2015 Annual       99.1       99.6        99.8       98.5        99.4      99.7      96.6           98.8          99.5
Nation FY2016 Annual       99.1       99.6        99.8       98.7        99.4      99.7      97.6           99.0          99.5
Nation FY2017 Annual       99.1       99.6        99.8       98.7        99.4      99.7      98.1           99.2          99.6
Nation FY2018 Annual       99.0       99.5        99.7       98.6        99.4      99.7      97.8           99.1          99.5
Nation FY2019 Annual       98.4       99.1        99.4       97.9        99.0      99.4      97.4           98.7          99.3
Nation FY2020 Q1           97.9       98.8        99.2       97.7        98.9      99.3      97.1           98.7          99.2
Nation FY2020 Q2           98.6       99.2        99.5       98.1        99.1      99.5      97.6           98.9          99.4




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                                              United States Postal Service®                                                          Quarter III
                        Quarterly Performance for Single-Piece First-Class Mail®                                                      FY2020


Overview

Beginning FY2019 Q1, service performance for Single-Piece First-Class Mail® is measured through the USPS® internal
measurement system. The system combines scanning of mailpieces by postal personnel at randomly selected collection
and delivery points with in-process machine scans for all eligible mail to estimate total transit time for the mail. The total
transit is comprised of three legs: collection to initial automated processing, known as First Mile; initial processing to final
automated processing, known as Processing Duration; and final processing to delivery, known as Last Mile. The estimated
transit-time is compared against Single-Piece First-Class Mail® service standards to determine the percent of mail delivered
on time.

Scores prior to FY2019 Q1 were calculated via the External First-Class Mail® Measurement System (EXFC). EXFC was an
external sampling system that measured the time it took from deposit of mail into a collection box or lobby chute until its
delivery to a home or business.

Single-Piece First-Class Mail® parcels were classified as a competitive product effective for pieces mailed on or after
September 3, 2017; therefore, Single-Piece First-Class Mail® parcel results are no longer included in Single-Piece First-
Class Mail® reporting.

Limitations

Single piece mail that is first observed in incoming processing operations rather than the expected outgoing processing
operations is referred to as First Processing Operation Type 2 mail, or FPO2. The volume of FPO2 mail as a proportion of
total single-piece volume observed in processing duration in Internal SPM is significantly higher than the proportion
observed for pieces sampled in collection or associated from the retail channel, particularly for flats. This is likely due to the
inclusion of commercial mail that is sorted to destination and begins processing in incoming sort operations but is not able
to be identified as commercial mail. Because FPO2 mail generally experiences longer durations in First Mile than mail first
observed in outgoing operations, the higher proportion of FPO2 mail led to scores which were not accurate. FPO2 volume
proportions in single-piece processing duration have been weighted for reporting such that they are aligned with the volume
proportions observed for pieces in the collection sampling process and retail pieces to improve the measurement accuracy.

Sampling for most high-volume courtesy and business reply mail delivery points was not enabled during the quarter,
resulting in very limited representation of the reply mail portion of Single-Piece First-Class Mail® letters/postcards in the
Last Mile sample. Due to the very limited data available to measure the overall transit time for this mail, all of the courtesy
and business reply mail were excluded from these results. It should be noted that the legacy system did not measure
delivery to these delivery points either. This is a deviation to the plan, not a degradation in comparison to the legacy system.

Performance Highlights

In FY2020 Quarter 3, national Single-Piece First-Class Mail® Two-Day performance was 92.4 percent on time and national
Three-To-Five Day performance was 81.4 percent on time. The Two-Day performance score was 1.5 points lower than the
same period last year. The Three-To-Five-Day performance score was 5.1 points lower than the same period last year.

Nationally, at least 98.1 percent of mail across all service standards was delivered within the service standard plus three
days in FY2020 Quarter 3.

In FY2020 Quarter 3 at the district level, there were not any districts that scored at or above the performance target of 96.50
for Two-Day. Dakotas had the highest Two-Day performance at 96.1 percent on time. Two-Day performance improved for 9
out of 67 districts compared to the same period last year. Hawkeye had the highest Three-To-Five-Day performance at 87.3
percent on time. Three-To-Five-Day performance improved for one district compared to the same period last year.




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                                  United States Postal Service®                                   Quarter III
              Quarterly Performance for Single-Piece First-Class Mail®                             FY2020
                     Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                      Overnight            Two-Day        Three-To-Five-Day
              District
                                   Percent On Time      Percent On Time   Percent On Time
   Capital Metro Area                   N/A                  92.0               82.2
   Atlanta                              N/A                  92.1               83.5
   Baltimore                            N/A                  88.9               73.6
   Capital                              N/A                  88.9               81.4
   Greater South Carolina               N/A                  95.1               85.3
   Greensboro                           N/A                  93.2               83.2
   Mid-Carolinas                        N/A                  93.4               81.7
   Northern Virginia                    N/A                  91.6               84.8
   Richmond                             N/A                  91.0               80.3
   Eastern Area                         N/A                  93.6               83.6
   Appalachian                          N/A                  94.7               84.8
   Central Pennsylvania                 N/A                  93.5               82.1
   Kentuckiana                          N/A                  94.6               83.3
   Northern Ohio                        N/A                  92.3               82.8
   Ohio Valley                          N/A                  92.5               83.7
   Philadelphia Metro                   N/A                  91.8               83.3
   South Jersey                         N/A                  92.8               82.0
   Tennessee                            N/A                  94.4               83.6
   Western New York                     N/A                  95.2               84.0
   Western Pennsylvania                 N/A                  95.7               86.7
   Great Lakes Area                     N/A                  90.2               80.7
   Central Illinois                     N/A                  91.8               82.0
   Chicago                              N/A                  88.7               80.0
   Detroit                              N/A                  73.5               64.7
   Gateway                              N/A                  92.6               83.9
   Greater Indiana                      N/A                  93.6               84.0
   Greater Michigan                     N/A                  91.8               81.9
   Lakeland                             N/A                  94.0               83.7
   Northeast Area                       N/A                  88.3               73.8
   Albany                               N/A                  93.6               83.0
   Caribbean                            N/A                  90.0               67.5
   Connecticut Valley                   N/A                  90.0               77.8
   Greater Boston                       N/A                  90.9               77.8
   Long Island                          N/A                  86.6               72.2
   New York                             N/A                  68.4               53.6
   Northern New England                 N/A                  94.0               76.5
   Northern New Jersey                  N/A                  87.1               72.2
   Triboro                              N/A                  74.5               60.9
   Westchester                          N/A                  88.2               74.4
   Pacific Area                         N/A                  92.9               80.8
   Bay-Valley                           N/A                  93.4               84.0
   Honolulu                             N/A                  92.1               61.1
   Los Angeles                          N/A                  89.2               76.2
   Sacramento                           N/A                  92.1               80.6
   San Diego                            N/A                  94.0               79.8
   San Francisco                        N/A                  93.7               84.6
   Santa Ana                            N/A                  94.3               83.2
   Sierra Coastal                       N/A                  93.5               82.1




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                                United States Postal Service®                                   Quarter III
            Quarterly Performance for Single-Piece First-Class Mail®                             FY2020
                   Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                    Overnight            Two-Day        Three-To-Five-Day
            District
                                 Percent On Time      Percent On Time   Percent On Time
   Southern Area                      N/A                  93.6               82.1
   Alabama                            N/A                  93.1               82.2
   Arkansas                           N/A                  95.2               84.7
   Dallas                             N/A                  92.6               83.6
   Fort Worth                         N/A                  92.0               81.1
   Gulf Atlantic                      N/A                  94.5               80.9
   Houston                            N/A                  92.1               79.6
   Louisiana                          N/A                  93.1               80.9
   Mississippi                        N/A                  94.1               82.0
   Oklahoma                           N/A                  96.0               84.4
   Rio Grande                         N/A                  93.7               82.9
   South Florida                      N/A                  92.2               80.9
   Suncoast                           N/A                  94.1               82.6
   Western Area                       N/A                  94.4               82.5
   Alaska                             N/A                  92.3               87.0
   Arizona                            N/A                  94.2               81.9
   Central Plains                     N/A                  95.6               83.9
   Colorado/Wyoming                   N/A                  90.4               75.4
   Dakotas                            N/A                  96.1               85.4
   Hawkeye                            N/A                  95.9               87.3
   Mid-America                        N/A                  94.3               81.3
   Nevada-Sierra                      N/A                  95.0               84.9
   Northland                          N/A                  94.3               83.3
   Portland                           N/A                  92.7               81.8
   Salt Lake City                     N/A                  96.0               83.7
   Seattle                            N/A                  94.6               82.1
   Nation FY2020 Q3                   N/A                  92.4               81.4

   Nation FY2019 Q3 (SPLY)            N/A                  93.9               86.5

   Nation FY2009 Annual               96.1                 93.5               90.8
   Nation FY2010 Annual               96.3                 93.6               91.6
   Nation FY2011 Annual               96.2                 93.4               91.2
   Nation FY2012 Annual               96.5                 94.8               92.3
   Nation FY2013 Annual               96.1                 95.3               91.6
   Nation FY2014 Annual               96.0                 94.9               87.7
   Nation FY2015 Annual               95.6                 93.2               76.5
   Nation FY2016 Annual               N/A                  94.7               83.7
   Nation FY2017 Annual               N/A                  94.7               85.6
   Nation FY2018 Annual               N/A                  93.8               82.5
   Nation FY2019 Annual               N/A                  92.0               80.9
   Nation FY2020 Q1                   N/A                  91.9               78.2
   Nation FY2020 Q2                   N/A                  93.0               83.3

   FY2020 Annual Target               N/A                 96.50              95.25




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                                               United States Postal Service®                                                       Quarter III
                        Quarterly Performance for Single-Piece First-Class Mail®                                                    FY2020
                                           Service Variance
Overview

Beginning FY2019 Q1, service performance for Single-Piece First-Class Mail® is measured through the USPS® internal
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automated processing, known as Processing Duration; and final processing to delivery, known as Last Mile. The
estimated transit-time is compared against Single-Piece First-Class Mail® service standards to determine the percent of
mail delivered on time.

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an external sampling system that measured the time it took from deposit of mail into a collection box or lobby chute until
its delivery to a home or business.

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September 3, 2017; therefore, Single-Piece First-Class Mail® parcel results are no longer included in Single-Piece First-
Class Mail® reporting.

Limitations

Single piece mail that is first observed in incoming processing operations rather than the expected outgoing processing
operations is referred to as First Processing Operation Type 2 mail, or FPO2. The volume of FPO2 mail as a proportion of
total single-piece volume observed in processing duration in Internal SPM is significantly higher than the proportion
observed for pieces sampled in collection or associated from the retail channel, particularly for flats. This is likely due to
the inclusion of commercial mail that is sorted to destination and begins processing in incoming sort operations but is not
able to be identified as commercial mail. Because FPO2 mail generally experiences longer durations in First Mile than
mail first observed in outgoing operations, the higher proportion of FPO2 mail led to scores which were not accurate.
FPO2 volume proportions in single-piece processing duration have been weighted for reporting such that they are aligned
with the volume proportions observed for pieces in the collection sampling process and retail pieces to improve the
measurement accuracy.

Sampling for most high-volume courtesy and business reply mail delivery points was not enabled during the quarter,
resulting in very limited representation of the reply mail portion of Single-Piece First-Class Mail® letters/postcards in the
Last Mile sample. Due to the very limited data available to measure the overall transit time for this mail, all of the courtesy
and business reply mail were excluded from these results. It should be noted that the legacy system did not measure
delivery to these delivery points either. This is a deviation to the plan, not a degradation in comparison to the legacy
system.

Performance Highlights

In FY2020 Quarter 3, national Single-Piece First-Class Mail® Two-Day performance was 92.4 percent on time and
national Three-To-Five Day performance was 81.4 percent on time. The Two-Day performance score was 1.5 points
lower than the same period last year. The Three-To-Five-Day performance score was 5.1 points lower than the same
period last year.

Nationally, at least 98.1 percent of mail across all service standards was delivered within the service standard plus three
days in FY2020 Quarter 3.

In FY2020 Quarter 3 at the district level, there were not any districts that scored at or above the performance target of
96.50 for Two-Day. Dakotas had the highest Two-Day performance at 96.1 percent on time. Two-Day performance
improved for 9 out of 67 districts compared to the same period last year. Hawkeye had the highest Three-To-Five-Day
performance at 87.3 percent on time. Three-To-Five-Day performance improved for one district compared to the same
period last year.




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                                                 United States Postal Service®                                                   Quarter III
                                Quarterly Performance for Single-Piece First-Class Mail®                                          FY2020
                                                   Service Variance
                                    Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                     Overnight                            Two-Day                        Three-To-Five-Day

           District      Percent     Percent     Percent     Percent      Percent    Percent   Percent       Percent         Percent
                         Within       Within      Within     Within        Within     Within   Within         Within          Within
                         +1-Day      +2-Days     +3-Days     +1-Day       +2-Days    +3-Days   +1-Day        +2-Days         +3-Days

Capital Metro Area        N/A          N/A        N/A         97.1         98.5       99.0      93.9           97.0           98.2
Atlanta                   N/A          N/A        N/A         96.9         98.3       98.8      93.9           96.8           98.1
Baltimore                 N/A          N/A        N/A         96.0         97.8       98.6      90.8           95.6           97.5
Capital                   N/A          N/A        N/A         95.6         97.6       98.4      93.2           96.4           97.8
Greater South Carolina    N/A          N/A        N/A         98.4         99.1       99.4      95.1           97.7           98.7
Greensboro                N/A          N/A        N/A         97.9         98.9       99.3      94.6           97.4           98.5
Mid-Carolinas             N/A          N/A        N/A         97.7         98.7       99.2      93.6           97.0           98.3
Northern Virginia         N/A          N/A        N/A         97.0         98.4       98.9      95.2           97.6           98.6
Richmond                  N/A          N/A        N/A         96.9         98.4       99.0      93.7           96.8           98.2
Eastern Area              N/A          N/A        N/A         97.5         98.6       99.1      94.2           97.1           98.3
Appalachian               N/A          N/A        N/A         98.3         99.1       99.4      94.5           97.2           98.4
Central Pennsylvania      N/A          N/A        N/A         97.5         98.6       99.1      94.0           97.1           98.4
Kentuckiana               N/A          N/A        N/A         98.1         98.9       99.3      94.3           97.1           98.3
Northern Ohio             N/A          N/A        N/A         96.8         98.3       98.9      93.6           96.5           97.9
Ohio Valley               N/A          N/A        N/A         96.9         98.2       98.9      94.1           96.9           98.2
Philadelphia Metro        N/A          N/A        N/A         96.6         98.1       98.8      93.9           97.0           98.3
South Jersey              N/A          N/A        N/A         97.0         98.3       98.9      94.0           97.1           98.3
Tennessee                 N/A          N/A        N/A         98.0         98.9       99.2      94.2           97.0           98.3
Western New York          N/A          N/A        N/A         98.2         99.0       99.4      94.4           97.2           98.4
Western Pennsylvania      N/A          N/A        N/A         98.5         99.2       99.5      95.5           97.8           98.7
Great Lakes Area          N/A          N/A        N/A         96.1         97.9       98.6      92.5           96.0           97.6
Central Illinois          N/A          N/A        N/A         96.8         98.3       98.9      93.8           96.9           98.2
Chicago                   N/A          N/A        N/A         95.7         97.6       98.5      92.5           96.1           97.7
Detroit                   N/A          N/A        N/A         88.7         93.8       96.0      82.0           89.3           93.1
Gateway                   N/A          N/A        N/A         97.2         98.5       99.0      94.1           96.9           98.2
Greater Indiana           N/A          N/A        N/A         97.6         98.7       99.2      94.5           97.2           98.4
Greater Michigan          N/A          N/A        N/A         96.9         98.2       98.9      93.3           96.6           98.0
Lakeland                  N/A          N/A        N/A         97.7         98.7       99.2      94.4           97.3           98.4
Northeast Area            N/A          N/A        N/A         95.0         97.2       98.1      89.8           94.9           97.0
Albany                    N/A          N/A        N/A         97.6         98.7       99.2      94.5           97.4           98.5
Caribbean                 N/A          N/A        N/A         95.6         97.2       98.0      87.4           93.3           95.9
Connecticut Valley        N/A          N/A        N/A         95.7         97.7       98.6      91.9           96.1           97.8
Greater Boston            N/A          N/A        N/A         96.2         97.9       98.6      92.4           96.3           97.9
Long Island               N/A          N/A        N/A         94.9         97.2       98.2      90.1           95.5           97.5
New York                  N/A          N/A        N/A         84.6         91.2       94.3      75.2           86.7           92.2
Northern New England      N/A          N/A        N/A         97.6         98.7       99.1      90.7           95.4           97.5
Northern New Jersey       N/A          N/A        N/A         94.1         96.4       97.5      89.3           94.3           96.4
Triboro                   N/A          N/A        N/A         89.1         93.9       95.8      83.9           91.8           94.9
Westchester               N/A          N/A        N/A         95.0         97.4       98.3      90.6           95.8           97.6
Pacific Area              N/A          N/A        N/A         97.6         98.7       99.1      93.4           96.8           98.2
Bay-Valley                N/A          N/A        N/A         98.0         99.0       99.3      94.3           97.2           98.4
Honolulu                  N/A          N/A        N/A         96.8         98.1       98.9      83.1           92.8           96.4
Los Angeles               N/A          N/A        N/A         95.9         97.7       98.3      91.3           95.5           97.3
Sacramento                N/A          N/A        N/A         97.8         98.8       99.2      93.7           97.1           98.3
San Diego                 N/A          N/A        N/A         97.8         98.7       99.2      93.6           97.2           98.4
San Francisco             N/A          N/A        N/A         97.6         98.7       99.1      94.3           96.9           98.1
Santa Ana                 N/A          N/A        N/A         98.1         98.9       99.3      94.5           97.4           98.5
Sierra Coastal            N/A          N/A        N/A         97.7         98.7       99.2      94.3           97.3           98.5




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                                                   United States Postal Service®                                                   Quarter III
                                  Quarterly Performance for Single-Piece First-Class Mail®                                          FY2020
                                                     Service Variance
                                      Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                       Overnight                            Two-Day                        Three-To-Five-Day

         District         Percent      Percent     Percent     Percent      Percent    Percent   Percent       Percent         Percent
                          Within        Within      Within     Within        Within     Within   Within         Within          Within
                          +1-Day       +2-Days     +3-Days     +1-Day       +2-Days    +3-Days   +1-Day        +2-Days         +3-Days

Southern Area              N/A           N/A        N/A         97.5         98.6       99.1      93.8           96.9           98.2
Alabama                    N/A           N/A        N/A         97.4         98.7       99.2      93.9           97.0           98.4
Arkansas                   N/A           N/A        N/A         98.3         99.1       99.4      94.9           97.5           98.6
Dallas                     N/A           N/A        N/A         96.9         98.1       98.6      94.0           96.8           97.9
Fort Worth                 N/A           N/A        N/A         96.7         98.0       98.6      93.1           96.4           97.7
Gulf Atlantic              N/A           N/A        N/A         98.0         98.9       99.3      93.4           96.8           98.2
Houston                    N/A           N/A        N/A         96.8         98.2       98.8      93.1           96.7           98.1
Louisiana                  N/A           N/A        N/A         97.4         98.5       98.9      93.1           96.5           97.9
Mississippi                N/A           N/A        N/A         97.8         98.7       99.2      93.2           96.6           98.0
Oklahoma                   N/A           N/A        N/A         98.6         99.2       99.5      95.1           97.6           98.6
Rio Grande                 N/A           N/A        N/A         97.8         98.9       99.2      93.9           96.9           98.2
South Florida              N/A           N/A        N/A         96.9         98.2       98.8      93.2           96.7           98.1
Suncoast                   N/A           N/A        N/A         97.8         98.8       99.3      94.3           97.2           98.5
Western Area               N/A           N/A        N/A         98.1         99.0       99.3      94.3           97.2           98.4
Alaska                     N/A           N/A        N/A         96.8         98.3       98.9      94.6           97.3           98.5
Arizona                    N/A           N/A        N/A         97.8         98.7       99.1      94.1           97.1           98.2
Central Plains             N/A           N/A        N/A         98.5         99.1       99.5      94.6           97.4           98.5
Colorado/Wyoming           N/A           N/A        N/A         96.7         98.2       98.7      92.1           96.3           97.9
Dakotas                    N/A           N/A        N/A         98.7         99.3       99.6      95.1           97.6           98.6
Hawkeye                    N/A           N/A        N/A         98.6         99.3       99.6      95.7           97.8           98.7
Mid-America                N/A           N/A        N/A         98.1         99.0       99.4      93.5           96.9           98.3
Nevada-Sierra              N/A           N/A        N/A         98.2         98.9       99.3      94.7           97.3           98.4
Northland                  N/A           N/A        N/A         97.9         99.0       99.4      94.9           97.6           98.7
Portland                   N/A           N/A        N/A         98.1         99.0       99.4      93.7           97.0           98.3
Salt Lake City             N/A           N/A        N/A         98.7         99.2       99.5      94.5           97.4           98.5
Seattle                    N/A           N/A        N/A         98.2         99.0       99.4      94.4           97.3           98.4
Nation FY2020 Q3           N/A           N/A        N/A         97.1         98.4       98.9      93.4           96.7           98.1

Nation FY2019 Q3 (SPLY)    N/A           N/A        N/A         97.7         98.7       99.1      95.6           97.8           98.7

Nation FY2009 Annual       99.2          99.6       99.8        98.5         99.4       99.7      97.5           99.1           99.6
Nation FY2010 Annual       99.2          99.6       99.8        98.5         99.4       99.7      97.9           99.2           99.6
Nation FY2011 Annual       99.2          99.6       99.8        98.4         99.4       99.7      97.7           99.1           99.6
Nation FY2012 Annual       99.2          99.6       99.8        98.8         99.5       99.7      98.0           99.2           99.7
Nation FY2013 Annual       99.1          99.6       99.8        98.7         99.5       99.7      97.8           99.1           99.6
Nation FY2014 Annual       99.1          99.6       99.7        98.7         99.4       99.7      96.4           98.5           99.3
Nation FY2015 Annual       99.0          99.5       99.7        98.3         99.3       99.6      93.3           97.4           98.9
Nation FY2016 Annual       N/A           N/A        N/A         98.5         99.3       99.6      95.5           98.1           99.1
Nation FY2017 Annual       N/A           N/A        N/A         98.5         99.3       99.6      96.0           98.4           99.3
Nation FY2018 Annual       N/A           N/A        N/A         98.2         99.2       99.6      95.0           97.9           99.0
Nation FY2019 Annual       N/A           N/A        N/A         97.1         98.4       99.0      93.5           96.9           98.3
Nation FY2020 Q1           N/A           N/A        N/A         97.1         98.5       99.1      93.0           96.9           98.3
Nation FY2020 Q2           N/A           N/A        N/A         97.3         98.5       99.0      94.4           97.2           98.3




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                         Exhibit 16




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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF LANCE
14                          Plaintiffs,            GOUGH IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

18
19

20

21
22

                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF LANCE GOUGH                                   Complex Litigation Division
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 1         I, Lance Gough, declare as follows:

 2         1.     I am over the age of 18, am competent to testify as to the matters
 3   herein, and make this declaration based on my personal knowledge.
 4         2.     I make this declaration from personal knowledge and based on

 5   records from the Chicago Board of Elections, located in Chicago, Illinois, and
 6   would testify to the following facts if called as a witness at hearing or trial.

 7         3.     I am the Executive Director at the Chicago Board of Elections,

 8   responsible for managing all voter registrations, ballot and voting-equipment
 9   preparations, recruitment and training of poll workers, assignments of polling
10   places, and ensuring equitable and accessible programs for Early Voting, Vote
11   By Mail and Election Day voting in keeping with all state and federal statutes
12   and case law.

13         4.     The Chicago Board of Elections serves as the local election

14   authority for Illinois voters who reside in Chicago, Illinois. There are
15   approximately 1.5 million Chicago residents currently registered to vote in the
16   area subject to our jurisdiction. Our office is one of 108 local election
17   authorities in Illinois. The local election authorities handle local voter
18   registration programs, arrange for the printing of ballots, and manage the vote

19   count at the local level. They are additionally responsible for accepting vote by
20   mail applications, mailing ballots to voters who have applied to vote by mail,
21   and accepting ballots returned by mail. See 10 ILCS 5/2B-15; 10 ILCS 5/2B-20.
22

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 1       The local election authorities function under the supervision of the Illinois State

 2       Board of Elections (“ISBE”), which oversees the administration of registration
 3       and election laws throughout the State of Illinois. See 10 ILCS 5/1A-1.
 4                         Illinois’ Statutory Vote by Mail Procedures

 5                5.   Illinois has successfully utilized vote by mail procedures for over a
 6       decade. In 2009, Illinois began allowing any qualified and registered voter in

 7       the state to choose to vote by mail in accordance with deadlines and procedures

 8       established in Illinois Election Code. See Pub. Act 96-0553 (eff. Aug. 17, 2009)
 9       (amending 10 ILCS 5/19-1).
10                6.   This year, in response to the COVID-19 pandemic and to protect
11       the health of Illinois residents, Illinois enacted new legislation to further
12       enhance the availability of vote by mail for Illinois voters participating in the

13       2020 general election. On June 16, 2020, Public Act 101-0642 became law in

14       Illinois. See Pub. Act 101-0642 (eff. June 16, 2020) (creating 10 ILCS 5/2B et
15       seq.).
16                7.   Public Act 101-0642 permits voters to request applications “for an
17       official ballot for the 2020 general election to be sent to the elector through
18       mail.” 10 ILCS 5/2B-15(a).

19                8.   In addition, the new law requires election authorities to send
20       applications for “an official vote by mail ballot for the 2020 general election” to
21       any elector who voted, whether by mail or in person, in (1) the 2018 general
22

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 1       election; (2) the 2019 consolidated election (in which various municipal

 2       elections occur in Illinois); or (3) the 2020 general primary election. Id § 5/2B-
 3       15(b). Vote by mail applications must also be sent to voters who have registered
 4       to vote or changed their registration address after March 17, 2020, the date of

 5       the general primary election, and on or before July 31, 2020. Id. The vote by
 6       mail applications sent to voters must also include a notice stating that “upon

 7       completion of the application, the elector will receive an official ballot no more

 8       than 40 days and no less than 30 days before the election[.]” Id. §5/2B-15(c)
 9       (emphasis added). The notice also informs voters that they may return the
10       application by mail to their election authority. Id. Both the application and
11       notice are to be sent by mail “to the elector’s registered address and any other
12       mailing address the election authority may have on file, including a mailing

13       address to which a prior vote by mail ballot was mailed.” Id. § 5/2B-15(d).

14             9.     Beginning on September 24, 2020, election authorities in Illinois
15       must mail official ballots to voters in Illinois who have requested them. Id. §
16       2B-20(a). Voters requesting a vote by mail ballot on or before October 1, 2020,
17       must receive one “no later than October 6, 2020.” Id. For requests received after
18       October 1, 2020, an election authority must mail an official ballot within two

19       business days after receiving the application. Id. Election authorities must
20       continue accepting vote by mail applications received by mail or electronically
21       through October 29, 2020—five days before election day, November 3, 2020.
22

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 1       See 10 ILCS 5/19-2. Voters may also submit a vote by mail application in

 2       person as late as November 2, 2020, the day before election day. Id.
 3             10.    For voters returning their completed ballots by mail, their ballots
 4       must be postmarked on or before election day and received within the fourteen-

 5       day period following election day during which provisional ballots are counted.
 6       See 10 ILCS 5/19-3, 19-8(c); 10 ILCS 5/20-2.3. Illinois law also permits

 7       election authorities to create “secure collection sites for the postage-free return

 8       of vote by mail ballots,” and specifically provides that “[e]lection authorities
 9       shall accept any vote by mail ballot returned, including ballots returned with
10       insufficient or no postage[.]” 10 ILCS 5/2B-20(e). Voters who received vote by
11       mail ballots and wish to personally return them have until the close of the polls
12       on election day to submit them to collection sites for the issuing election

13       authority. 10 ILCS 5/2B-20(e). Illinois law specifically provides that “[e]lection

14       authorities shall accept any vote by mail ballot returned, including ballots
15       returned with insufficient or no postage[.]” Id. Critically, Illinois law permits
16       voters to select whether they will return their ballot by mail or in person using
17       the secure collection site.
18                          Vote By Mail Trends in Chicago, Illinois

19             11.    In previous General Elections, Chicago voters relied upon vote by
20       mail to cast their ballots. Approximately 4% of Chicago ballots cast were
21       received through Absentee/Vote By Mail programs in Presidential Elections
22

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 1       from 2000 to 2012. However, by 2016, election authorities and campaigns had

 2       begun promoting the no-excuse Vote By Mail option, and approximately 10%
 3       of ballots were cast through Vote By Mail programs. Then, at the March 17,
 4       2020 Primary, which occurred during the onset of the Covid-19 global

 5       pandemic, more than 20% of all ballots were cast through Vote By Mail. The
 6       City broke its all-time record with 117,118 applications from civilians in

 7       Chicago, college students, military/overseas voters and nursing home residents.

 8             12.    Following the requirements of the new Illinois statute, starting July
 9       18, the Chicago Board of Elections mailed more than 900,000 vote by mail
10       applications to Chicago voters. Chicago would have sent more, but by early
11       July, already 130,000 voters who qualified to receive the applications had
12       already filed applications online to Vote By Mail. The mailing was completed

13       on July 31. The Board currently has processed 233,000 applications and has

14       approximately 20,000 more to be scanned, meaning more than 250,000
15       applications are currently in the pipeline. We have already doubled our all-time
16       records for applications, and we anticipate we may double this number by mid-
17       October. I anticipate that will significantly increase the number of voters who
18       will opt to vote by mail. Historically, we have seen approximately 80% or more

19       of the Vote By Mail ballots returned.
20             13.    As of August 18, the Chicago Board of Elections has received
21       more than 250,000 ballot applications from voters who wish to vote by mail.
22

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 1       This number is significantly higher than what we have observed in previous

 2       General Elections. This is already more than two times the all-time records
 3       from March 2020 and November 1944, when so many Chicago voters were
 4       serving in the military around the globe during World War II. Given the typical

 5       Presidential Election turnout of 1.1 million voters in Chicago, we anticipate
 6       more than 25% of all ballots will be cast through Vote By Mail.

 7             14.    Based on the trends our office is observing, I believe it is highly

 8       likely that the 107 other local election authorities in Illinois will witness
 9       significant increases in Vote By Mail.
10                 Impacts of United States Postal Service’s Recent Changes
11             15.    I am aware and have seen the letter that the United States Postal
12       Service (“USPS”) mailed to ISBE on July 30, 2020. In that letter, USPS warned

13       ISBE that that “under our reading of Illinois’ election laws, certain deadlines for

14       requesting and casting mail-in ballots are incongruous with the Postal Service’s
15       delivery standards. This mismatch creates a risk that ballots requested near the
16       deadline under state law will not be returned by mail in time to be counted under
17       your laws as we understand them.” The letter specifically flagged that Illinois
18       permits voters intending to vote by mail to apply for a vote by mail ballot “as late

19       as 5 days before the November general election.” It also asserted that “the Postal
20       Service cannot adjust its delivery standards to accommodate the requirements of
21
22

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                                                                          Complex Litigation Division
24                                                                         800 5th Avenue, Suite 2000
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25
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 1       state election law.” A copy of the July 30, 2020 letter is attached to this

 2       declaration as Exhibit A.
 3              16.    In addition to the July 30, 2020 letter from USPS, I am also aware
 4       of recent media reports indicating that some members of the public have been

 5       experiencing delays in mail delivery. I am also aware of media reports
 6       indicating that operational changes have recently been occurring at USPS that

 7       may have contributed to these delays.

 8              17.    The Chicago Board of Elections works to ensure that elections in
 9       Chicago are fair and that citizens who are eligible to vote can do so in a safe
10       and secure manner. Ensuring the safety of voters is especially critical this year,
11       given the ongoing COVID-19 pandemic. Vote by mail is a vital tool in enabling
12       Illinois voters to safely cast their ballots.

13              18.    The deadlines required by Illinois law permit voters to apply to

14       vote by mail up until very close to election day. Having an efficient mail service
15       through USPS is critical to ensuring that voters choosing to vote by mail are
16       able to receive and return their ballots by the deadlines required in Illinois law.
17              19.    The need for an efficient mail service through USPS is particularly
18       critical in the final weeks leading up to election day on November 3, 2020.

19       Voters in Illinois can mail or electronically submit applications to vote by
20       through October 29, 2020. For voters submitting their applications on October
21       29 or the few days leading up to that date, having reliable and efficient USPS
22

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26
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 1       mail delivery will be essential to ensure that the voters are able to receive,

 2       complete, and return their ballots in time for them to be counted.
 3             20.    In addition, Illinois voters mailing their ballots need to have their
 4       ballots postmarked no later than election day, November 3, 2020, in order for

 5       them to be counted. Ballots submitted by mail must also be received by the
 6       election authority within the fourteen days after election day in order to be

 7       counted.
                                         Irreparable Harm
 8
               21.    An efficient and reliable mail service through USPS is critical to
 9
         ensuring that Chicago voters choosing to vote by mail are not disenfranchised
10
         because of delays in processing or delivering the mail. The anticipated increase
11
         in the number of Illinois citizens voting by mail in this year’s election also means
12
         that an efficient and reliable mail service through USPS has never been more
13
         important to ensuring that Illinois citizens can exercise their right to vote.
14
               22.    USPS’s warnings about its inability to provide reliable services in
15
         Illinois is occurring at a time when prompt mail delivery has never been more
16
         essential for protecting the right to vote for Illinois citizens. Maintaining and
17
         enhancing USPS capacity is an urgent priority for Illinois in light of the
18
         expansion of vote by mail options Illinois has adopted in response to the COVID-
19
         19 pandemic.
20
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 1             23.    However, if USPS provides inadequate postal services so close to

 2       an election, significant numbers of Chicago and Illinois voters are at risk of
 3       becoming disenfranchised in the upcoming election.
 4             24.    If mail services are impeded or delayed, voters who utilize vote by

 5       mail risk not having their ballot counted. For example, the Chicago Board of
 6       Elections may receive vote by mail applications late due to mail delays, which

 7       will delay our ability to send voters their ballots. Even if applications are timely

 8       received, voters may still receive their ballots late or else be prevented from
 9       casting their ballots in a timely way if the mail is delayed or voters are otherwise
10       unable to find an alternative method to deliver their ballot to a secure collection
11       site. In fact, USPS has essentially admitted the strong probability that irreparable
12       disruptions will occur in their July 30, 2020 letter.

13             25.    Further, if USPS’s changes undercut public confidence in postal

14       services, voters who otherwise would have remained safely at home to vote might
15       opt to vote in person at a polling place instead, which heightens inherent risks of
16       spreading COVID-19 during a dangerous pandemic. Otherwise, voters who feel
17       that they cannot trust the postal service but have warranted concerns about
18       congregating at a polling place simply might not vote at all.

19             I declare under penalty of perjury under the laws of the United States
20       that the foregoing is true and correct.
21
22

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                                                                         Complex Litigation Division
24                                                                        800 5th Avenue, Suite 2000
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25
                                                                                Page 115 of 342
26
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 1

 2          DATED this 19th day of August, 2020, at Chicago, Illinois.
 3
                                    /s/ Lance Gough
 4                                  Lance Gough
                                    Executive Director
 5                                  Chicago Board of Election Commissioners
 6
 7

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                                                                        Page 116 of 342
26
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.565 Page 117 of 342




                         Gough Declaration
                               Exhibit A




                                                                     Page 117 of 342
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                                               Page 119 of 342
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                         Exhibit 17




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 5    Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
 6    TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
 7    KARL D. SMITH, WSBA #41988
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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF
14                          Plaintiffs,            COLORADO SECRETARY OF
              v.                                   STATE JENA GRISWOLD IN
15                                                 IN SUPPORT OF PLAINTIFF
        DONALD J. TRUMP, et al.,                   STATES’ MOTION FOR
16                                                 PRELIMINARY INJUNCTION
                            Defendants.
17

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                                                              ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF COLORADO                                      Complex Litigation Division
      SECRETARY OF STATE JENA                                       800 5th Avenue, Suite 2000
                                                                     Seattle, WA 98104-3188
      GRISWOLD                                                            (206) 464-7744




                                                                           Page 121 of 342
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 1    I, Jena Griswold, Colorado’s Secretary of State, declare as follows:

 2           1.     I am the 39th Colorado Secretary of State, elected by the people of

 3    Colorado in 2018. I am the chief election official of the state.

 4           2.     The statements in this declaration are all based on my own
 5    personal knowledge, including information gathered by employees of the
 6    Secretary of State’s office.
 7
                   Colorado’s mail voting system is a national model
 8
             3.     Colorado is a national leader in mail voting. In 2013, Colorado
 9
      passed the Voter Access and Modernized Elections Act, 2013 Sess. Laws 681,
10
      under which all registered voters are sent a mail ballot. The Colorado General
11
      Assembly enacted this measure because “the people’s self-government through
12
      the electoral process is more legitimate and better accepted when voter
13
      participation increases” and decided that “expand[ing] the use of mail ballot
14
      elections” was an appropriate “means to increase voter participation.” Id.
15
             4.     Since 2014, Colorado has relied on the U.S. mail system to facilitate
16
      its elections. In the 2020 state primary, Colorado counties used the U.S. mail
17
      system to deliver ballots to 3,306,300 voters.
18
             5.     Every active registered voter in Colorado receives a mail ballot
19
      packet delivered through the U.S. Mail to the voter’s last registered mailing
20
      address. The ballots generally must be mailed between 18 and 25 days prior to
21
22

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 1    an election. § 1-7.5-107(3)(a), C.R.S. (Overseas military voters receive their

 2    ballots earlier. § 1-8.3-110(2), C.R.S.)

 3           6.     Although in-person voting remains an option, Colorado voters

 4    overwhelmingly choose to vote the ballot that is mailed to them. In the 2016
 5    state primary, 97% of Colorado voters cast the ballot they received in the mail.
 6    In the 2016 general election, 93% of Colorado voters cast their mail ballot. And
 7
      in the 2020 state primary, 99% of Colorado voters cast their mail ballot.
 8
             7.     Approximately 25% of those who vote the ballot received in the mail
 9
      also return the ballot through the U.S. mail, while the rest return their ballots to
10
      their polling places or ballot drop boxes stationed throughout the state.
11
             8.     The reliability and effectiveness of Colorado’s mail voting system is
12
      an important reason why Colorado consistently has one of the highest voter
13
      turnout rates in the country.
14
        Colorado’s voting system depends on a reliable and trustworthy U.S.
15                                Postal Service

16           9.     Colorado voters, Colorado counties, and the Secretary of State’s

17    office all rely heavily on the mail to receive and return ballots. Disruptions to the

18    mail service could have serious consequences to the state and its voters, in

19    several ways.

20           10.    First, delays to the mail in returning ballots can disenfranchise

21    voters. Based on our review of ballots submitted during the last several election

22

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 1    cycles, we ordinarily expect about 40% of all votes cast in an election to be

 2    received either on election day or the day before.

 3           11.    Even minor delays of one or two days could result in tens of

 4    thousands of votes not being counted due to no fault of the voter.
 5           12.    Colorado builds redundancies into its system, but these
 6    redundancies only work if the U.S. mail system works in the way voters have
 7
      come to expect. For example, individuals can choose to vote in person rather
 8
      than cast their mail ballot. But, if a voter returns their ballot through the U.S.
 9
      mail with the reasonable expectation that it will be delivered on time, and due to
10
      Postal Service delays it arrives late, that voter will have no way of knowing that
11
      their mailed ballot will not be counted until it is too late for the voter to remedy
12
      the issue. The system depends on the reliability of the mail.
13
             13.    Second, changes to Postal Service policy concerning the treatment
14
      of election mail will undermine confidence in Colorado’s elections. Colorado and
15
      its counties, who are responsible for mailing out ballots, rely on the Postal
16
      Service to prioritize election mail. The majority of Colorado’s ballots are not
17
      distributed as first class mail. Instead, the ballots are distributed using the
18
      Postal Service’s marketing mail rate. But there is a longstanding practice in
19
      Colorado that the Postal Service treats all election mail, such as ballots, as first
20
      class mail. My office has confirmed this practice in numerous conversations with
21
      Postal Service officials.
22

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 1          14.    Reports suggest that the Postal Service will discontinue its historic

 2    practice of prioritizing election mail in 2020. Doing so will frustrate the

 3    legitimate, historically grounded expectations of state and local election officials

 4    and Colorado voters.
 5          15.    The distribution of ballots in Colorado is heavily publicized. Once
 6    voters learn that ballots have been mailed—roughly three weeks before an
 7
      election—those voters expect to receive their ballots in a timely fashion. We have
 8
      previously heard complaints from voters even when ballots are mailed out on the
 9
      last day of the allotted legal distribution window. Introducing any delay due to
10
      an unannounced change in Postal Service policy opens the door to serious voter
11
      confusion and frustration, and could erode confidence in Colorado’s election
12
      system.
13
            16.    Colorado’s counties rely on the fact that election mail will be
14
      treated as first class mail. And if the Postal Service no longer intends to treat
15
      election mail this way, our counties may want to distribute their ballots as first
16
      class mail. But given the timing of this year’s election, there is little the state
17
      can do to prioritize election mail if the Postal Service refuses to do so. The
18
      General Assembly is out of session and cannot appropriate funds to allow
19
      counties to upgrade the mail to first class mail. The counties generally do not
20
      have the funds to do so either. Accordingly, a change to Postal Service policy
21
      may have serious impacts throughout Colorado.
22

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Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20   PageID.574 Page 126 of 342




 1          17.    Third, the nationwide disruptions to the mail service will have

 2    direct impacts on Colorado’s elections. Colorado relies on the nationwide mail

 3    system for its voters to cast their ballots. 73,747 ballots are mailed to voters with

 4    addresses out of state. 9,721 of these ballots are sent to military personnel
 5    stationed outside of Colorado.
 6          18.    Postmaster General Louis DeJoy has stated that he does not intend
 7
      to restore the mail sorting machines the Postal Service has removed throughout
 8
      the country. We have received conflicting reports about sorting machines in
 9
      Colorado, including reports that at least one sorting machine has been
10
      disassembled and not replaced. This has created uncertainty concerning the
11
      processing of election mail sent within Colorado.
12
            19.    The machines that have been removed elsewhere, not to mention
13
      the other service changes announced by General DeJoy, will also impair the
14
      ability of servicemembers and other Colorado voters residing outside of Colorado
15
      to cast their ballots. Nationwide slowdowns in mail delivery can prevent these
16
      voters from having their votes counted.
17
            20.    Although Colorado counties make dropboxes available for
18
      individuals to cast their mail ballots, some individuals have no choice but to rely
19
      on the mail. For one, Colorado registered voters who currently reside out of
20
      state, including members of the armed forces, cannot use the dropboxes.
21
      Individuals who are unable to leave their homes, including those who may be ill
22

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Case 1:20-cv-03127-SAB    ECF No. 54-2     filed 09/09/20   PageID.575 Page 127 of 342




 1    or quarantined due to COVID-19, also must rely on the U.S. mail to return their

 2    ballots.

 3      The November 2020 ballot contains numerous measures of statewide
                                    concern
 4
             21.   Individual voters in Colorado receive different ballots depending on
 5
      the county in which they live. But the November 2020 ballots that will be
 6
      distributed in Colorado will include many issues of statewide concern.
 7
             22.   The November 2020 ballot contains eleven measures presented to
 8
      voters that will impact the State of Colorado moving forward. Colorado voters
 9
      will decide: whether to join the national popular vote compact; whether to
10
      establish a paid family and medical leave program; whether to lower income
11
12    taxes; whether to put an abortion ban in place; whether to introduce gray wolves

13    to the state; whether to increase nicotine and tobacco taxes; whether to require

14    that all registered voters must be U.S. citizens; whether to require voter

15    approval before new state enterprises can be formed; whether to alter the state

16    constitution concerning charitable gaming; whether to allow changes to current

17    gambling restrictions in the state; and whether to change the means by which

18    property taxes are assessed in the state. Colorado voters will also be selecting

19    one of the state’s two senators to the United States Congress, and casting their

20    vote for President and Vice-President of the United States.

21
22

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 1          23.    Colorado is relying on an effective U.S. mail system to facilitate the

 2    election of these matters of statewide concern.

 3          24.    Colorado’s election system is a model for the rest of the country.

 4    Since 2014 it has been overseen by both Democratic and Republican Secretaries
 5    of State, and has facilitated record turnout in state, local, and federal elections.
 6          25.    Transformative changes to the Postal Service—made months before
 7
      the November 2020 election and without opportunity for public comment—have
 8
      the potential to disrupt this model system on which Colorado, its counties, and
 9
      its voters have come to rely.
10

11
                       [Remainder of this page intentionally left blank]
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                                                                       Complex Litigation Division
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                         Exhibit 18




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 Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.579 Page 131 of 342



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6     TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                         NO. 1:20-cv-03127-SAB
13      al.,
                                                        DECLARATION OF
14                           Plaintiffs,                SAMANTHA HARTWIG IN
              v.                                        SUPPORT OF PLAINTIFF
15                                                      STATES’ MOTION FOR
        DONALD J. TRUMP, et al.,                        PRELIMINARY INJUNCTION
16
                             Defendants.
17

18
19

20

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22

                                                                ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                 1                Complex Litigation Division
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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.580 Page 132 of 342




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                         Exhibit 19




                                                                     Page 135 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.584 Page 136 of 342




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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF STUART
14                          Plaintiffs,            HARVEY IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF STUART                                        Complex Litigation Division
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                                                                    Seattle, WA 98104-3188
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                                                                           Page 136 of 342
     Case 1:20-cv-03127-SAB     ECF No. 54-2    filed 09/09/20   PageID.585 Page 137 of 342



1              I, Stuart Harvey, declare as follows:

2              1.     I am over the age of 18, am competent to testify as to the matters

3        herein, and make this declaration based on my personal knowledge.

4              2.     I am the Election Director of Frederick County, Maryland. I have

5        over 30 years of experience in elections, and have been the Election Director in

6        Frederick County since July 2002.

7              3.     In my role as Election Director I am responsible for conducting

8        local, state and federal elections in the county, as well as maintaining the county’s

9        voter registration file and hiring and training the county’s 900 election judges.

10             4.     I am aware that the Postmaster General of the United States has made

11       policy changes that have affected postal service, and I am further aware that the

12       State of Maryland and other states have filed this lawsuit challenging those policy

13       changes.

14             5.     Over the past month, I have received dozens of emails from voters

15       expressing their concerns about the USPS and whether they’ll be willing and able

16       to deliver their ballots on time. Many voters who previously requested their

17       general election ballots to be delivered by mail have now changed their minds

18       and asked that the ballots be sent by email instead. There have also been

19       numerous inquiries from voters about delivering ballots safely to our office, using

20       means other than the USPS, such as a ballot drop box.

21

22

                                                                    ATTORNEY GENERAL OF WASHINGTON
        DECLARATION OF STUART                                            Complex Litigation Division
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                                                                                (206) 464-7744



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1               6.     When a voter requests a ballot by email, the voter must print out the

2        ballot, then mark it, then mail it back to the elections office or drop it off in person

3        or at a secure drop-box. Because they are printed at home, those ballots cannot

4        be read by tabulating machines; therefore, the local boards of election have to

5        manually copy each web delivered ballot onto a blank standard ballot. In a

6        general election there are ballot questions and, often, write-in votes that increase

7        the amount of time it takes to manually copy the ballots—it takes at least 5 to 10

8        minutes per ballot. The increased number of email-delivered ballots due to USPS

9        performance problems will substantially increase the amount of time needed to

10       canvass the general election ballots.

11              7.     Canvassing this year’s general election will be uniquely difficult. In

12       addition to the increased number of email-delivered ballots, there are other

13       challenges: the unprecedented increase in the volume of mail-in ballots,

14       limitations on staff size due to COVID-19 distancing restrictions, and expected

15       absences due to COVID-19.

16              8.     USPS delays will cause a much longer ballot canvass before and

17       after the election, the hiring of additional temporary employees to complete the

18       canvass in a timely manner, and possible delays in certifying the election results.

19       It might also cause a significant number of mail-in ballots to fail to each our office

20       in time to be counted in the general election.

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                                                                      ATTORNEY GENERAL OF WASHINGTON
        DECLARATION OF STUART                                              Complex Litigation Division
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                         Exhibit 20




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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF TIMOTHY
14                          Plaintiffs,            HERMES IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

18
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22
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                                                                     Page 143 of 342
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                                                                     Page 144 of 342
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                         Exhibit 21




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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF DANIEL
14                          Plaintiffs,            HUFF IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                               Complex Litigation Division
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                                                                           Page 146 of 342
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 1    I, Daniel Huff, declare as follows:

 2          1.     I am over the age of 18, am competent to testify as to the matters

 3    herein, and make this declaration based on my personal knowledge.

 4          2.     I am currently the Assistant Commissioner for Health Protection at the

 5    Minnesota Department of Health (MDH).

 6          3.     The MDH Public Health Laboratory (PHL) receives drinking water

 7    samples for various analytical testing from water treatment systems located

 8    throughout the entire state of Minnesota that supply drinking water to the public.

 9          4.     The United States Environmental Protection Agency (US EPA) Safe

10    Drinking Water Act (SDWA) governs many of these analyses. These samples are

11    for regulatory compliance testing and have requirements for their acceptance upon

12    receipt, including regulated holding times from sample collection to sample

13    delivery and the onset of testing. Some of these samples include method-specific

14    regulated temperature requirements from sample collection to sample receipt.

15    Delays in delivery of samples to the PHL can affect the acceptability of the

16    samples based on the requirements in the Public Health Laboratory’s certification

17    from the US EPA.

18          5.     Employees at the PHL have recently observed delays in parcels

19    delivered to the PHL from drinking water treatment systems around the state that

                                                          ATTORNEY GENERAL OF WASHINGTON
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                                                                 Seattle, WA 98104-3188
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     Case 1:20-cv-03127-SAB    ECF No. 54-2    filed 09/09/20   PageID.596 Page 148 of 342


 1    choose to use the United States Postal Service (USPS) as the primary means of

 2    shipping samples.

 3          6.     In some instances, where we would expect a one- to two-day delivery,

 4    we are now observing three-, five- and even seven-day delivery on parcels

 5    delivered to the PHL. These occurrences do not seem to be coming from any

 6    particular region or any particular partner.

 7          7.     Such delays have forced the samples to be invalid for analysis due to

 8    exceedances of sample holding times and/or temperature requirements that are out

 9    of the required range. In these cases, the PHL must notify the Minnesota

10    Department of Health, Drinking Water Protection Section (DWP), which manages

11    the states drinking water compliance programs. PHL must also cancel or qualify

12    the analysis which in some cases renders the data invalid for regulatory compliance

13    purposes.

14          8.     In cases when samples are canceled, a request for another sample

15    collection kit is issued from DWP, incurring additional costs. PHL will then

16    assemble the sample collection kit and send it to the drinking water system to re-

17    collect the sample.

18          9.     PHL is responsible for the cost and shipment of the sample collection

19    replacement kit to the drinking water system.

                                                           ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                           3                Complex Litigation Division
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                                                                  Seattle, WA 98104-3188
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 1           10.   The drinking water system is responsible for incurring the additional

 2    costs for sample collection, sample transportation and successful submission to the

 3    PHL.

 4           11.   From July 1, 2019 through August 31, the PHL noted 9 samples

 5    canceled due to a delay of 3 days or more for samples delivered by USPS. From

 6    July 1, 2020 through August 31, we saw an increased number of 36 samples

 7    canceled due to a USPS delivery delay of 3 days or more.

 8           I declare under penalty of perjury under the laws of the States of Washington

 9    and Minnesota and the United States of America that the foregoing is true and

10    correct.

11    Dated: September ___, 2020
                                                   DANIEL HUFF
12




                                                          ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                          4                Complex Litigation Division
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                                                                 Seattle, WA 98104-3188
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                         Exhibit 22




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6     TERA M. HEINTZ, WSBA #54921
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7     KARL D. SMITH, WSBA #41988
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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF JOAN
14                          Plaintiffs,            LEVY IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                               DECLARATION OF JOAN LEVY

I, Joan Levy, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am the president of the Greater Connecticut Area Local No. 237 of the

American Postal Workers Union (APWU).

       2.     Nationwide, APWU fights for dignity and respect on the job for more than

200,000 United States Postal Service (USPS) employees and retirees. The Connecticut

local has 1,200 members spread over 200 post offices statewide. Our members are clerks,

maintenance staff, or work in USPS’ Motor Vehicle Service (MVS) or Vehicle

Maintenance Facilities.

       3.     I have compiled the information in this declaration through personal knowledge

and through review of documents and information provided to me by union members and

officers statewide and nationally. I am in regular contact with members of my local across

the state and with the presidents of Connecticut’s three other APWU locals, which are

based in Hartford, Stamford, and Danbury. In addition, I have personally visited 50 post

offices statewide in just the last few months.

       4.     I also have significant personal knowledge of the workings of the USPS in

Connecticut from my 28-year career as a clerk. I retired from the USPS in 2018.

       5.     From the time I began working at the USPS in 1979 and until just a few

months ago, my colleagues and I were guided by a core directive: “Every piece, every

day.” We understood ourselves to be responsible for ensuring that all mail received in

each post office, every day, was sorted and delivered. In every Connecticut post office I

am familiar with this directive was taken seriously.




Declaration of Joan Levy / 1

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       6.     Unfortunately, since approximately July, that core directive no longer seems

to govern the operations of the USPS in Connecticut. In my experience as a clerk and as

local president, I have never seen the kinds of sorting and delivery delays and mail

backlogs that are now routine in post offices across Connecticut. It is now no longer

unusual for mail to be left, unsorted, in post offices. I am familiar with the now -routine

delays in the state’s post offices and processing facilities from my own observations and

from reports from union members.

       7.     I also have direct experience with these delays. For example, my union

office, located in North Haven, Connecticut, sends out biweekly paychecks to employees

and contractors. The checks travel by First-Class Mail from North Haven to a USPS

processing center in Hartford. They then travel to their destination post offices, often in

towns in the same small geographic region. For years, those checks used to take, at most,

two days to reach their in-state recipients. Now they take a full week to travel just a few

miles across one of the nation’s smallest and most compact states.

       8.     In June, the USPS administration began removing key mail processing and

sorting equipment from facilities in Connecticut. I received a document from the APWU

National Union that states that the USPS intends to remove 671 pieces of processing

equipment by the end of September. A true and correct copy of the document I received is

attached as Exhibit A.

       9.     Last week, I visited the mail processing center in Wallingford, Connecticut.

I saw two mail processing machines known as Delivery Bar Code Sorter machines taken

out of service. They were disassembled but still located on the work floor. I also heard

from the APWU Hartford Local President that four mail processing machines were taken




Declaration of Joan Levy / 2

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out of service at the Hartford processing center. Those machines were disassembled and

moved outside to a parking lot.

       10.    Based on my experience as a clerk, some of the machines being removed

from Connecticut are capable of sorting upwards of 30,000 pieces of mail every hour.

When they are working, the machines do the critical work of sorting mail not just by

destination post office but also by letter carrier route and by address within the route. This

automation means that mail arrives at its destination post office already sorted and ready

for delivery. When the machines are removed, mail arrives at its destination post office

still unsorted. Postal staff must fill in the gaps by hand-sorting mail. Clerks must spend

time sorting the mail by letter carrier route, and the letter carriers must then sort the mail

by address within the route.

       11.    Earlier this year, the Postmaster General issued directives to change certain

mail processing policies. These new directives have caused many offices in Connecticut to

dramatically curtail the use of overtime. In my experience, even in optimal circumstances

– with all machines online, and at full staffing – USPS has used overtime to ensure that

staff have the time to deliver every piece, every day even during periods of peak demand

like the holiday season. But eliminating overtime during the COVID-19 crisis, while also

removing processing machines, has increased the burden on postal workers.

       12.    COVID-19 has increased demand for the postal service while decreasing the

supply of postal workers. As president of the local, I know from reports from the labor

relations manager that many APWU members in Connecticut have fallen ill with COVID-

19. Many others are unable to work because of their obligations to take of out-of-school

children or other relatives. In the offices that have curtailed overtime, this means fewer




Declaration of Joan Levy / 3

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staffing hours to do more work. As a result, I have seen that mail backs up and goes

unsorted and undelivered.

          13.   Since the Postmaster General announced that he was postponing some of the

policy changes, I have heard that some offices in Connecticut continue to curtail use of

overtime.

          14.   Delays due to curtailed overtime are exacerbated by new service changes

that require trucks carrying mail for destination post offices to leave processing facilities

at strictly fixed times, even if mail for those destinations remains unsorted and not yet

loaded on the trucks. That mail, left behind, piles up in processing centers. That unsorted

mail, too, cannot be delivered that day. The result, predictably, are even greater backlogs

and delays. I am not aware of whether these service changes have been revoked since the

Postmaster General’s announcement about postponing policy changes.

          15.   These routine delays are deeply concerning at any time of year. Connecticut

residents and businesses alike rely on USPS for medicine, checks, legal documents, and

other critically important mail.

          16.   For as long as I have worked at USPS and as a union official, it has been

USPS practice in Connecticut to afford special priority to election mail. When I was a

clerk, management made clear to postal workers that it was our responsibility to bend over

backwards to timely deliver ballots. I took pride in playing an important role in ensuring

the right of Connecticut residents to vote. I am not aware of any plans for election mail in

place since the Postmaster General stated that election mail will be afforded priority

status.




Declaration of Joan Levy / 4

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       17.    In the past, USPS has taken steps to prepare for predictable increases in mail

volume. Around the holiday season, for instance, USPS has typically hired temporary

workers and increased overtime availability to ensure that postal workers are able to

deliver on time. I am not aware of any steps that USPS in Connecticut has taken to prepare

for increased mail volume around the November election season.



              8th
Executed this ______day of September, 2020 at North Haven, CT.

                                          ______________________________
                                          Joan Levy
                                          President, Greater Connecticut Area Local
                                          American Postal Workers Union




Declaration of Joan Levy / 5

                                                                              Page 156 of 342
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                           Levy Declaration
                                Exhibit A




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                                                           AFCS Area Summary
                                                                                                                                                Total
 Area        6/13 -      6/20 -    6/27 -                  7/4 -       7/11 -       7/18 -       7/25 -       8/1 -                  FY21 -
                                                Total Q3                                                                  Total Q4             Reductio
 Name         6/19        6/26      7/3                    7/10         7/17         7/24         7/31        9/30                    Q1
                                                                                                                                                  n
Capital Me         6           0         0            6            0         2               2            0           0         4      0          10
Eastern            4           1         1            6            3         2               2            3           0        10      0          16
Great Lak          5           2         1            8            0         0               1            1           0         2      0          10
Northeast          3           4         3           10            2         2               0            1           0         5      0          15
Pacific            1           1         5            7            0         1               1            0           0         2      1          10
Southern           7           6         4           17            0         3               1            0           0         4      0          21
Western            0           2         2            4            0         0               1            0           0         1      0          5
National T        26          16        16           58            5        10               8            5           0        28      1          87

                                                           AFSM Area Summary
                                                                                                                                                Total
 Area        6/13 -      6/20 -    6/27 -                  7/4 -       7/11 -       7/18 -       7/25 -       8/1 -                  FY21 -
                                                Total Q3                                                                  Total Q4             Reductio
 Name         6/19        6/26      7/3                    7/10         7/17         7/24         7/31        9/30                    Q1
                                                                                                                                                  n
Capital Me         2           0            0         2            0            0            0            2           0         2      0           4
Eastern            1           3            0         4            3            1            0            2           0         6      0          10
Great Lak          2           1            0         3            0            0            1            0           4         5      0           8
Northeast          3           2            0         5            0            1            2            1           0         4      0           9
Pacific            0           2            2         4            0            0            0            0           0         0      4           8
Southern           4           4            3        11            0            0            0            1           0         1      0          12
Western            1           1            0         2            0            1            0            1           0         2      0          4
National T        13          13            5        31            3            3            3            7           4        20      4          55



                                                           DBCS Area Summary
                                                                                                                                                Total
 Area        6/13 -      6/20 -    6/27 -                  7/4 -       7/11 -       7/18 -       7/25 -       8/1 -                  FY21 -
                                                Total Q3                                                                  Total Q4             Reductio
 Name         6/19        6/26      7/3                    7/10         7/17         7/24         7/31        9/30                    Q1
                                                                                                                                                  n
Capital Me        16          14            0        30         0               0         0            0              0         0      0          30
Eastern           26          18            1        45        19               4        17           24              0        64      0          109


                                                                                                                                           Page 159 of 342
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Great Lak        17             6            4           27         2            8            3            6          16           35      0           62
Northeast        15             7            6           28         0           25            6            8           0           39      0           67
Pacific          20            11            1           32         0            0            0            6           7           13      9           54
Southern         33            21           21           75         1           19           14           11           4           49      0          124
Western           7             7           23           37         2            4            5            8           0           19      0          56
National T      134            84           56          274        24           60           45           63          27          219      9          502

                                                               FSS Area Summary
                                                                                                                                                  Total
 Area        6/13 -       6/20 -       6/27 -                  7/4 -       7/11 -       7/18 -       7/25 -       8/1 -                  FY 21 -
                                                    Total Q3                                                                  Total Q4           Reductio
 Name         6/19         6/26         7/3                    7/10         7/17         7/24         7/31        9/30                     Q1
                                                                                                                                                    n
Capital Me            0            0            0          0           0            4            0            0           0         4      0          4
Eastern               0            0            0          0           0            0            0            0           0         0      0          0
Great Lak             2            1            0          3           0            0            0            0           2         2      0          5
Northeast             1            1            0          2           0            1            1            1           0         3      0          5
Pacific               0            0            0          0           0            2            0            0           0         2      6          8
Southern              0            1            0          1           0            1            0            1           0         2      0          3
Western               2            0            0          2           0            0            0            0           0         0      0          2
National T            5            3            0          8           0            8            1            2           2        13      6          27

Note: The actual equipment reduction counts update weekly




                                                                                                                                               Page 160 of 342
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                                                                                    FY20 Q3 Plan                                              FY20 Q4 Plan
                                                                                                                                                                                    Total
                                                                     6/13 -       6/20 -     6/27 -               7/4 -   7/11 -   7/18 -   7/25 -    8/1 -              FY21 -
AREA NAME          DISTRICT NAME                  SITE NAME                                           Total Q3                                                Total Q4             Reductio
                                                                      6/19         6/26       7/3                 7/10     7/17     7/24     7/31     9/30                Q1
                                                                                                                                                                                      n
Capital Metro   Atlanta                  North Metro GA P&DC              2         0          0         2          0       0        0        0        0         0         0           2
Capital Metro   Baltimore                Baltimore MD P&DC                0         0          0         0          0       0        0        0        0         0         0           0
Capital Metro   Baltimore                Eastern Shore MD P&DF            0         0          0         0          0       0        1        0        0         1         0           1
Capital Metro   Capital                  Suburban MD P&DC                 0         0          0         0          0       0        0        0        0         0         0           0
Capital Metro   Greater South Carolina   Charleston SC P&DF               0         0          0         0          0       0        0        0        0         0         0           0
Capital Metro   Greater South Carolina   Columbia SC P&DC                 0         0          0         0          0       0        1        0        0         1         0           1
Capital Metro   Greater South Carolina   Greenville SC P&DC               0         0          0         0          0       1        0        0        0         1         0           1
Capital Metro   Greensboro               Greensboro NC P&DC               1         0          0         1          0       0        0        0        0         0         0           1
Capital Metro   Greensboro               Raleigh NC P&DC                  1         0          0         1          0       1        0        0        0         1         0           2
Capital Metro   Mid-Carolinas            Charlotte NC P&DC                1         0          0         1          0       0        0        0        0         0         0           1
Capital Metro   Northern Virginia        Merrifield VA P&DC               0         0          0         0          0       0        0        0        0         0         0           0
Capital Metro   Richmond                 Richmond VA P&DC                 1         0          0         1          0       0        0        0        0         0         0           1
Eastern         Appalachian              Charleston WV P&DC               1         0          0         1          0       0        0        0        0         0         0           1
Eastern         Central Pennsylvania     Harrisburg PA P&DC               0         0          0         0          0       1        0        0        0         1         0           1
Eastern         Central Pennsylvania     Lehigh Valley PA P&DF            0         0          0         0          0       0        1        0        0         1         0           1
Eastern         Kentuckiana              Evansville IN P&DF               0         0          0         0          0       0        0        0        0         0         0           0
Eastern         Kentuckiana              Lexington KY P&DC                0         0          0         0          0       0        1        0        0         1         0           1
Eastern         Kentuckiana              Louisville KY P&DC               0         0          0         0          0       0        0        0        0         0         0           0
Eastern         Northern Ohio            Cleveland OH P&DC                1         0          0         1          0       0        0        0        0         0         0           1
Eastern         Ohio Valley              Cincinnati OH P&DC               0         0          0         0          0       0        0        0        0         0         0           0
Eastern         Ohio Valley              Columbus OH P&DC                 0         0          0         0          0       0        0        1        0         1         0           1
Eastern         Philadelphia Metro       Philadelphia PA P&DC             0         0          0         0          0       0        0        0        0         0         0           0
Eastern         South Jersey             Delaware P&DC                    0         0          0         0          1       0        0        0        0         1         0           1
Eastern         South Jersey             South Jersey P&DC                0         1          0         1          0       0        0        0        0         0         0           1
Eastern         South Jersey             Trenton NJ P&DC                  0         0          0         0          0       0        0        0        0         0         0           0
Eastern         Tennessee                Chattanooga TN P&DC              0         0          1         1          0       1        0        0        0         1         0           2
Eastern         Tennessee                Knoxville TN P&DC                0         0          0         0          0       0        0        1        0         1         0           1
Eastern         Tennessee                Memphis TN P&DC                  0         0          0         0          1       0        0        0        0         1         0           1
Eastern         Tennessee                Nashville TN P&DC                2         0          0         2          0       0        0        0        0         0         0           2
Eastern         Western New York         Buffalo NY P&DC                  0         0          0         0          0       0        0        0        0         0         0           0
Eastern         Western New York         Rochester NY P&DC                0         0          0         0          1       0        0        0        0         1         0           1
Eastern         Western Pennsylvania     Johnstown PA P&DF                0         0          0         0          0       0        0        0        0         0         0           0
Eastern         Western Pennsylvania     Pittsburgh PA P&DC               0         0          0         0          0       0        0        1        0         1         0           1
Great Lakes     Central Illinois         Carol Stream IL P&DC             0         1          0         1          0       0        0        0        0         0         0           1
Great Lakes     Central Illinois         Peoria IL P&DF                   0         0          0         0          0       0        0        0        0         0         0           0
Great Lakes     Central Illinois         South Suburban IL P&DC           0         0          1         1          0       0        0        0        0         0         0           1
Great Lakes     Detroit                  Michigan Metroplex P&DC          2         0          0         2          0       0        0        0        0         0         0           2
Great Lakes     Gateway                  Champaign IL P&DF                0         0          0         0          0       0        0        0        0         0         0           0
Great Lakes     Gateway                  Mid Missouri MO P&DF             0         0          0         0          0       0        0        0        0         0         0           0
Great Lakes     Gateway                  Saint Louis MO P&DC              1         0          0         1          0       0        0        0        0         0         0           1
Great Lakes     Gateway                  Springfield IL P&DC              0         0          0         0          0       0        0        0        0         0         0           0
Great Lakes     Greater indiana          Fort Wayne IN P&DC               0         0          0         0          0       0        1        0        0         1         0           1
Great Lakes     Greater indiana          Indianapolis IN P&DC             0         1          0         1          0       0        0        0        0         0         0           1
Great Lakes     Greater Michigan         Grand Rapids MI P&DC             0         0          0         0          0       0        0        0        0         0         0           0
Great Lakes     Greater Michigan         Iron Mountain MI P&DF            0         0          0         0          0       0        0        0        0         0         0           0
Great Lakes     Greater Michigan         Traverse City MI P&DF            1         0          0         1          0       0        0        0        0         0         0           1
Great Lakes     Lakeland                 Green Bay WI P&DC                0         0          0         0          0       0        0        0        0         0         0           0




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                                                                                FY20 Q3 Plan                                              FY20 Q4 Plan
                                                                                                                                                                                Total
                                                                    6/13 -    6/20 -     6/27 -               7/4 -   7/11 -   7/18 -   7/25 -    8/1 -              FY21 -
AREA NAME        DISTRICT NAME                SITE NAME                                           Total Q3                                                Total Q4             Reductio
                                                                     6/19      6/26       7/3                 7/10     7/17     7/24     7/31     9/30                Q1
                                                                                                                                                                                  n
Great Lakes   Lakeland               Milwaukee WI P&DC                1         0          0         1          0       0        0        1        0         1         0           2
Northeast     Albany                 Albany NY P&DC                   1         0          0         1          0       0        0        0        0         0         0           1
Northeast     Albany                 Syracuse NY P&DC                 0         1          0         1          0       0        0        0        0         0         0           1
Northeast     Caribbean              San Juan PR P&DC                 0         0          0         0          0       0        0        0        0         0         0           0
Northeast     Connecticut Valley     Hartford CT P&DC                 0         0          1         1          0       0        0        0        0         0         0           1
Northeast     Greater Boston         Boston MA P&DC                   1         0          0         1          0       0        0        0        0         0         0           1
Northeast     Greater Boston         Brockton MA P&DC                 0         1          0         1          0       0        0        0        0         0         0           1
Northeast     Greater Boston         Providence RI P&DC               1         0          0         1          0       0        0        0        0         0         0           1
Northeast     Long Island            Mid Island NY P&DC               0         0          0         0          0       1        0        0        0         1         0           1
Northeast     New York               Morgan NY P&DC                   0         0          0         0          2       0        0        0        0         2         0           2
Northeast     Northern New England   Burlington VT P&DF               0         0          0         0          0       0        0        0        0         0         0           0
Northeast     Northern New England   Eastern Maine P&DF               0         1          0         1          0       0        0        0        0         0         0           1
Northeast     Northern New England   Manchester NH                    0         0          1         1          0       0        0        0        0         0         0           1
Northeast     Northern New England   Southern Maine P&DC              0         0          0         0          0       0        0        0        0         0         0           0
Northeast     Northern New England   White River Junction VT P&DC     0         0          1         1          0       0        0        0        0         0         0           1
Northeast     Northern New Jersey    DVD NJ P&DC                      0         0          0         0          0       1        0        1        0         2         0           2
Northeast     Westchester            Westchester NY P&DC              0         1          0         1          0       0        0        0        0         0         0           1
Pacific       Bay-Valley             Oakland CA P&DC                  0         0          0         0          0       0        0        0        0         0         0           0
Pacific       Bay-Valley             San Jose CA P&DC                 1         0          0         1          0       0        0        0        0         0         1           2
Pacific       Honolulu               Honolulu HI P&DC                 0         0          1         1          0       0        0        0        0         0         0           1
Pacific       Los Angeles            Los Angeles CA P&DC              0         0          2         2          0       0        0        0        0         0         0           2
Pacific       Sacramento             Fresno CA P&DC                   0         0          0         0          0       0        0        0        0         0         0           0
Pacific       Sacramento             Sacramento CA P&DC               0         1          0         1          0       0        0        0        0         0         0           1
Pacific       San Diego              ML Sellers CA P&DC               0         0          0         0          0       0        1        0        0         1         0           1
Pacific       San Diego              San Bernardino CA P&DC           0         0          0         0          0       0        0        0        0         0         0           0
Pacific       San Francisco          Eureka CA                        0         0          0         0          0       0        0        0        0         0         0           0
Pacific       San Francisco          San Francisco CA P&DC            0         0          2         2          0       0        0        0        0         0         0           2
Pacific       Santa Ana              Santa Ana CA P&DC                0         0          0         0          0       1        0        0        0         1         0           1
Pacific       Sierra Coastal         Santa Barbara CA P&DC            0         0          0         0          0       0        0        0        0         0         0           0
Pacific       Sierra Coastal         Santa Clarita CA P&DC            0         0          0         0          0       0        0        0        0         0         0           0
Southern      Alabama                Birmingham AL P&DC               1         0          0         1          0       0        0        0        0         0         0           1
Southern      Alabama                Mobile AL P&DC                   0         0          0         0          0       0        0        0        0         0         0           0
Southern      Alabama                Montgomery AL P&DC               1         0          0         1          0       0        0        0        0         0         0           1
Southern      Arkansas               Little Rock AR P&DC              0         0          0         0          0       0        1        0        0         1         0           1
Southern      Arkansas               Northwest Arkansas               1         0          0         1          0       0        0        0        0         0         0           1
Southern      Dallas                 North Texas TX P&DC              0         0          1         1          0       0        0        0        0         0         0           1
Southern      Fort Worth             Abilene TX P&DC                  0         0          0         0          0       0        0        0        0         0         0           0
Southern      Fort Worth             Amarillo TX P&DF                 0         0          0         0          0       0        0        0        0         0         0           0
Southern      Fort Worth             Lubbock TX P&DF                  0         0          0         0          0       0        0        0        0         0         0           0
Southern      Gulf Atlantic          Augusta GA P&DF                  0         0          0         0          0       0        0        0        0         0         0           0
Southern      Gulf Atlantic          Jacksonville FL P&DC             1         0          0         1          0       0        0        0        0         0         0           1
Southern      Gulf Atlantic          Macon GA P&DC                    0         0          0         0          0       0        0        0        0         0         0           0
Southern      Gulf Atlantic          Pensacola FL P&DC                0         0          0         0          0       0        0        0        0         0         0           0
Southern      Gulf Atlantic          Tallahassee FL P&DF              0         0          0         0          0       0        0        0        0         0         0           0
Southern      Houston                North Houston TX P&DC            0         0          0         0          0       0        0        0        0         0         0           0
Southern      Louisiana              Baton Rouge LA P&DC              0         0          0         0          0       0        0        0        0         0         0           0
Southern      Louisiana              New Orleans LA P&DC              0         1          0         1          0       0        0        0        0         0         0           1




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                                                                          FY20 Q3 Plan                                              FY20 Q4 Plan
                                                                                                                                                                          Total
                                                           6/13 -       6/20 -     6/27 -               7/4 -   7/11 -   7/18 -   7/25 -    8/1 -              FY21 -
AREA NAME      DISTRICT NAME            SITE NAME                                           Total Q3                                                Total Q4             Reductio
                                                            6/19         6/26       7/3                 7/10     7/17     7/24     7/31     9/30                Q1
                                                                                                                                                                            n
Southern    Louisiana          Shreveport LA P&DC               0         0          0         0          0       0        0        0        0         0         0           0
Southern    Mississippi        Gulfport MS P&DC                 1         0          0         1          0       0        0        0        0         0         0           1
Southern    Mississippi        Jackson MS P&DC                  0         1          0         1          0       0        0        0        0         0         0           1
Southern    Oklahoma           Oklahoma City OK P&DC            0         0          0         0          0       0        0        0        0         0         0           0
Southern    Oklahoma           Tulsa OK P&DC                    0         0          0         0          0       0        0        0        0         0         0           0
Southern    Rio Grande         Austin TX P&DC                   0         0          1         1          0       0        0        0        0         0         0           1
Southern    Rio Grande         Corpus Christi TX P&DC           0         0          0         0          0       0        0        0        0         0         0           0
Southern    Rio Grande         El Paso TX P&DC                  0         0          0         0          0       0        0        0        0         0         0           0
Southern    Rio Grande         McAllen TX                       0         0          0         0          0       0        0        0        0         0         0           0
Southern    Rio Grande         Midland TX P&DF                  0         0          0         0          0       0        0        0        0         0         0           0
Southern    Rio Grande         San Antonio TX P&DC              0         1          0         1          0       0        0        0        0         0         0           1
Southern    South Florida      Miami FL P&DC                    0         0          0         0          0       1        0        0        0         1         0           1
Southern    South Florida      West Palm Beach FL P&DC          0         1          0         1          0       0        0        0        0         0         0           1
Southern    Suncoast           Fort Myers FL P&DC               0         1          0         1          0       0        0        0        0         0         0           1
Southern    Suncoast           Orlando FL P&DC                  1         0          0         1          0       0        0        0        0         0         0           1
Southern    Suncoast           Tampa FL P&DC                    0         0          1         1          0       1        0        0        0         1         0           2
Western     Alaska             Anchorage AK P&DC                0         0          0         0          0       0        0        0        0         0         0           0
Western     Arizona            Albuquerque NM P&DC              0         0          0         0          0       0        0        0        0         0         0           0
Western     Arizona            Phoenix AZ P&DC                  0         0          0         0          0       0        0        0        0         0         0           0
Western     Central Plains     North Platte NE                  0         0          0         0          0       0        0        0        0         0         0           0
Western     Central Plains     Omaha NE P&DC                    0         0          0         0          0       0        1        0        0         1         0           1
Western     Central Plains     Wichita KS P&DC                  0         0          0         0          0       0        0        0        0         0         0           0
Western     Colorado/Wyoming   Casper WY PO                     0         0          0         0          0       0        0        0        0         0         0           0
Western     Colorado/Wyoming   Cheyenne WY P&DC                 0         0          0         0          0       0        0        0        0         0         0           0
Western     Colorado/Wyoming   Denver CO P&DC                   0         0          0         0          0       0        0        0        0         0         0           0
Western     Colorado/Wyoming   Grand Junction CO                0         0          0         0          0       0        0        0        0         0         0           0
Western     Dakotas            Billings MT P&DC                 0         0          0         0          0       0        0        0        0         0         0           0
Western     Dakotas            Bismarck ND                      0         0          0         0          0       0        0        0        0         0         0           0
Western     Dakotas            Dakota Central SD P&DC           0         0          0         0          0       0        0        0        0         0         0           0
Western     Dakotas            Fargo ND P&DC                    0         0          0         0          0       0        0        0        0         0         0           0
Western     Dakotas            Grand Forks ND                   0         0          0         0          0       0        0        0        0         0         0           0
Western     Dakotas            Great Falls MT                   0         0          0         0          0       0        0        0        0         0         0           0
Western     Dakotas            Missoula MT                      0         0          0         0          0       0        0        0        0         0         0           0
Western     Dakotas            Rapid City SD P&DF               0         0          0         0          0       0        0        0        0         0         0           0
Western     Dakotas            Sioux Falls SD                   0         1          0         1          0       0        0        0        0         0         0           1
Western     Hawkeye            Cedar Rapids IA P&DC             0         0          0         0          0       0        0        0        0         0         0           0
Western     Hawkeye            Des Moines IA P&DC               0         0          0         0          0       0        0        0        0         0         0           0
Western     Hawkeye            Quad Cities IL P&DF              0         0          0         0          0       0        0        0        0         0         0           0
Western     Hawkeye            Waterloo Plant IA                0         0          0         0          0       0        0        0        0         0         0           0
Western     Mid-America        Kansas City MO P&DC              0         1          0         1          0       0        0        0        0         0         0           1
Western     Mid-America        Springfield MO                   0         0          0         0          0       0        0        0        0         0         0           0
Western     Nevada-Sierra      Las Vegas NV P&DC                0         0          0         0          0       0        0        0        0         0         0           0
Western     Nevada-Sierra      Reno NV P&DC                     0         0          0         0          0       0        0        0        0         0         0           0
Western     Northland          Minneapolis MN P&DC              0         0          0         0          0       0        0        0        0         0         0           0
Western     Northland          Saint Paul MN P&DC - New         0         0          0         0          0       0        0        0        0         0         0           0
Western     Portland           Eugene OR P&DF                   0         0          0         0          0       0        0        0        0         0         0           0
Western     Portland           Medford OR                       0         0          0         0          0       0        0        0        0         0         0           0
Western     Portland           Portland OR P&DC                 0         0          1         1          0       0        0        0        0         0         0           1




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                                                                          FY20 Q3 Plan                                              FY20 Q4 Plan
                                                                                                                                                                          Total
                                                           6/13 -       6/20 -     6/27 -               7/4 -   7/11 -   7/18 -   7/25 -    8/1 -              FY21 -
AREA NAME      DISTRICT NAME             SITE NAME                                          Total Q3                                                Total Q4             Reductio
                                                            6/19         6/26       7/3                 7/10     7/17     7/24     7/31     9/30                Q1
                                                                                                                                                                            n
Western     Salt Lake City     Boise ID                         0         0          0         0          0       0        0        0        0         0         0           0
Western     Salt Lake City     Provo UT                         0         0          0         0          0       0        0        0        0         0         0           0
Western     Salt Lake City     Salt Lake City UT P&D            0         0          0         0          0       0        0        0        0         0         0           0
Western     Seattle            Seattle WA P&DC                  0         0          1         1          0       0        0        0        0         0         0           1
Western     Seattle            Spokane WA P&DC                  0         0          0         0          0       0        0        0        0         0         0           0
Western     Seattle            Tacoma WA P&DC                   0         0          0         0          0       0        0        0        0         0         0           0




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                                                                                   134      84           56         274          24         60         45         63        27     219        9        1004
                                                                                            FY20 Q3 Plan                                                     FY20 Q4 Plan
                                                                                                                                                                                                      Total
                                                                                  6/13 -   6/20 -       6/27 -              7/4 -     7/11 -     7/18 -     7/25 -     8/1 -                FY21 -
AREA NAME          DISTRICT NAME                       SITE NAME                                                 Total Q3                                                        Total Q4            Reductio
                                                                                   6/19     6/26         7/3                7/10       7/17       7/24       7/31      9/30                  Q1
                                                                                                                                                                                                        n
Capital Metro   Atlanta                  Atlanta GA P&DC                            3          0          0          3       0          0          0          0         0           0         0          3
Capital Metro   Atlanta                  North Metro GA P&DC                        0          1          0          1       0          0          0          0         0           0         0          1
Capital Metro   Baltimore                Baltimore MD IMF                           0          0          0          0       0          0          0          0         0           0         0          0
Capital Metro   Baltimore                Baltimore MD P&DC                          1          0          0          1       0          0          0          0         0           0         0          1
Capital Metro   Baltimore                Eastern Shore MD P&DF                      0          0          0          0       0          0          0          0         0           0         0          0
Capital Metro   Capital                  Curseen/Morris P&DC                        0          2          0          2       0          0          0          0         0           0         0          2
Capital Metro   Capital                  Government Mails                           0          0          0          0       0          0          0          0         0           0         0          0
Capital Metro   Capital                  Southern MD P&DC                           0          0          0          0       0          0          0          0         0           0         0          0
Capital Metro   Capital                  Suburban MD P&DC                           1          0          0          1       0          0          0          0         0           0         0          1
Capital Metro   Greater South Carolina   Charleston SC P&DF                         2          0          0          2       0          0          0          0         0           0         0          2
Capital Metro   Greater South Carolina   Columbia SC P&DC                           1          1          0          2       0          0          0          0         0           0         0          2
Capital Metro   Greater South Carolina   Greenville SC P&DC                         2          0          0          2       0          0          0          0         0           0         0          2
Capital Metro   Greensboro               Greensboro NC P&DC                         2          0          0          2       0          0          0          0         0           0         0          2
Capital Metro   Greensboro               Raleigh NC P&DC                            0          1          0          1       0          0          0          0         0           0         0          1
Capital Metro   Greensboro               Rocky Mount NC P&DF                        0          0          0          0       0          0          0          0         0           0         0          0
Capital Metro   Mid-Carolinas            Charlotte NC P&DC                          0          4          0          4       0          0          0          0         0           0         0          4
Capital Metro   Mid-Carolinas            Fayetteville NC P&DC                       1          2          0          3       0          0          0          0         0           0         0          3
Capital Metro   Northern Virginia        Dulles VA P&DC                             0          1          0          1       0          0          0          0         0           0         0          1
Capital Metro   Northern Virginia        Merrifield VA P&DC                         1          0          0          1       0          0          0          0         0           0         0          1
Capital Metro   Richmond                 Norfolk VA P&DC                            2          0          0          2       0          0          0          0         0           0         0          2
Capital Metro   Richmond                 Richmond VA P&DC                           0          2          0          2       0          0          0          0         0           0         0          2
Eastern         Central Pennsylvania     Harrisburg PA P&DC                         1          0          0          1       2          0          0          0         0           2         0          3
Eastern         Appalachian              Roanoke VA P&DC                            0          2          0          2       1          0          0          0         0           1         0          3
Eastern         Kentuckiana              Lexington KY P&DC                          1          0          1          2       0          0          0          0         0           0         0          2
Eastern         Central Pennsylvania     Lehigh Valley PA P&DF                      1          0          0          1       0          0          2          0         0           2         0          3
Eastern         Central Pennsylvania     Scranton PA P&DF                           0          0          0          0       0          0          1          2         0           3         0          3
Eastern         Kentuckiana              Evansville IN P&DF                         1          0          0          1       1          0          0          0         0           1         0          2
Eastern         Kentuckiana              Louisville KY P&DC                         1          3          0          4       0          0          0          0         0           0         0          4
Eastern         Ohio Valley              Dayton OH P&DC                             1          1          0          2       1          0          0          0         0           1         0          3
Eastern         Kentuckiana              Paducah KY P&DF                            0          0          0          0       0          0          0          0         0           0         0          0
Eastern         South Jersey             Delaware P&DC                              1          0          0          1       2          0          2          0         0           4         0          5
Eastern         Northern Ohio            Toledo OH P&DC                             0          0          0          0       0          0          3          0         0           3         0          3
Eastern         Northern Ohio            Youngstown OH P&DF                         2          0          0          2       0          0          0          0         0           0         0          2
Eastern         Ohio Valley              Cincinnati OH P&DC                         0          0          0          0       3          1          2          0         0           6         0          6
Eastern         Ohio Valley              Columbus OH P&DC                           0          0          0          0       0          0          0          8         0           8         0          8
Eastern         South Jersey             Trenton NJ P&DC                            1          0          0          1       0          0          3          0         0           3         0          4
Eastern         Philadelphia Metro       Philadelphia PA P&DC                       0          0          0          0       0          0          3          5         0           8         0          8
Eastern         Tennessee                Nashville TN P&DC                          1          4          0          5       0          0          0          0         0           0         0          5
Eastern         Western Pennsylvania     Altoona PA P&DF                            1          0          0          1       0          0          0          0         0           0         0          1
Eastern         Appalachian              Charleston WV P&DC                         2          0          0          2       1          0          0          0         0           1         0          3
Eastern         Northern Ohio            Cleveland OH P&DC                          2          2          0          4       0          2          0          0         0           2         0          6
Eastern         Tennessee                Johnson City TN P&DF                       0          0          0          0       0          0          0          2         0           2         0          2
Eastern         South Jersey             South Jersey P&DC                          2          0          0          2       2          0          1          0         0           3         0          5
Eastern         Tennessee                Knoxville TN P&DC                          2          0          0          2       1          0          0          1         0           2         0          4
Eastern         Tennessee                Memphis TN P&DC                            2          2          0          4       2          0          0          0         0           2         0          6
Eastern         Western New York         Buffalo NY P&DC                            0          2          0          2       2          1          0          0         0           3         0          5
Eastern         Western New York         Rochester NY P&DC                          0          2          0          2       0          0          0          2         0           2         0          4
Eastern         Tennessee                Chattanooga TN P&DC                        3          0          0          3       0          0          0          0         0           0         0          3




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                                                                                                 FY20 Q3 Plan                                               FY20 Q4 Plan
                                                                                                                                                                                                 Total
                                                                                       6/13 -   6/20 -       6/27 -              7/4 -   7/11 -   7/18 -   7/25 -   8/1 -              FY21 -
AREA NAME        DISTRICT NAME                        SITE NAME                                                       Total Q3                                              Total Q4            Reductio
                                                                                        6/19     6/26         7/3                7/10     7/17     7/24     7/31    9/30                Q1
                                                                                                                                                                                                   n
Eastern       Western Pennsylvania   Erie PA P&DC                                        0          0          0         0        1        0        0        1        0        2         0          2
Eastern       Western Pennsylvania   Johnstown PA P&DF                                   1          0          0         1        0        0        0        0        0        0         0          1
Eastern       Western Pennsylvania   Pittsburgh PA P&DC                                  0          0          0         0        0        0        0        3        0        3         0          3
Great Lakes   Central Illinois       Carol Stream IL P&DC                                0          0          1         1        1        0        0        0        0        1         0          2
Great Lakes   Central Illinois       Peoria IL P&DF                                      0          0          1         1        0        0        0        0        1        1         0          2
Great Lakes   Central Illinois       South Suburban IL P&DC                              0          0          0         0        0        1        1        1        2        5         0          5
Great Lakes   Chicago                Cardiss Collins IL P&DC                             2          0          0         2        0        1        0        0        1        2         0          4
Great Lakes   Chicago                Chicago International/Military Service Center       0          0          0         0        0        0        0        0        0        0         0          0
Great Lakes   Detroit                Detroit MI P&DC                                     2          0          0         2        0        0        0        0        0        0         0          2
Great Lakes   Detroit                Michigan Metroplex P&DC                             7          2          0         9        0        0        0        0        0        0         0          9
Great Lakes   Gateway                Champaign IL P&DF                                   0          0          1         1        0        0        0        0        0        0         0          1
Great Lakes   Gateway                Mid Missouri MO P&DF                                0          0          0         0        0        1        0        0        0        1         0          1
Great Lakes   Gateway                Saint Louis MO P&DC                                 0          3          0         3        0        0        0        0        1        1         0          4
Great Lakes   Gateway                Springfield IL P&DC                                 0          0          0         0        0        0        1        0        0        1         0          1
Great Lakes   Greater indiana        Fort Wayne IN P&DC                                  0          0          0         0        0        0        0        0        2        2         0          2
Great Lakes   Greater indiana        Gary IN P&DC                                        0          0          0         0        0        0        0        1        1        2         0          2
Great Lakes   Greater indiana        Indianapolis IN P&DC                                1          0          0         1        0        2        0        0        0        2         0          3
Great Lakes   Greater indiana        Muncie IN P&DF                                      0          0          0         0        0        0        0        0        0        0         0          0
Great Lakes   Greater indiana        South Bend IN P&DF                                  0          0          0         0        0        1        0        0        0        1         0          1
Great Lakes   Greater Michigan       Grand Rapids MI P&DC                                1          0          0         1        0        0        1        0        3        4         0          5
Great Lakes   Greater Michigan       Iron Mountain MI P&DF                               0          0          0         0        0        0        0        0        0        0         0          0
Great Lakes   Greater Michigan       Lansing MI P&DC                                     0          0          0         0        0        0        0        0        1        1         0          1
Great Lakes   Greater Michigan       Traverse City MI P&DF                               1          0          0         1        0        0        0        1        0        1         0          2
Great Lakes   Lakeland               Green Bay WI P&DC                                   0          0          0         0        0        0        0        1        1        2         0          2
Great Lakes   Lakeland               Madison WI P&DC                                     1          0          0         1        0        0        0        0        1        1         0          2
Great Lakes   Lakeland               Milwaukee WI P&DC                                   1          0          1         2        0        1        0        1        0        2         0          4
Great Lakes   Lakeland               Central WI P&DF                                     0          0          0         0        0        0        0        0        1        1         0          1
Great Lakes   Lakeland               Palatine IL P&DC                                    1          1          0         2        1        1        0        1        1        4         0          6
Great Lakes   Lakeland               Wausau WI P&DF                                      0          0          0         0        0        0        0        0        0        0         0          0
Northeast     Albany                 Albany NY P&DC                                      0          0          0         0        0        2        1        1        0        4         0          4
Northeast     Albany                 Syracuse NY P&DC                                    2          1          1         4        0        0        0        0        0        0         0          4
Northeast     Caribbean              San Juan PR P&DC                                    1          1          1         3        0        0        0        0        0        0         0          3
Northeast     Connecticut Valley     Hartford CT P&DC                                    1          1          1         3        0        0        0        3        0        3         0          6
Northeast     Connecticut Valley     Southern CT P&DC                                    1          1          0         2        0        0        0        0        0        0         0          2
Northeast     Greater Boston         Boston MA P&DC                                      1          1          2         4        0        2        1        0        0        3         0          7
Northeast     Greater Boston         Brockton MA P&DC                                    1          1          0         2        0        0        0        0        0        0         0          2
Northeast     Greater Boston         Central Massachusetts P&DC                          1          1          1         3        0        0        0        0        0        0         0          3
Northeast     Greater Boston         Providence RI P&DC                                  2          0          0         2        0        0        0        0        0        0         0          2
Northeast     Long Island            Mid Island NY P&DC                                  2          0          0         2        0        1        0        0        0        1         0          3
Northeast     Long Island            Western Nassau NY P&DC                              0          0          0         0        0        2        0        0        0        2         0          2
Northeast     New York               Morgan NY P&DC                                      0          0          0         0        0        4        2        1        0        7         0          7
Northeast     New York               NY ISC - JFK                                        0          0          0         0        0        0        0        0        0        0         0          0
Northeast     Northern New England   Burlington VT P&DF                                  0          0          0         0        0        0        0        0        0        0         0          0
Northeast     Northern New England   Eastern Maine P&DF                                  0          0          0         0        0        0        0        0        0        0         0          0
Northeast     Northern New England   Manchester NH                                       2          0          0         2        0        0        0        1        0        1         0          3
Northeast     Northern New England   Southern Maine P&DC                                 1          0          0         1        0        0        0        1        0        1         0          2
Northeast     Northern New England   White River Junction VT P&DC                        0          0          0         0        0        0        0        0        0        0         0          0
Northeast     Northern New Jersey    DVD NJ P&DC                                         0          0          0         0        0        4        0        0        0        4         0          4
Northeast     Northern New Jersey    Northern NJ Metro P&DC                              0          0          0         0        0        2        0        0        0        2         0          2
Northeast     Triboro                Brooklyn NY P&DC                                    0          0          0         0        0        4        0        0        0        4         0          4




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                                                                                  FY20 Q3 Plan                                               FY20 Q4 Plan
                                                                                                                                                                                  Total
                                                                        6/13 -   6/20 -       6/27 -              7/4 -   7/11 -   7/18 -   7/25 -   8/1 -              FY21 -
AREA NAME      DISTRICT NAME                 SITE NAME                                                 Total Q3                                              Total Q4            Reductio
                                                                         6/19     6/26         7/3                7/10     7/17     7/24     7/31    9/30                Q1
                                                                                                                                                                                    n
Northeast   Westchester        Mid-Hudson NY P&DC                         0          0          0         0        0        0        0        1        0        1         0         1
Northeast   Westchester        Westchester NY P&DC                        0          0          0         0        0        4        2        0        0        6         0         6
Pacific     Bay-Valley         Oakland CA P&DC                            3          0          0         3        0        0        0        0        0        0         0          3
Pacific     Bay-Valley         San Jose CA P&DC                           4          0          0         4        0        0        0        0        0        0         1          5
Pacific     Honolulu           Barrigada GU                               0          0          0         0        0        0        0        0        0        0         0          0
Pacific     Honolulu           Honolulu HI P&DC                           1          0          1         2        0        0        0        0        0        0         0          2
Pacific     Los Angeles        Los Angeles CA ISC                         0          0          0         0        0        0        0        0        0        0         0          0
Pacific     Los Angeles        Los Angeles CA P&DC                        5          0          0         5        0        0        0        6        0        6         3         14
Pacific     Sacramento         Fresno CA P&DC                             0          0          0         0        0        0        0        0        0        0         0          0
Pacific     Sacramento         Redding CA MPF                             0          0          0         0        0        0        0        0        0        0         0         0
Pacific     Sacramento         Sacramento CA P&DC                         0          3          0         3        0        0        0        0        3        3         0         6
Pacific     San Diego          ML Sellers CA P&DC                         0          0          0         0        0        0        0        0        3        3         0          3
Pacific     San Diego          Moreno Valley CA DDC                       1          1          0         2        0        0        0        0        0        0         0          2
Pacific     San Diego          San Bernardino CA P&DC                     0          0          0         0        0        0        0        0        1        1         0          1
Pacific     San Francisco      Eureka CA                                  0          0          0         0        0        0        0        0        0        0         0          0
Pacific     San Francisco      North Bay CA P&DC                          1          0          0         1        0        0        0        0        0        0         0          1
Pacific     San Francisco      San Francisco CA P&DC                      3          0          0         3        0        0        0        0        0        0         3          6
Pacific     Santa Ana          North Grand DDC                            2          0          0         2        0        0        0        0        0        0         2          4
Pacific     Santa Ana          Santa Ana CA P&DC                          0          0          0         0        0        0        0        0        0        0         0         0
Pacific     Sierra Coastal     Bakersfield CA P&DC                        0          2          0         2        0        0        0        0        0        0         0         2
Pacific     Sierra Coastal     Pasadena CA MPA                            0          0          0         0        0        0        0        0        0        0         0          0
Pacific     Sierra Coastal     Santa Barbara CA P&DC                      0          3          0         3        0        0        0        0        0        0         0          3
Pacific     Sierra Coastal     Santa Clarita CA P&DC                      0          2          0         2        0        0        0        0        0        0         0          2
Southern    Alabama            Birmingham AL P&DC                         2          1          0         3        0        0        0        0        0        0         0          3
Southern    Alabama            Huntsville AL P&DF                         0          1          0         1        0        0        0        0        0        0         0          1
Southern    Alabama            Mobile AL P&DC                             0          0          1         1        0        0        0        0        0        0         0          1
Southern    Alabama            Montgomery AL P&DC                         1          0          0         1        0        1        0        0        0        1         0          2
Southern    Arkansas           Little Rock AR P&DC                        0          0          0         0        0        1        1        1        0        3         0         3
Southern    Arkansas           Northwest Arkansas                         0          0          0         0        0        0        0        0        0        0         0         0
Southern    Dallas             Dallas TX P&DC                             0          1          0         1        0        1        1        0        0        2         0          3
Southern    Dallas             North Texas TX P&DC                        1          1          1         3        0        1        1        1        0        3         0          6
Southern    Fort Worth         Abilene TX P&DC                            1          0          0         1        0        0        0        0        0        0         0          1
Southern    Fort Worth         Amarillo TX P&DF                           1          0          0         1        0        0        0        0        0        0         0          1
Southern    Fort Worth         Fort Worth TX P&DC                         2          0          1         3        0        1        1        1        1        4         0          7
Southern    Fort Worth         Lubbock TX P&DF                            0          1          0         1        0        0        0        0        0        0         0          1
Southern    Gulf Atlantic      Augusta GA P&DF                            0          1          0         1        0        0        0        0        0        0         0          1
Southern    Gulf Atlantic      Gainesville FL P&DF                        1          0          0         1        0        0        0        0        0        0         0         1
Southern    Gulf Atlantic      Jacksonville FL P&DC                       1          0          1         2        1        1        1        1        0        4         0         6
Southern    Gulf Atlantic      Macon GA P&DC                              1          1          0         2        0        0        0        0        0        0         0          2
Southern    Gulf Atlantic      Pensacola FL P&DC                          0          0          1         1        0        1        0        0        0        1         0          2
Southern    Gulf Atlantic      Tallahassee FL P&DF                        0          1          0         1        0        0        1        0        0        1         0          2
Southern    Houston            Beaumont TX P&DF                           1          0          0         1        0        0        0        0        0        0         0          1
Southern    Houston            North Houston TX P&DC                      3          1          1         5        0        2        2        2        2        8         0         13
Southern    Louisiana          Baton Rouge LA P&DC                        0          0          1         1        0        1        0        0        0        1         0          2
Southern    Louisiana          Lafayette LA P&DF                          1          0          0         1        0        0        0        0        0        0         0          1
Southern    Louisiana          New Orleans LA P&DC                        1          1          1         3        0        1        0        0        0        1         0         4
Southern    Louisiana          Shreveport LA P&DC                         0          0          0         0        0        0        0        1        1        2         0         2
Southern    Mississippi        Grenada MS CSF                             1          0          0         1        0        0        0        0        0        0         0          1
Southern    Mississippi        Gulfport MS P&DC                           1          0          0         1        0        0        0        0        0        0         0          1
Southern    Mississippi        Hattiesburg MS                             1          0          0         1        0        0        0        0        0        0         0         1




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                                                                                  FY20 Q3 Plan                                               FY20 Q4 Plan
                                                                                                                                                                                  Total
                                                                        6/13 -   6/20 -       6/27 -              7/4 -   7/11 -   7/18 -   7/25 -   8/1 -              FY21 -
AREA NAME     DISTRICT NAME                  SITE NAME                                                 Total Q3                                              Total Q4            Reductio
                                                                         6/19     6/26         7/3                7/10     7/17     7/24     7/31    9/30                Q1
                                                                                                                                                                                    n
Southern    Mississippi        Jackson MS P&DC                            1          1          0         2        0        0        0        0        0        0         0          2
Southern    Oklahoma           Oklahoma City OK P&DC                      1          0          1         2        0        0        0        0        0        0         0          2
Southern    Oklahoma           Tulsa OK P&DC                              0          1          0         1        0        1        0        0        0        1         0          2
Southern    Rio Grande         Austin TX P&DC                             0          0          1         1        0        1        1        1        0        3         0          4
Southern    Rio Grande         Corpus Christi TX P&DC                     1          0          0         1        0        0        0        0        0        0         0          1
Southern    Rio Grande         El Paso TX P&DC                            1          0          1         2        0        0        0        0        0        0         0          2
Southern    Rio Grande         McAllen TX                                 1          0          0         1        0        0        0        0        0        0         0          1
Southern    Rio Grande         Midland TX P&DF                            1          0          0         1        0        0        0        0        0        0         0          1
Southern    Rio Grande         San Antonio TX P&DC                        1          1          1         3        0        1        1        1        0        3         0          6
Southern    South Florida      Miami FL P&DC                              1          1          2         4        0        0        1        0        0        1         0          5
Southern    South Florida      West Palm Beach FL P&DC                    0          1          1         2        0        1        0        0        0        1         0          3
Southern    Suncoast           Fort Myers FL P&DC                         1          2          0         3        0        2        0        0        0        2         0          5
Southern    Suncoast           Manasota FL P&DC                           1          1          3         5        0        0        0        0        0        0         0          5
Southern    Suncoast           Mid-Florida P&DC                           1          1          1         3        0        1        1        0        0        2         0          5
Southern    Suncoast           Orlando FL P&DC                            1          1          1         3        0        1        1        1        0        3         0          6
Southern    Suncoast           Tampa FL P&DC                              1          1          1         3        0        0        1        1        0        2         0          5
Western     Alaska             Anchorage AK P&DC                          0          0          0         0        0        0        0        0        0        0         0          0
Western     Alaska             Juneau AK                                  0          0          0         0        0        0        0        0        0        0         0          0
Western     Arizona            Albuquerque NM P&DC                        0          0          1         1        0        0        0        0        0        0         0          1
Western     Arizona            Phoenix AZ P&DC                            0          0          3         3        0        0        0        0        0        0         0          3
Western     Arizona            Tucson AZ P&DC                             0          0          1         1        0        0        0        0        0        0         0          1
Western     Central Plains     Grand Island NE P&DF                       0          0          0         0        0        0        0        0        0        0         0          0
Western     Central Plains     Lincoln NE P&DF                            0          0          0         0        0        0        0        0        0        0         0          0
Western     Central Plains     Norfolk NE P&DF                            0          0          0         0        0        0        0        0        0        0         0          0
Western     Central Plains     North Platte NE                            0          0          0         0        0        0        0        0        0        0         0          0
Western     Central Plains     Omaha NE P&DC                              0          0          0         0        0        0        1        0        0        1         0          1
Western     Central Plains     Wichita KS P&DC                            0          1          0         1        0        0        0        0        0        0         0          1
Western     Colorado/Wyoming   Casper WY PO                               0          0          0         0        0        0        1        0        0        1         0          1
Western     Colorado/Wyoming   Cheyenne WY P&DC                           0          0          0         0        0        0        0        0        0        0         0          0
Western     Colorado/Wyoming   Colorado Springs CO P&DC                   0          0          0         0        0        0        0        0        0        0         0          0
Western     Colorado/Wyoming   Denver CO P&DC                             3          0          0         3        0        0        2        0        0        2         0          5
Western     Colorado/Wyoming   Grand Junction CO                          0          0          0         0        0        0        0        0        0        0         0          0
Western     Colorado/Wyoming   Rock Springs WY                            0          0          0         0        0        0        0        2        0        2         0          2
Western     Dakotas            Billings MT P&DC                           0          0          1         1        0        0        0        0        0        0         0          1
Western     Dakotas            Bismarck ND                                0          0          0         0        0        0        0        0        0        0         0          0
Western     Dakotas            Dakota Central SD P&DC                     0          0          0         0        0        1        0        0        0        1         0          1
Western     Dakotas            Fargo ND P&DC                              0          0          0         0        1        0        0        0        0        1         0          1
Western     Dakotas            Grand Forks ND                             0          0          0         0        0        0        0        0        0        0         0          0
Western     Dakotas            Great Falls MT                             0          0          0         0        0        0        0        0        0        0         0          0
Western     Dakotas            Minot ND P&DF                              1          0          0         1        0        0        1        0        0        1         0          2
Western     Dakotas            Missoula MT                                0          0          0         0        0        0        0        0        0        0         0          0
Western     Dakotas            Rapid City SD P&DF                         0          0          0         0        0        0        0        0        0        0         0          0
Western     Dakotas            Sioux Falls SD                             2          0          0         2        0        0        0        0        0        0         0          2
Western     Hawkeye            Cedar Rapids IA P&DC                       0          0          1         1        0        0        0        0        0        0         0          1
Western     Hawkeye            Des Moines IA P&DC                         0          0          2         2        0        0        0        0        0        0         0          2
Western     Hawkeye            Quad Cities IL P&DF                        0          0          1         1        0        0        0        0        0        0         0          1
Western     Hawkeye            Waterloo Plant IA                          0          0          0         0        0        0        0        0        0        0         0          0
Western     Mid-America        Cape Girardeau MO P&DF                     0          1          0         1        0        0        0        0        0        0         0          1
Western     Mid-America        Kansas City MO P&DC                        0          3          0         3        0        0        0        0        0        0         0          3
Western     Mid-America        Springfield MO                             0          1          0         1        0        0        0        0        0        0         0          1




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                                                                                  FY20 Q3 Plan                                               FY20 Q4 Plan
                                                                                                                                                                                  Total
                                                                        6/13 -   6/20 -       6/27 -              7/4 -   7/11 -   7/18 -   7/25 -   8/1 -              FY21 -
AREA NAME      DISTRICT NAME                  SITE NAME                                                Total Q3                                              Total Q4            Reductio
                                                                         6/19     6/26         7/3                7/10     7/17     7/24     7/31    9/30                Q1
                                                                                                                                                                                    n
Western     Nevada-Sierra      Las Vegas NV P&DC                          0          0          0         0        0        2        0        0        0        2         0         2
Western     Nevada-Sierra      Reno NV P&DC                               0          0          0         0        0        1        0        0        0        1         0         1
Western     Northland          Bemidji MN                                 0          0          0         0        0        0        0        0        0        0         0         0
Western     Northland          Duluth MN P&DF                             0          0          0         0        0        0        0        0        0        0         0         0
Western     Northland          Eau Claire WI P&DF                         0          0          0         0        0        0        0        0        0        0         0         0
Western     Northland          Mankato MN                                 0          0          0         0        0        0        0        0        0        0         0         0
Western     Northland          Minneapolis MN P&DC                        0          0          3         3        0        0        0        2        0        2         0         5
Western     Northland          Saint Cloud MN                             0          0          0         0        0        0        0        0        0        0         0         0
Western     Northland          Saint Paul MN P&DC - New                   0          0          1         1        0        0        0        1        0        1         0         2
Western     Portland           Bend OR P&DF                               0          0          0         0        0        0        0        0        0        0         0         0
Western     Portland           Eugene OR P&DF                             0          0          2         2        0        0        0        0        0        0         0         2
Western     Portland           Medford OR                                 0          0          0         0        0        0        0        0        0        0         0         0
Western     Portland           Portland OR P&DC                           0          0          3         3        0        0        0        0        0        0         0         3
Western     Salt Lake City     Boise ID                                   0          0          0         0        0        0        0        1        0        1         0         1
Western     Salt Lake City     Pocatello ID                               0          0          0         0        0        0        0        0        0        0         0         0
Western     Salt Lake City     Provo UT                                   0          0          0         0        0        0        0        0        0        0         0         0
Western     Salt Lake City     Salt Lake City UT P&D                      1          1          1         3        0        0        0        0        0        0         0         3
Western     Seattle            Seattle WA DDC-East                        0          0          0         0        0        0        0        0        0        0         0         0
Western     Seattle            Seattle WA P&DC                            0          0          3         3        0        0        0        0        0        0         0         3
Western     Seattle            South WA DDC                               0          0          0         0        0        0        0        0        0        0         0         0
Western     Seattle            Spokane WA P&DC                            0          0          0         0        0        0        0        2        0        2         0         2
Western     Seattle            Tacoma WA P&DC                             0          0          0         0        1        0        0        0        0        1         0         1
Western     Seattle            Wenatchee WA                               0          0          0         0        0        0        0        0        0        0         0         0
Western     Seattle            Yakima WA                                  0          0          0         0        0        0        0        0        0        0         0         0
                               TOTAL                                                                                                                                               502




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                                                                                        FY20 Q3 Plan                                                 FY20 Q4 Plan
                                                                              6/13 -   6/20 -     6/27 -                  7/4 -   7/11 -   7/18 -   7/25 -   8/1 -                          Total
AREA NAME          DISTRICT NAME                     SITE NAME                                             Total Q3                                                  Total Q4 FY21 - Q1
                                                                               6/19     6/26       7/3                    7/10     7/17     7/24     7/31    9/30                         Reductiin
Capital Metro   Atlanta                  Atlanta GA P&DC                        0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Atlanta                  North Metro GA P&DC                    0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Atlanta                  Peachtree GA P&DC                      0        0          0            0         0        0        0        1        0        1         0           1
Capital Metro   Baltimore                Baltimore MD IMF                       0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Baltimore                Baltimore MD P&DC                      0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Baltimore                Eastern Shore MD P&DF                  0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Capital                  Curseen/Morris P&DC                    0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Capital                  Southern MD P&DC                       1        0          0            1         0        0        0        0        0        0         0           1
Capital Metro   Capital                  Suburban MD P&DC                       0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Greater South Carolina   Charleston SC P&DF                     0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Greater South Carolina   Columbia SC P&DC                       0        0          0            0         0        0        0        1        0        1         0           1
Capital Metro   Greater South Carolina   Greenville SC P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Greensboro               Greensboro NC P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Greensboro               Raleigh NC P&DC                        0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Greensboro               Rocky Mount NC P&DF                    0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Mid-Carolinas            Charlotte NC P&DC                      0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Mid-Carolinas            Fayetteville NC Annex                  1        0          0            1         0        0        0        0        0        0         0           1
Capital Metro   Northern Virginia        Dulles VA P&DC                         0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Northern Virginia        Merrifield VA P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Richmond                 Norfolk VA P&DC                        0        0          0            0         0        0        0        0        0        0         0           0
Capital Metro   Richmond                 Richmond VA P&DC                       0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Appalachian              Charleston WV P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Appalachian              Roanoke VA P&DC                        0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Central Pennsylvania     Harrisburg PA P&DC                     0        0          0            0         1        0        0        0        0        1         0           1
Eastern         Central Pennsylvania     Lehigh Valley PA P&DF                  0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Central Pennsylvania     Scranton PA P&DF                       0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Kentuckiana              Evansville IN MPA                      0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Kentuckiana              Lexington KY P&DC                      0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Kentuckiana              Louisville KY P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Northern Ohio            Akron OH P&DC                          0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Northern Ohio            Cleveland OH FSS Annex                 0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Northern Ohio            Cleveland OH P&DC                      1        0          0            1         0        0        0        0        0        0         0           1
Eastern         Northern Ohio            Toledo OH P&DC                         0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Northern Ohio            Youngstown OH P&DF                     0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Ohio Valley              Cincinnati OH P&DC                     0        2          0            2         0        0        0        0        0        0         0           2
Eastern         Ohio Valley              Columbus OH FSS Annex                  0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Ohio Valley              Columbus OH P&DC                       0        0          0            0         1        0        0        0        0        1         0           1
Eastern         Ohio Valley              Dayton OH P&DC                         0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Philadelphia Metro       Philadelphia PA NDC                    0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Philadelphia Metro       Philadelphia PA P&DC                   0        0          0            0         0        0        0        2        0        2         0           2
Eastern         South Jersey             Delaware P&DC                          0        0          0            0         0        0        0        0        0        0         0           0
Eastern         South Jersey             South Jersey P&DC                      0        0          0            0         1        0        0        0        0        1         0           1
Eastern         South Jersey             Trenton NJ P&DC                        0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Tennessee                Chattanooga TN P&DC                    0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Tennessee                Knoxville TN P&DC                      0        0          0            0         0        0        0        0        0        0         0           0
Eastern         Tennessee                Memphis TN P&DC                        0        1          0            1         0        0        0        0        0        0         0           1
Eastern         Tennessee                Music City Annex                       0        0          0            0         0        1        0        0        0        1         0           1
Eastern         Western New York         Buffalo NY P&DC                        0        0          0            0         0        0        0        0        0        0         0           0




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                                                                                               FY20 Q3 Plan                                                 FY20 Q4 Plan
                                                                                     6/13 -   6/20 -     6/27 -                  7/4 -   7/11 -   7/18 -   7/25 -   8/1 -                          Total
AREA NAME        DISTRICT NAME                      SITE NAME                                                     Total Q3                                                  Total Q4 FY21 - Q1
                                                                                      6/19     6/26       7/3                    7/10     7/17     7/24     7/31    9/30                         Reductiin
Eastern       Western New York       Rochester NY P&DC                                 0        0          0            0         0        0        0        0        0        0         0           0
Eastern       Western Pennsylvania   Altoona PA P&DF                                   0        0          0            0         0        0        0        0        0        0         0           0
Eastern       Western Pennsylvania   Erie PA P&DC                                      0        0          0            0         0        0        0        0        0        0         0           0
Eastern       Western Pennsylvania   Johnstown PA P&DF                                 0        0          0            0         0        0        0        0        0        0         0           0
Eastern       Western Pennsylvania   Pennwood Place PA P&DC                            0        0          0            0         0        0        0        0        0        0         0           0
Eastern       Western Pennsylvania   Pittsburgh PA P&DC                                0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Central Illinois       Carol Stream IL P&DC                              0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Central Illinois       Fox Valley IL P&DC                                0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Central Illinois       Peoria IL P&DF                                    0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Central Illinois       South Suburban IL P&DC                            0        0          0            0         0        0        0        0        1        1         0           1
Great Lakes   Chicago                Cardiss Collins IL P&DC                           0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Chicago                Chicago International/Military Service Center     0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Detroit                Detroit MI P&DC                                   0        1          0            1         0        0        0        0        0        0         0           1
Great Lakes   Detroit                Michigan Metroplex P&DC                           1        0          0            1         0        0        0        0        0        0         0           1
Great Lakes   Gateway                Champaign IL P&DF                                 0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Gateway                Mid Missouri MO P&DF                              0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Gateway                Saint Louis MO P&DC                               0        0          0            0         0        0        0        0        1        1         0           1
Great Lakes   Gateway                Springfield IL P&DC                               0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Greater indiana        Fort Wayne IN P&DC                                0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Greater indiana        Gary IN P&DC                                      0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Greater indiana        Indianapolis IN P&DC                              0        0          0            0         0        0        1        0        0        1         0           1
Great Lakes   Greater indiana        Muncie IN P&DF                                    0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Greater indiana        South Bend IN P&DF                                0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Greater Michigan       Grand Rapids MI Annex                             1        0          0            1         0        0        0        0        1        1         0           2
Great Lakes   Greater Michigan       Iron Mountain MI P&DF                             0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Greater Michigan       Lansing MI P&DC                                   0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Greater Michigan       Traverse City MI P&DF                             0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Lakeland               Green Bay WI P&DC                                 0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Lakeland               Madison WI P&DC                                   0        0          0            0         0        0        0        0        1        1         0           1
Great Lakes   Lakeland               Milwaukee WI P&DC                                 0        0          0            0         0        0        0        0        0        0         0           0
Great Lakes   Lakeland               Palatine IL P&DC                                  0        0          0            0         0        0        0        0        0        0         0           0
Northeast     Albany                 Albany NY P&DC                                    0        0          0            0         0        0        0        0        0        0         0           0
Northeast     Albany                 Syracuse NY P&DC                                  0        1          0            1         0        0        0        0        0        0         0           1
Northeast     Caribbean              San Juan PR P&DC                                  1        0          0            1         0        0        0        0        0        0         0           1
Northeast     Connecticut Valley     Hartford CT P&DC                                  0        0          0            0         0        0        0        0        0        0         0           0
Northeast     Connecticut Valley     Springfield MA NDC                                1        0          0            1         0        0        0        0        0        0         0           1
Northeast     Greater Boston         Boston MA P&DC                                    0        1          0            1         0        0        0        0        0        0         0           1
Northeast     Greater Boston         Brockton MA P&DC                                  0        0          0            0         0        0        0        0        0        0         0           0
Northeast     Greater Boston         Central Massachusetts P&DC                        0        0          0            0         0        0        0        0        0        0         0           0
Northeast     Greater Boston         Middlesex-Essex MA P&DC                           0        0          0            0         0        0        0        0        0        0         0           0
Northeast     Greater Boston         Providence RI P&DC                                0        0          0            0         0        0        0        0        0        0         0           0
Northeast     Long Island            Mid Island NY P&DC                                0        0          0            0         0        0        0        0        0        0         0           0
Northeast     Long Island            Western Nassau NY P&DC                            0        0          0            0         0        0        0        0        0        0         0           0
Northeast     New York               Morgan NY P&DC                                    0        0          0            0         0        1        0        0        0        1         0           1
Northeast     New York               NY ISC - JFK                                      0        0          0            0         0        0        0        0        0        0         0           0
Northeast     Northern New England   Burlington VT P&DF                                0        0          0            0         0        0        0        0        0        0         0           0
Northeast     Northern New England   Eastern Maine P&DF                                0        0          0            0         0        0        0        0        0        0         0           0
Northeast     Northern New England   Manchester NH                                     1        0          0            1         0        0        0        0        0        0         0           1
Northeast     Northern New England   Southern Maine P&DC                               0        0          0            0         0        0        0        0        0        0         0           0




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                                                                                   FY20 Q3 Plan                                                 FY20 Q4 Plan
                                                                         6/13 -   6/20 -     6/27 -                  7/4 -   7/11 -   7/18 -   7/25 -   8/1 -                          Total
AREA NAME      DISTRICT NAME                    SITE NAME                                             Total Q3                                                  Total Q4 FY21 - Q1
                                                                          6/19     6/26       7/3                    7/10     7/17     7/24     7/31    9/30                         Reductiin
Northeast   Northern New England   White River Junction VT P&DC            0        0          0            0         0        0        0        0        0        0         0           0
Northeast   Northern New Jersey    DVD NJ P&DC                             0        0          0            0         0        0        0        1        0        1         0           1
Northeast   Northern New Jersey    New Jersey IMF                          0        0          0            0         0        0        0        0        0        0         0           0
Northeast   Northern New Jersey    Northern NJ Metro P&DC                  0        0          0            0         0        0        1        0        0        1         0           1
Northeast   Triboro                Brooklyn NY P&DC                        0        0          0            0         0        0        0        0        0        0         0           0
Northeast   Westchester            Westchester NY P&DC                     0        0          0            0         0        0        1        0        0        1         0           1
Pacific     Bay-Valley             Oakland CA P&DC                         0        0          0            0         0        0        0        0        0        0         1           1
Pacific     Bay-Valley             San Jose CA P&DC                        0        0          0            0         0        0        0        0        0        0         1           1
Pacific     Honolulu               Honolulu HI P&DC                        0        0          1            1         0        0        0        0        0        0         0           1
Pacific     Los Angeles            Los Angeles CA P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Pacific     Sacramento             Fresno CA P&DC                          0        0          0            0         0        0        0        0        0        0         0           0
Pacific     Sacramento             Redding CA MPF                          0        0          0            0         0        0        0        0        0        0         0           0
Pacific     Sacramento             Sacramento CA P&DC                      0        1          0            1         0        0        0        0        0        0         0           1
Pacific     San Diego              ML Sellers CA P&DC                      0        0          0            0         0        0        0        0        0        0         0           0
Pacific     San Diego              Moreno Valley CA DDC                    0        1          0            1         0        0        0        0        0        0         0           1
Pacific     San Francisco          North Bay CA P&DC                       0        0          1            1         0        0        0        0        0        0         0           1
Pacific     San Francisco          San Francisco CA P&DC                   0        0          0            0         0        0        0        0        0        0         1           1
Pacific     Santa Ana              Anaheim CA P&DF                         0        0          0            0         0        0        0        0        0        0         0           0
Pacific     Santa Ana              North Grand DDC                         0        0          0            0         0        0        0        0        0        0         1           1
Pacific     Santa Ana              Santa Ana CA P&DC                       0        0          0            0         0        0        0        0        0        0         0           0
Pacific     Sierra Coastal         Bakersfield CA P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Pacific     Sierra Coastal         Pasadena CA MPA                         0        0          0            0         0        0        0        0        0        0         0           0
Pacific     Sierra Coastal         Santa Barbara CA P&DC                   0        0          0            0         0        0        0        0        0        0         0           0
Pacific     Sierra Coastal         Santa Clarita CA P&DC                   0        0          0            0         0        0        0        0        0        0         0           0
Pacific     Sierra Coastal         Van Nuys CA FSS Annex                   0        0          0            0         0        0        0        0        0        0         0           0
Southern    Alabama                Birmingham AL Annex                     0        1          0            1         0        0        0        0        0        0         0           1
Southern    Alabama                Mobile AL P&DC                          0        0          0            0         0        0        0        0        0        0         0           0
Southern    Alabama                Montgomery AL P&DC                      0        0          0            0         0        0        0        0        0        0         0           0
Southern    Arkansas               Little Rock AR P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Southern    Arkansas               Northwest Arkansas                      0        0          0            0         0        0        0        0        0        0         0           0
Southern    Dallas                 Dallas TX P&DC                          1        0          0            1         0        0        0        0        0        0         0           1
Southern    Dallas                 North Texas TX P&DC                     0        1          0            1         0        0        0        0        0        0         0           1
Southern    Fort Worth             Abilene TX P&DC                         0        0          0            0         0        0        0        0        0        0         0           0
Southern    Fort Worth             Amarillo TX P&DF                        0        0          0            0         0        0        0        0        0        0         0           0
Southern    Fort Worth             Fort Worth TX P&DC                      0        0          1            1         0        0        0        0        0        0         0           1
Southern    Fort Worth             Lubbock TX P&DF                         0        0          0            0         0        0        0        0        0        0         0           0
Southern    Gulf Atlantic          Augusta GA P&DF                         0        0          0            0         0        0        0        0        0        0         0           0
Southern    Gulf Atlantic          Gainesville FL P&DF                     0        0          0            0         0        0        0        0        0        0         0           0
Southern    Gulf Atlantic          Jacksonville FL P&DC                    0        1          0            1         0        0        0        0        0        0         0           1
Southern    Gulf Atlantic          Pensacola FL P&DC                       0        0          0            0         0        0        0        0        0        0         0           0
Southern    Gulf Atlantic          South Macon Station                     0        0          0            0         0        0        0        0        0        0         0           0
Southern    Gulf Atlantic          Tallahassee FL P&DF                     0        0          0            0         0        0        0        0        0        0         0           0
Southern    Houston                Beaumont TX P&DF                        0        0          1            1         0        0        0        0        0        0         0           1
Southern    Houston                North Houston TX P&DC                   1        0          0            1         0        0        0        0        0        0         0           1
Southern    Louisiana              Baton Rouge LA P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Southern    Louisiana              Lafayette LA P&DF                       0        0          0            0         0        0        0        0        0        0         0           0
Southern    Louisiana              New Orleans LA P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Southern    Louisiana              Shreveport LA P&DC                      0        0          0            0         0        0        0        0        0        0         0           0
Southern    Mississippi            Gulfport MS P&DC                        0        0          0            0         0        0        0        0        0        0         0           0




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                                                                               FY20 Q3 Plan                                                 FY20 Q4 Plan
                                                                     6/13 -   6/20 -     6/27 -                  7/4 -   7/11 -   7/18 -   7/25 -   8/1 -                          Total
AREA NAME      DISTRICT NAME                SITE NAME                                             Total Q3                                                  Total Q4 FY21 - Q1
                                                                      6/19     6/26       7/3                    7/10     7/17     7/24     7/31    9/30                         Reductiin
Southern    Mississippi        Jackson MS P&DC                         0        0          0            0         0        0        0        0        0        0         0           0
Southern    Oklahoma           Oklahoma City OK P&DC                   0        0          0            0         0        0        0        0        0        0         0           0
Southern    Oklahoma           Tulsa OK P&DC                           0        0          0            0         0        0        0        0        0        0         0           0
Southern    Rio Grande         Austin TX P&DC                          1        0          0            1         0        0        0        0        0        0         0           1
Southern    Rio Grande         Corpus Christi TX P&DC                  0        0          0            0         0        0        0        0        0        0         0           0
Southern    Rio Grande         El Paso TX P&DC                         0        0          0            0         0        0        0        0        0        0         0           0
Southern    Rio Grande         McAllen TX                              0        0          0            0         0        0        0        0        0        0         0           0
Southern    Rio Grande         Midland TX P&DF                         0        0          0            0         0        0        0        0        0        0         0           0
Southern    Rio Grande         San Antonio TX P&DC                     1        0          0            1         0        0        0        0        0        0         0           1
Southern    South Florida      Royal Palm FL P&DC                      0        0          0            0         0        0        0        0        0        0         0           0
Southern    South Florida      West Palm Beach FL P&DC                 0        1          0            1         0        0        0        0        0        0         0           1
Southern    Suncoast           Fort Myers FL P&DC                      0        0          0            0         0        0        0        0        0        0         0           0
Southern    Suncoast           Manasota FL P&DC                        0        0          0            0         0        0        0        1        0        1         0           1
Southern    Suncoast           Seminole FL P&DC                        0        0          0            0         0        0        0        0        0        0         0           0
Southern    Suncoast           Tampa FL P&DC                           0        0          1            1         0        0        0        0        0        0         0           1
Western     Alaska             Anchorage AK P&DC                       0        0          0            0         0        0        0        0        0        0         0           0
Western     Arizona            Albuquerque NM P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Western     Arizona            Tucson AZ P&DC                          0        0          0            0         0        0        0        0        0        0         0           0
Western     Arizona            West Valley AZ P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Western     Central Plains     Lincoln NE P&DF                         0        0          0            0         0        0        0        0        0        0         0           0
Western     Central Plains     North Platte NE                         0        0          0            0         0        0        0        0        0        0         0           0
Western     Central Plains     Omaha NE P&DC                           0        0          0            0         0        0        0        0        0        0         0           0
Western     Central Plains     Wichita KS P&DC                         0        0          0            0         0        0        0        0        0        0         0           0
Western     Colorado/Wyoming   Cheyenne WY P&DC                        0        0          0            0         0        0        0        0        0        0         0           0
Western     Colorado/Wyoming   Colorado Springs CO P&DC                0        0          0            0         0        0        0        0        0        0         0           0
Western     Colorado/Wyoming   Denver CO P&DC                          0        0          0            0         0        0        0        0        0        0         0           0
Western     Dakotas            Billings MT P&DC                        0        0          0            0         0        0        0        0        0        0         0           0
Western     Dakotas            Bismarck ND                             0        0          0            0         0        0        0        0        0        0         0           0
Western     Dakotas            Fargo ND ASF                            0        0          0            0         0        0        0        0        0        0         0           0
Western     Dakotas            Great Falls MT                          0        0          0            0         0        0        0        0        0        0         0           0
Western     Dakotas            Missoula MT                             0        0          0            0         0        0        0        0        0        0         0           0
Western     Dakotas            Sioux Falls SD                          0        0          0            0         0        0        0        0        0        0         0           0
Western     Hawkeye            Cedar Rapids IA P&DC                    0        0          0            0         0        0        0        0        0        0         0           0
Western     Hawkeye            Des Moines IA P&DC                      0        0          0            0         0        0        0        0        0        0         0           0
Western     Hawkeye            Quad Cities IL P&DF                     0        0          0            0         0        0        0        0        0        0         0           0
Western     Hawkeye            Waterloo Plant IA                       0        0          0            0         0        0        0        0        0        0         0           0
Western     Mid-America        Kansas City MO P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Western     Mid-America        Springfield MO                          0        1          0            1         0        0        0        0        0        0         0           1
Western     Nevada-Sierra      Las Vegas NV P&DC                       0        0          0            0         0        1        0        0        0        1         0           1
Western     Nevada-Sierra      Reno NV P&DC                            0        0          0            0         0        0        0        0        0        0         0           0
Western     Northland          Duluth MN P&DF                          0        0          0            0         0        0        0        0        0        0         0           0
Western     Northland          Eau Claire WI P&DF                      0        0          0            0         0        0        0        0        0        0         0           0
Western     Northland          Mankato MN                              0        0          0            0         0        0        0        0        0        0         0           0
Western     Northland          Minneapolis MN P&DC                     0        0          0            0         0        0        0        0        0        0         0           0
Western     Northland          Saint Cloud MN                          0        0          0            0         0        0        0        0        0        0         0           0
Western     Northland          Saint Paul MN P&DC - New                0        0          0            0         0        0        0        1        0        1         0           1
Western     Portland           Eugene OR P&DF                          0        0          0            0         0        0        0        0        0        0         0           0
Western     Portland           Medford OR                              0        0          0            0         0        0        0        0        0        0         0           0
Western     Portland           Portland OR P&DC                        0        0          0            0         0        0        0        0        0        0         0           0




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                                                                                 FY20 Q3 Plan                                                 FY20 Q4 Plan
                                                                       6/13 -   6/20 -     6/27 -                  7/4 -   7/11 -   7/18 -   7/25 -   8/1 -                          Total
AREA NAME       DISTRICT NAME                 SITE NAME                                             Total Q3                                                  Total Q4 FY21 - Q1
                                                                        6/19     6/26       7/3                    7/10     7/17     7/24     7/31    9/30                         Reductiin
Western     Salt Lake City      Boise ID                                 0        0          0            0         0        0        0        0        0        0         0           0
Western     Salt Lake City      Provo UT                                 0        0          0            0         0        0        0        0        0        0         0           0
Western     Salt Lake City      Salt Lake City UT ASF                    0        0          0            0         0        0        0        0        0        0         0           0
Western     Seattle             Seattle WA DDC-East                      0        0          0            0         0        0        0        0        0        0         0           0
Western     Seattle             Seattle WA P&DC                          1        0          0            1         0        0        0        0        0        0         0           1
Western     Seattle             South WA DDC                             0        0          0            0         0        0        0        0        0        0         0           0
Western     Seattle             Spokane WA P&DC                          0        0          0            0         0        0        0        0        0        0         0           0
Western     Seattle             Tacoma WA P&DC                           0        0          0            0         0        0        0        0        0        0         0           0
Western     Seattle             Yakima WA                                0        0          0            0         0        0        0        0        0        0         0           0




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                                                                     4           3         0           7                0            8            1            2           2     13         6        26
                                                                                FY20 Q3 Plan                                                           FY20 Q4 Plan
                                                                                                                                                                                                    Total
                                                                   6/13 -      6/20 -   6/27 -                  7/4 -       7/11 -       7/18 -       7/25 -       8/1 -                  FY21 -
AREA NAME        DISTRICT NAME              SITE NAME                                              Total Q3                                                                    Total Q4            Reductio
                                                                    6/19        6/26     7/3                    7/10         7/17         7/24         7/31        9/30                    Q1
                                                                                                                                                                                                      n
Capital Metro   Atlanta              North Metro GA P&DC             0           0         0           0         0            0            0            0           0             0         0         0
Capital Metro   Atlanta              Peachtree GA P&DC               0           0         0           0         0            1            0            0           0             1         0         1
Capital Metro   Baltimore            Baltimore MD IMF                0           0         0           0         0            0            0            0           0             0         0         0
Capital Metro   Capital              Curseen/Morris P&DC             0           0         0           0         0            1            0            0           0             1         0         1
Capital Metro   Greensboro           Greensboro NC P&DC              0           0         0           0         0            0            0            0           0             0         0         0
Capital Metro   Greensboro           Raleigh NC P&DC                 0           0         0           0         0            0            0            0           0             0         0         0
Capital Metro   Mid-Carolinas        Mid-Carolina NC P&DC            0           0         0           0         0            0            0            0           0             0         0         0
Capital Metro   Northern Virginia    Dulles VA P&DC                  0           0         0           0         0            1            0            0           0             1         0         1
Capital Metro   Richmond             Richmond VA P&DC                0           0         0           0         0            1            0            0           0             1         0         1
Eastern         Northern Ohio        Akron OH P&DC                   0           0         0           0         0            0            0            0           0             0         0         0
Eastern         Northern Ohio        Cleveland OH FSS Annex          0           0         0           0         0            0            0            0           0             0         0         0
Eastern         Ohio Valley          Columbus OH FSS Annex           0           0         0           0         0            0            0            0           0             0         0         0
Eastern         Philadelphia Metro   Philadelphia PA NDC             0           0         0           0         0            0            0            0           0             0         0         0
Eastern         Philadelphia Metro   Philadelphia PA P&DC            0           0         0           0         0            0            0            0           0             0         0         0
Eastern         South Jersey         Trenton NJ P&DC                 0           0         0           0         0            0            0            0           0             0         0         0
Eastern         Western New York     Northwest Rochester NY P&DC     0           0         0           0         0            0            0            0           0             0         0         0
Eastern         Western Pennsylvania Pennwood Place PA P&DC          0           0         0           0         0            0            0            0           0             0         0         0
Great Lakes     Central Illinois     Fox Valley IL P&DC              2           0         0           2         0            0            0            0           0             0         0         2
Great Lakes     Central Illinois     South Suburban IL P&DC          0           1         0           1         0            0            0            0           1             1         0         2
Great Lakes     Detroit              Michigan Metroplex P&DC         0           0         0           0         0            0            0            0           0             0         0         0
Great Lakes     Greater indiana      Indianapolis IN MPA             0           0         0           0         0            0            0            0           0             0         0         0
Great Lakes     Lakeland             Palatine IL P&DC                0           0         0           0         0            0            0            0           1             1         0         1
Northeast       Connecticut Valley   Springfield MA NDC              0           1         0           1         0            0            0            0           0             0         0         1
Northeast       Greater Boston       Middlesex-Essex MA P&DC         0           0         0           0         0            0            1            0           0             1         0         1
Northeast       Greater Boston       Providence RI P&DC              1           0         0           1         0            0            0            0           0             0         0         1
Northeast       Long Island          Mid Island NY P&DC              0           0         0           0         0            0            0            0           0             0         0         0
Northeast       Northern New Jersey New Jersey IMF                   0           0         0           0         0            0            0            0           0             0         0         0
Northeast       Triboro              Brooklyn NY P&DC                0           0         0           0         0            0            0            1           0             1         0         1
Northeast       Westchester          Westchester NY P&DC             0           0         0           0         0            1            0            0           0             1         0         1
Pacific         Bay-Valley           San Jose CA P&DC                0           0         0           0         0            0            0            0           0             0         1         1
Pacific         Los Angeles          Los Angeles CA P&DC             0           0         0           0         0            2            0            0           0             2         0         2
Pacific         Sacramento           Sacramento CA P&DC              0           0         0           0         0            0            0            0           0             0         1         1
Pacific         San Diego            ML Sellers CA P&DC              0           0         0           0         0            0            0            0           0             0         0         0
Pacific         San Diego            Moreno Valley CA DDC            0           0         0           0         0            0            0            0           0             0         2         2
Pacific         San Francisco        San Francisco CA P&DC           0           0         0           0         0            0            0            0           0             0         0         0
Pacific         Santa Ana            Anaheim CA P&DF                 0           0         0           0         0            0            0            0           0             0         2         2
Pacific         Sierra Coastal       Van Nuys CA FSS Annex           0           0         0           0         0            0            0            0           0             0         0         0
Southern        Dallas               Dallas TX P&DC                  0           0         0           0         0            0            0            0           0             0         0         0
Southern        Houston              North Houston TX P&DC           0           0         0           0         0            0            0            0           0             0         0         0
Southern        South Florida        Royal Palm FL P&DC              0           1         0           1         0            0            0            0           0             0         0         1
Southern        Suncoast             Seminole FL P&DC                0           0         0           0         0            1            0            1           0             2         0         2
Western         Arizona              West Valley AZ P&DC             0           0         0           0         0            0            0            0           0             0         0         0




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                                                                                                                                                                   Total
                                                          6/13 -      6/20 -   6/27 -              7/4 -   7/11 -   7/18 -   7/25 -   8/1 -              FY21 -
AREA NAME    DISTRICT NAME             SITE NAME                                        Total Q3                                              Total Q4            Reductio
                                                           6/19        6/26     7/3                7/10     7/17     7/24     7/31    9/30                Q1
                                                                                                                                                                     n
Western     Colorado/Wyoming   Denver CO P&DC               1           0         0        1        0        0        0        0       0         0         0         1
Western     Mid-America        Kansas City MO P&DC          0           0         0        0        0        0        0        0       0         0         0         0
Western     Northland          Saint Paul MN P&DC - New     0           0         0        0        0        0        0        0       0         0         0         0




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                         Exhibit 23




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9     (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF HALEY
14                          Plaintiffs,            LIVERMORE IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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20

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22

                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF HALEY                     1                   Complex Litigation Division
     LIVERMORE                                                     800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
     1:20-cv-03127-SAB                                                   (206) 464-7744



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1           I, Haley Livermore, declare as follows:

2           1.       I am over the age of 18, am competent to testify as to the matters

3     herein, and make this declaration based on my personal knowledge.

4           2.       I see a psychiatrist who prescribes me Adderall to provide relief

5     from symptoms of bipolar disorder. The medication helps me focus and think

6     clearly.

7           3.       Because Adderall is a controlled substance, my psychiatrist can only

8     refill my prescriptions through written prescriptions, instead of calling my

9     pharmacy as he does for my other prescriptions.

10          4.       Due to COVID-19, I was having my psychiatry appointments over

11    the phone. When I was low on medication, my doctor would send me the Adderall

12    prescription through the mail. I typically would receive the prescription about

13    two to three days after my appointment and then have it filled at a pharmacy.

14          5.       Around mid-July 2020, I told my doctor that I had run out of

15    medication. My doctor sent me another written prescription through the United

16    States Postal Service. This prescription never arrived.

17          6.       I tried to be patient, but around July 28th, I told my doctor that it had

18    not been delivered. My doctor asked me to inform him if the prescription did not

19    arrive soon.

20

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                                                                   ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF HALEY                           2                   Complex Litigation Division
     LIVERMORE                                                           800 5th Avenue, Suite 2000
                                                                          Seattle, WA 98104-3188
     1:20-cv-03127-SAB                                                         (206) 464-7744



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1           7.     During my appointment on August 4th, I confirmed that the

2     prescription had not arrived. While my doctor was certain that he had sent the

3     prescription, he sent me another one.

4           8.     On the second attempt, I received the prescription after four days,

5     instead of the usual two to three. I had the prescription filled at my pharmacy the

6     next day.

7           9.     Overall, I was without my medication for about three weeks.

8           10.    Not having my medication made me experience cognitive

9     disfunction, which means it takes me longer to work through what should be

10    simple problems. This led to a rise in my anxiety and stress levels. This increased

11    stress made it more difficult to accomplish household chores and restart my job

12    search.

13          11.    My husband is an essential worker and could use time to relax, since

14    he often has to work overtime in a stressful environment. But while I was without

15    my medication, he had to help me around the house and support me through

16    anxiety episodes.

17          I declare under penalty of perjury that the foregoing is true and correct.

18          DATED this 31st day of August, 2020, at Littleton, Colorado.

19

20                                     HALEY LIVERMORE
21
22

                                                                 ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF HALEY                         3                   Complex Litigation Division
     LIVERMORE                                                         800 5th Avenue, Suite 2000
                                                                        Seattle, WA 98104-3188
     1:20-cv-03127-SAB                                                       (206) 464-7744



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                         Exhibit 24




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      EMMA GRUNBERG, WSBA #54659
6     TERA M. HEINTZ, WSBA #54921
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7     KARL D. SMITH, WSBA #41988
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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                          NO. 1:20-cv-03127-SAB
13      al.,
                                                         DECLARATION OF
14                           Plaintiffs,                 MARKHAM MCINTYRE IN
              v.                                         SUPPORT OF PLAINTIFF
15                                                       STATES’ MOTION FOR
        DONALD J. TRUMP, et al.,                         PRELIMINARY INJUNCTION
16
                             Defendants.
17

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21
22
                                                                    ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF MARKHAM
     MCINTYRE                              1                             Complex Litigation Division
                                                                          800 5th Avenue, Suite 2000
                                                                           Seattle, WA 98104-3188
                                                                                (206) 464-7744




                                                                               Page 182 of 342
     Case 1:20-cv-03127-SAB      ECF No. 54-2   filed 09/09/20   PageID.631 Page 183 of 342



 1             I, Markham McIntyre, declare as follows:

 2             1.     I am over the age of 18, am competent to testify as to the matters
 3       herein, and make this declaration based on my personal knowledge.
 4             2.     I have worked at the Seattle Metro Chamber for over seven years

 5       and have been serving as the interim CEO since our previous President and CEO
 6       resigned in January 2020. Previously, I also held positions in Jay Inslee’s

 7       congressional office and worked on his gubernatorial campaign in 2012.

 8             3.     As the Executive Vice President of the Seattle Metropolitan
 9       Chamber of Commerce, I oversee and lead the Chamber’s work.
10             4.     The Seattle Metropolitan Chamber of Commerce is the largest and
11       most diverse business association in the Puget Sound region. Founded in 1882 by
12       local business leaders, the Chamber today is an independent organization

13       representing 2,600 companies and a regional workforce of approximately

14       750,000. The Seattle Metro Chamber is a business advocacy organization that
15       helps our members thrive in an equitable and inclusive regional economy.
16             5.     Approximately 75% of the Seattle Metro Chamber’s businesses are
17       small businesses. Approximately 30% of our members are microbusinesses with
18       10 employees or less.

19             6.     Many of our small business members rely on the United States
20       Postal Service to fulfill customer orders, particularly given the Postal Service’s
21       competitive rates and ability to serve every corner of the nation. The COVID-19
22

                                                                    ATTORNEY GENERAL OF WASHINGTON
        DECLARATION OF MARKHAM
        MCINTYRE                            2                            Complex Litigation Division
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                                                                           Seattle, WA 98104-3188
                                                                                (206) 464-7744
25
                                                                                Page 183 of 342
26
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 1       pandemic has been very harmful to our members and the whole Puget Sound

 2       business community. Small businesses have been especially hard hit. With an
 3       uncertain retail market, many of our members have moved inventory online and
 4       are relying more heavily on delivery orders than ever before.

 5             7.     Changes to the Postal Service causing delays and unpredictable
 6       delivery times will cause strain and hardship to our small business members at a

 7       time when efficient and reliable delivery service is more critical than ever. Losing

 8       the ability to quickly process orders will hurt our members’ bottom lines. These
 9       delays impact not only whether customers receive their orders on time, but when
10       stores receive their inventory as well.
11             8.     The Postal Service is an essential part of our nation’s infrastructure.
12       These delays are causing significant harm to our members and millions of other

13       small businesses that rely on the Postal Service now more than ever.

14             I declare under penalty of perjury under the laws of the State of
15       Washington and the United States that the foregoing is true and correct.
16             DATED this 20th day of August, 2020, at Seattle, Washington.
17
18                                        Markham McIntyre
19
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                                                                     ATTORNEY GENERAL OF WASHINGTON
        DECLARATION OF MARKHAM
                                             3                            Complex Litigation Division
24      MCINTYRE                                                           800 5th Avenue, Suite 2000
                                                                            Seattle, WA 98104-3188
                                                                                 (206) 464-7744
25
                                                                                 Page 184 of 342
26
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                         Exhibit 25




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4     ANDREW R.W. HUGHES, WSBA #49515
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      EMMA GRUNBERG, WSBA #54659
6     TERA M. HEINTZ, WSBA #54921
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7     KARL D. SMITH, WSBA #41988
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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF DENISE
14                          Plaintiffs,            W. MERRILL IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
                                                                  Complex Litigation Division
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                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



                                                                           Page 186 of 342
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       DECLARATION OF SECRETARY OF THE STATE DENISE W. MERRILL

I, Denise Merrill, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.      I am Secretary of the State for the State of Connecticut. I was first began serving

in that role on January 5, 2011, and I was elected to my third term as Connecticut's 73rd Secretary

of the State on November 6, 2018. My office is in Hartford, Connecticut.

       2.      As Secretary of the State, one of my most important responsibilities is

administering, interpreting, and implementing election laws and ensuring fair and impartial

elections for both state and national elections held in Connecticut. My office’s Elections and

Voting Division develops and promulgates the state’s elections calendar; coordinates closely

with local Town Clerks and Registrars of Voters to promote voter registration and to maintain

accurate voter rolls; provides training for local election officials; and oversees and administers

other election-related initiatives including, in 2020, the use of secure ballot drop-boxes and the

sending of mail-in ballot applications to every eligible Connecticut voter.

       3.      Connecticut expends considerable resources to promote fair and impartial

elections in which every voter has a full and equal opportunity to vote safely and securely. In

2020, my office has spent at least $500,000 on voter education, and a dedicated staff of 13 has

spent the past six weeks entirely focused on promoting the right to vote across Connecticut.

       4.      My experience as Secretary of the State includes a term as president of the

National Association of Secretaries of State (NASS). I have served as co-chair of NASS’s

Election Infrastructure Subsector Government Coordinating Council, and I currently serve on the

Board of Advisors to the U.S. Election Assistance Commission. Prior to my election as Secretary

of the State, I served as a Connecticut State Representative for 17 years, including a term from

2009-2011 as Connecticut’s House Majority Leader.




Declaration of Connecticut Secretary of the State Denise W. Merrill / 1

                                                                                      Page 187 of 342
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        5.      I have compiled the information in this declaration through personal knowledge

and through review of documents and information provided to me by my staff.

        6.      Connecticut has responded to the Covid-19 public health crisis, which has

infected more than 46,000 people and killed more than 4,300 in the state, by expanding mail-in

voting to help every eligible resident vote safely and securely in the 2020 primary and general

elections.

        7.      Connecticut law limits voting by mail to cases of absence, illness, disability, or

religious objection. Because of this limitation, state officials generally, and my office

specifically, usually refers to voting by mail as “absentee” voting, even though a voter need not

be absent from the jurisdiction in order to vote by mail. For the purposes of this Declaration, I

will use the more inclusive term “mail-in voting.”

        8.      Article VI, § 7 of the Connecticut Constitution provides that the General

Assembly may enact laws authorizing mail-in voting by “qualified voters of the state who are

unable to appear at the polling place on the day of election because of absence from the city or

town of which they are inhabitants or because of sickness, or physical disability or because the

tenets of their religion forbid secular activity.”

        9.      Following the state Constitutional grant of authority, the Connecticut General

Assembly passed Conn. Gen. Stat. § 9-135, which allows mail-in voting when an elector is

“unable to appear at his or her polling place during the hours of voting” because of any of a set

of enumerated reasons including “his or her illness.”

        10.     In a special session in July of 2020, Connecticut’s General Assembly passed

Public Act No. 20-3, which in relevant part amends Conn. Gen. Stat. § 9-135 to provide that, for

the purposes of the November 2020 election, the ongoing pandemic – and the fear of contracting




Declaration of Connecticut Secretary of the State Denise W. Merrill / 2

                                                                                      Page 188 of 342
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“the sickness of Covid-19” – is a valid reason for any eligible Connecticut resident to vote by

mail.

        11.    In response to the new law, my office intends to send a mail-in ballot application

to every registered voter in the state – a total of more than 2.1 million people – in the runup to

the November 3, 2020 election. While my office sends the applications, they must be returned –

using pre-paid return envelopes, for which the state of Connecticut expects to spend

approximately $1 million in the general election – to the town clerks in each of Connecticut’s

169 municipalities. These clerks, in turn, are responsible – directly or through a contracted mail

processing house – for processing the applications and sending mail-in ballots to eligible

applicants.

        12.    With the exception of blank ballots sent to voters oversees and to service

members in the armed forced, those mail-in ballots cannot be sent to voters until October 2,

2020. Conn. Gen. Stat. §§ 9-135, 9-140. While absentee ballots can be requested – by mail or in

person – until the day before the election, state law only allows Connecticut to count ballots that

are received by 8 p.m. on election day.

        13.    I expect a record-breaking volume of mail-in voting in the November, 2020

election, as state residents continue to reduce coronavirus exposure and the risk of Covid-19

sickness by avoiding the prolonged social contact that often comes with in-person voting. In the

state’s primary election, held on August 11, 2020 under similar rules to those that will be in

place in November, mail-in voting exceeded prior-year benchmarks by a factor of 10, with nearly

57% of Connecticut voters using mail-in ballots. I anticipate that use of mail-in ballots in

November’s general election will meet or exceed August’s historic highwater mark.




Declaration of Connecticut Secretary of the State Denise W. Merrill / 3

                                                                                      Page 189 of 342
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        14.     To try and ensure that every vote will be counted, my office has coordinated the

placement of at least one secure ballot drop box in each of the state’s municipalities. But I

anticipate that, in November as in the August primary election, the United States Postal Service

(USPS) will be called upon to deliver a significant portion of election-related mail at four key

points in the process: Ballot application delivery from the Secretary of State; ballot application

return to town clerks; printed ballots sent by town clerks to voters; and completed ballots

returned by voters to town clerks. While drop boxes are an important and completely secure

alternative to submitting ballots by mail, they are not a perfect substitute: Among other reasons,

they may be relatively inaccessible to elderly voters with limited mobility and voters with

disabilities.

        15.     On July 31, 2020, my office received a letter from Thomas Marshall, USPS’

General Counsel, warning of a “mismatch” between Connecticut’s mail-in voting process and

USPS delivery standards. Among other things, Mr. Marshall advised that a completed mail-in

ballot sent by First-Class Mail should be sent by Tuesday, October 27 in order to be received on

time for a November 3 election.

        16.     To my knowledge, USPS has never before warned Connecticut that USPS will take

seven days to deliver in-state, First-Class, election mail. Such a delay cannot be attribute to

Connecticut’s size. Connecticut is the third-smallest state in the country, measured in square miles.

The distance between Greenwich, on Connecticut’s western border, to Stonington, on the state’s

eastern border, is just 106 miles – a drive of less than two hours on the interstate highway. And,

as the above explanation of Connecticut’s voting process indicates, completed ballots are sent by

voters to local election officials within their own towns or cities – a short distance, given




Declaration of Connecticut Secretary of the State Denise W. Merrill / 4

                                                                                      Page 190 of 342
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Connecticut’s compact size. Our largest municipality by geographic area, the city of Danbury, is

just 41 square miles.

        17.    Unfortunately, though, my office has every reason to fear that the unprecedented

USPS warning reflects an unprecedented reality: I am deeply concerned that, without decisive

action, mail delays may deprive some Connecticut residents of the right to vote in the 2020 General

Election.

        18.    My office has received numerous complaints from Connecticut residents who

timely requested mail-in ballots for our August primary, but whose ballots did not arrive through

USPS until Election Day had passed. The residents, in those instances, were either forced to vote

in person – risking exposure to the coronavirus – or else were not able to vindicate their right to

vote.

        19.    It is important to stress that, in my years of experience overseeing Connecticut

elections, those mailing delays are unprecedented. Until this August’s primary election, it was

routine for ballot applications and completed ballots to reach their intended destination in two

days. But this year, mailing times were often longer – sometimes significantly longer – and those

new delays cost our residents dearly.

        20.    In previous years Connecticut postal workers have accorded special priority status

to election mail, ensuring that the mail reaches its destination promptly. In my understanding, the

USPS no longer plans to use that special priority coding for Connecticut’s election mail this

November. I am deeply concerned that the turn away from prioritizing election mail will

exacerbate the delays that we saw in August, threatening the voting rights of even more

Connecticut residents.

Executed this ___18___day of August, 2020 at Hartford, CT.




Declaration of Connecticut Secretary of the State Denise W. Merrill / 5

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1     ROBERT W. FERGUSON
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      Solicitor General
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6     TERA M. HEINTZ, WSBA #54921
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7     KARL D. SMITH, WSBA #41988
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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF STEVEN
14                          Plaintiffs,            MITCHELL IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF STEVEN                                        Complex Litigation Division
     MITCHELL                                                      800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



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 1          I, Steve Mitchell, declare as follows:

 2          1.     I am over the age of 18, am competent to testify as to the matters

 3    herein, and make this declaration based on my personal knowledge.

 4          2.     I am the co-owner of Scuppernong Books, an independent bookstore

 5    in Greensboro, North Carolina. We are a general interest/literary bookstore

 6    featuring fiction and poetry along with children’s books and a broad range of

 7    general interest titles. We opened in 2013 and have been an essential part of the

 8    rebirth of downtown Greensboro ever since. In 2018, we formed Scuppernong

 9    Editions, an eclectic small press. Before the COVID-19 pandemic, we operated

10    a café in the store serving wine, beer, coffee, and food. We also hosted hundreds

11    of events a year, bringing in writers from around the world.

12          3.     With the onset of the COVID-19 pandemic, our business, like so

13    many others, has struggled. We are currently open by appointment only for

14    socially-distanced browsing, and we require customers to make an appointment

15    online or by telephone before entering the store. We are also no longer able to

16    operate our in-store café, and we have had to stop holding in-store events. These

17    events were a major driver of business; in 2019, we hosted over 250 writers in

18    our store, as well as theatre, music, dance, and community conversation. All of

19    these changes have devastated foot traffic through our store.

20          4.     With the huge drop in in-store sales of merchandise and

21    refreshments, the bookstore has now become reliant on delivery orders for a

22

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26                                                                          Page 195 of 342
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 1    significant portion of our business, and therefore the efficient operation of the

 2    United States Postal Service, to survive. Even before the COVID-19 pandemic,

 3    we used the USPS to fulfil virtually all of our product orders, because their media

 4    mail rates are considerably cheaper than their competitors. As a small business

 5    sending just one or two items at a time, we cannot afford to use other major

 6    carriers. Further, other major carriers do not deliver everywhere, including to

 7    rural locations where some of our customers are located.

 8          5.     I understand through media reports and public announcements that

 9    the USPS is currently making changes to the way it provides mail service.

10          6.     We saw a huge increase in delivery orders at the beginning of the

11    pandemic—an increase of approximately 400 percent in April 2020. But in the

12    last couple of weeks, we have seen those numbers fall significantly. Anecdotally,

13    customers have complained to me about orders not arriving on time, and through

14    tracking packages on the USPS website, I can see myself that delivery times have

15    increased and that packages are increasingly being routed through roundabout

16    locations before arriving at their destination. I have even received questions from

17    customers asking if they should still have things mailed to them.

18          7.     We rely significantly on delivery orders to stay in business and our

19    customers, who are fearful of, or cannot travel are worried they will be left

20    without service. If these delays continue, it will be a death blow to our bookstore

21    during a time when we are already struggling to survive. Going out of business

22

                                                                ATTORNEY GENERAL OF WASHINGTON
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26                                                                            Page 196 of 342
Case 1:20-cv-03127-SAB          ECF No. 54-2   filed 09/09/20   PageID.645 Page 197 of 342




 1    now will make it that much harder for us to come back after the pandemic is over.

 2    We need the USPS to deliver efficient service to all areas of the country in order

 3    to survive this crisis.

 4           8.     I live in the same community as the Postmaster General. These

 5    delays deeply affect our community, from small businesses to people in rural

 6    areas who rely on the Postal Service to receive medicines and other necessary

 7    items by mail that are now subject to ten-day delays. Additionally, I am deeply

 8    concerned that the Postal Service will be unable to process mail-in ballots in the

 9    coming election.

10           I declare under penalty of perjury under the laws of the State of

11    Washington and the United States that the foregoing is true and correct.

12           DATED this __18___ day of August, 2020, at Greensboro, NC.

13

14                                       STEVE MITCHELL
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                                                                  ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF STEVEN                                             Complex Litigation Division
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26                                                                              Page 197 of 342
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                         Exhibit 27




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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF ESTHER
14                          Plaintiffs,            OKANLAWON IN SUPPORT
              v.                                   OF PLAINTIFF STATES’
15                                                 MOTION FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
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                                                                    Seattle, WA 98104-3188
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10
                       UNITED STATES DISTRICT COURT
11                    EASTERN DISTRICT OF WASHINGTON
                                 AT YAKIMA
12
        STATE OF WASHINGTON, et                       NO. 1:20-cv-03127-SAB
13      al.,
                                                      DECLARATION OF
14                            Plaintiffs,             CAROLYN OLSEN IN
              v.                                      SUPPORT OF PLAINTIFF
15                                                    STATES’ MOTION FOR
        DONALD J. TRUMP, et al.,                      PRELIMINARY INJUNCTION
16
                              Defendants.
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                                                                ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                                                 Complex Litigation Division
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                                                                       Seattle, WA 98104-3188
      NO. 1:20-CV-03127-SAB                                                 (206) 464-7744



                                                                             Page 203 of 342
Case 1:20-cv-03127-SAB      ECF No. 54-2      filed 09/09/20   PageID.652 Page 204 of 342




 1          I, Carolyn Olsen, declare as follows:

 2          1.      I am over the age of 18, am competent to testify as to the matters

 3    herein, and make this declaration based on my personal knowledge.

 4          2.      I am a retiree and a resident of Port Townsend, Washington.

 5          3.      I have relied on the U.S. Postal Service to deliver my medication by

 6    mail for several years. I used Postal Prescription Services, a mail order program

 7    based in Portland, Oregon, for at least eight years.

 8          4.      Before August 2020, I had never received a prescription more than

 9    4 days after a refill or call in by a doctor for that prescription. Generally, it takes

10    between 2 and 3 days between the order and the delivery to me in Port Townsend,

11    Washington.

12          5.      On August 10, 2020, my doctor called in two prescriptions to Postal

13    Prescription Services. One of these medications, Chlorthalidone, is used to treat

14    my high blood pressure; the second, Sertraline HCL, is an anti-depressant. Both

15    of these medications are critical to my health and well-being.

16          6.      I grew concerned when, on or around August 14, 2020, I had not

17    received my prescription delivery and had been hearing reports of postal delays.

18    So, on or around August 14, I called Postal Prescription Services to ask about the

19    status of this prescription delivery. A customer service representative informed

20    me that Postal Prescription Services had mailed out my prescriptions the same

21    day my doctor placed the order—on August 10.

22

                                                                  ATTORNEY GENERAL OF WASHINGTON
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     NO. 1:20-CV-03127-SAB                                                    (206) 464-7744



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 1            7.    A few days later, I followed-up again with Postal Prescription

 2    Services and got the tracking number. I then called my local Post Office and

 3    learned that my delivery had been stuck at a facility in Federal Way since August

 4    15, 2020. I was told that I should expect to receive my medication by August 20,

 5    2020.

 6            8.    My medication did not arrive by August 20, 2020.

 7            9.    On or about August 21, 2020, I called the U.S. Postal Service to

 8    report missing mail. An employee took my information, told me she would stamp

 9    my inquiry as URGENT, and would send the inquiry to my local Post Office. My

10    request number is 14204165.

11            10.   I have since received two emails from the U.S. Postal Service that

12    have thanked me for my patience and stated that the U.S. Postal Service was

13    looking into the matter.

14            11.   As of August 31, 2020 I still have not received my prescriptions.

15            12.   Because of my age and my high blood pressure, I am at an increased

16    risk for severe illness from COVID-19.

17            13.   Due to the risk of exposure to COVID-19, it would be better and

18    more convenient for me to receive my medication by mail. This way I can avoid

19    waiting in line at a pharmacy and minimize my exposure by staying at home.

20            14.   Because of my concerns with the delayed delivery, and my worry

21    that similar issues would come up with replacement medications sent by mail, I

22

                                                               ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                             3                   Complex Litigation Division
     CAROLYN OLSEN                                                   800 5th Avenue, Suite 2000
                                                                      Seattle, WA 98104-3188
     NO. 1:20-CV-03127-SAB                                                 (206) 464-7744



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  1    went to my local pharmacy to get my medication to avoid running out of my

  2    medications.

  3          15.      To do so, I had to remove my prescriptions from Postal Prescription

  4    Services, because I do not trust that future medications will be delivered in a

  5    timely and consistent way. The retail pharmacist then had to call my doctor so I

  6    could get my prescription filled at the local pharmacy.

  7          16.      Postal Prescription Services has been a good service but I think other

  8    people, like me, will pull their prescriptions out of concern for mail delays.

  9          17.      I have experienced a lot of anxiety and stress because of the delays

 10    in receiving my medication by mail and the follow-up I had to do. I think this

 11    stress has increased my blood pressure.

 12          I declare under penalty of perjury under the laws of the United States that

 13    the foregoing is true and correct.

 14
 15          DATED this _____ day of August, 2020, at Port Townsend, Washington.

 16
 17                                      Carolyn Olsen
 18
 19

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 22

                                                                  ATTORNEY GENERAL OF WASHINGTON
       DECLARATION OF                              4                   Complex Litigation Division
       CAROLYN OLSEN                                                    800 5th Avenue, Suite 2000
                                                                         Seattle, WA 98104-3188
       NO. 1:20-CV-03127-SAB                                                  (206) 464-7744




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                         Exhibit 29




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7     KARL D. SMITH, WSBA #41988
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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF AMY
14                          Plaintiffs,            PETERSON IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
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                                                             ATTORNEY GENERAL OF WASHINGTON
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                                                                    Seattle, WA 98104-3188
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                                                                           Page 208 of 342
     Case 1:20-cv-03127-SAB   ECF No. 54-2    filed 09/09/20   PageID.657 Page 209 of 342


1     I, Amy Peterson, declare as follows:

2           1.    I am over the age of 18, am competent to testify as to the matters

3     herein, and make this declaration based on my personal knowledge.

4           2.    I am currently the Human Resources Supervisor for the Minnesota

5     Department of Administration.

6           3.    As part of my job duties I supervise human resource services for

7     employees at the Department of Administration, Minnesota Management and

8     Budget, and nearly thirty small agencies, boards, and councils.

9           4.    The human resources department administers Family and Medical

10    Leave Act (FMLA) services for employees of the relevant agencies, boards, and

11    councils. One important part of this service is to provide FMLA paperwork to

12    employees who request leave or who are out on continuous leave.

13          5.    Federal regulations require that FMLA paperwork be provided to

14    employees within certain time deadlines. This time frame can be as short as five

15    days. The purpose of much of the paperwork is to provide employees timely notice

16    of their rights and responsibilities under the FMLA.

17          6.    Some employees on FMLA leave no longer report to their work site

18    and paperwork must be sent to their homes. There have been incidents, at least



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     Case 1:20-cv-03127-SAB     ECF No. 54-2    filed 09/09/20   PageID.658 Page 210 of 342


1     two recently, where the United States Postal Service (USPS) has not delivered

2     time-sensitive FMLA paperwork in a timely manner.

3           7.     In one instance paperwork was sent via certified mail on August 18th

4     or 19th, and as of the date of this declaration, has still not been delivered.

5           8.     These delays prevent employees from completing FMLA paperwork

6     in a timely manner, limit employees’ receipt of timely notice of their legal rights as

7     contemplated by federal law, place the Department at legal risk of allegations of

8     failure to comply with the FMLA notice requirements, and prevent managers from

9     planning for employees’ leave while an employee’s status is uncertain.

10          9.     The Department of Administration also responds to unemployment

11    claims on behalf of certain state agencies.

12          10.    When an individual separates from employment, they can apply for

13    unemployment benefits through the Minnesota Department of Employment and

14    Economic Development (DEED). When an individual applies for unemployment

15    benefits, DEED sends a letter to the employer and typically provides ten days to

16    respond to the application to dispute the individual’s entitlement to unemployment

17    benefits. If the employer does not respond, the benefits are often approved without

18    the benefit of the employer’s contrary information, and the employer is liable to

19    pay for those benefits.

                                                             ATTORNEY GENERAL OF WASHINGTON
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1            11.    There have been instances where unemployment letters from DEED

2     have been delivered by the USPS after the deadline to respond to the

3     unemployment application. Those letters must have taken in excess of ten days to

4     be delivered. This effectively deprives the Department of its right to dispute the

5     individual’s entitlement to benefits.

6            12.    On at least two occasions, the Department would have contested an

7     individual’s entitlement to unemployment benefits but was unable to do so because

8     the unemployment letter from DEED was delivered by the USPS after the deadline

9     to respond.

10           13.    The Department is paying for unemployment benefits that would have

11    been contested because USPS delivered those letters past the responsive deadline.

12    Had DEED had the benefit of the Department’s information, DEED may have

13    determined the individual was in fact ineligible for benefits.

14           14.    These mail delays are impairing the ability of the Department to

15    effectively and efficiently administer human resource services to the state agencies

16    it serves.

17




                                                           ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                           4                Complex Litigation Division
      AMY PETERSON                                               800 5th Avenue, Suite 2000
                                                                  Seattle, WA 98104-3188
                                                                       (206) 464-7744




                                                                               Page 211 of 342
    Case 1:20-cv-03127-SAB   ECF No. 54-2    filed 09/09/20   PageID.660 Page 212 of 342


1          I declare under penalty of perjury under the laws of the States of Washington

2    and Minnesota and the United States of America that the foregoing is true and

3    correct.

4                     4
     Dated: September ___, 2020
                                                 AMY PETERSON
5




                                                         ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                         5                 Complex Litigation Division
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                                                                Seattle, WA 98104-3188
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                                                                             Page 212 of 342
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       CRISTINA SEPE, WSBA #53609
 5       (application for admission forthcoming)
       Assistant Attorneys General
 6     EMMA GRUNBERG, WSBA #54659
       TERA M. HEINTZ, WSBA #54921
 7       (application for admission forthcoming)
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 8       (application for admission forthcoming)
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 9     800 Fifth Avenue, Suite 2000
       Seattle, WA 98104
10     (206) 464-7744

11
                             UNITED STATES DISTRICT COURT
12                          EASTERN DISTRICT OF WASHINGTON
                                       AT YAKIMA
13
      STATE OF WASHINGTON, et al.,                  NO. 1:20-cv-03127-SAB
14
                              Plaintiffs,           DECLARATION OF CHRISTOPHER
15           v.                                     E. PIPER IN SUPPORT OF
                                                    PLAINTIFF STATES’ MOTION FOR
16    DONALD J. TRUMP, et al.,                      PRELIMINARY INJUNCTION

17                            Defendants.

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     DECLARATION OF                                               ATTORNEY GENERAL OF VIRGINIA
                                                                        202 North Ninth Street
     CHRISTOPHER E. PIPER                                             Richmond, Virginia 23219
                                                                       804-692-0558 (telephone)
                                                                       804-692-1647 (facsimile)
                                                                        clewis@oag.state.va.us


                                                                              Page 214 of 342
Case 1:20-cv-03127-SAB         ECF No. 54-2       filed 09/09/20      PageID.663 Page 215 of 342




 1           I, Christopher E. Piper, declare as follows:

 2           1.      I am over the age of 18, am competent to testify as to the matters herein, and

 3    make this declaration based on my personal knowledge.

 4           2.      I am the Commissioner of the Virginia Department of Elections.

 5           3.      I was appointed to and have served in this position since February 2018.

 6           4.      As Commissioner, I am also the Chief Election Officer in the Commonwealth.

 7           5.      Over the subsequent two years, I have overseen six statewide elections, as

 8    well as a number of special and local elections.

 9           6.      The Virginia Department of Elections is charged with overseeing the work of

10    the county and city electoral boards and of the registrars of 133 localities to obtain uniformity

11    in their practices and proceedings and legality and purity in all elections. Va. Code § 24.2-

12    103(A).

13           7.      Under the Virginia Code, any individual may vote absentee without providing

14    an excuse to do so. See Va. Code § 24.2-700.

15           8.      Virginia permits any qualified voter to vote absentee after completing and

16    returning a valid absentee ballot application. Va. Code §§ 24.2-700 and 24.2-701.

17           9.      After receiving a valid application for an absentee ballot, the general registrar

18    enrolls the name and address of the applicant on the absentee voter applicant list. Va. Code

      § 24.2-706. The voter then has the ability to vote either in-person absentee, Va. Code §§
19
      24.2-701.1 and 24.2-701.2, or by mail, Va. Code § 24.2-707.
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22

     DECLARATION OF                                                       ATTORNEY GENERAL OF VIRGINIA
                                                                                202 North Ninth Street
     CHRISTOPHER E. PIPER                                                     Richmond, Virginia 23219
                                                                               804-692-0558 (telephone)
                                                                               804-692-1647 (facsimile)
                                                                                clewis@oag.state.va.us


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 1               10.   Requests to have an absentee voter ballot mailed must be received by the

 2    general registrar no later than 5:00 p.m. 11 days before the November election. Va. Code

 3    § 24.2-701(B)(2).

 4               11.   Absentee ballots must be returned to the general registrar no later than noon

 5    on the third day after the election in order to be counted. Va. Code § 24.2-709(B).

 6               12.   General registrars use First Class mail to mail ballots.

 7               13.   Absentee voting in Virginia has seen a marked increase since the beginning of

 8    the COVID-19 pandemic. In the 2020 June primary elections, 542,318 total ballots were cast,

 9    and, of those ballots, 105,832 were absentee.

10               14.   In order to meet the increased need for absentee voting during the COVID-19

11    pandemic, the Virginia Department of Elections has distributed funds provided under the

12    Coronavirus Aid, Relief, and Economic Security (CARES) Act. Many localities have already

13    expended those funds for the purpose of preparing and sending a large influx of absentee

14    ballots.

15               15.   In the 2020 May town and city general and special elections, 139,454 total

16    ballots were cast, and, of those ballots, 66,333 were absentee.

17               16.   In comparison, for the 2018 May town and city general and special elections,

18    during which the number of total ballots cast was 130,829, there were only 4,466 absentee

      ballots cast.
19
                 17.   On July 30, Mr. Thomas Marshall, General Counsel for the USPS, sent a letter
20
      to notify me that “certain deadlines for requesting and casting mail-in ballots [in Virginia] are
21
      incongruous with the Postal Service’s delivery standards.” Accordingly, Mr. Marshall
22

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 1    explained that “this mismatch creates a risk that ballots requested near the deadline under

 2    state law will not be returned by mail in time to be counted under your laws as we understand

 3    them.” See Ex. A, July 30, 2020 Marshall Letter.

 4           18.     Mr. Marshall also advised me that, as a result of the Postal Service’s delivery

 5    standards, to the extent the mail is used to transmit ballots to and from voters, “there is

 6    significant risk that, at least in certain circumstances, ballots may be requested in a manner

 7    that is consistent with [Virginia’s] election rules and returned promptly, and yet not be

 8    returned in time to be counted.”

 9           19.     It remains to be seen what any changes to the USPS system will have on the

10    absentee voting system in Virginia. Since these changes have been proposed, localities in the

11    Commonwealth have not had to mail out ballots. The last absentee ballots mailed to voters

12    were for the July 7 and 14 special elections in Arlington and Smyth Counties, prior to any

13    proposed postal changes.

14           20.     Ballot proofs will begin being reviewed on August 22 and must be mailed out

15    no later than September 19.

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     DECLARATION OF                                                     ATTORNEY GENERAL OF VIRGINIA
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 1           I declare under penalty of perjury under the laws of the United States that the

 2    foregoing is true and correct.

 3
             DATED this 4th day of September, 2020, at Richmond, Virginia.
 4

 5
                                         Christopher E. Piper
 6                                       Commissioner, Virginia Department of Elections

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     DECLARATION OF                                                ATTORNEY GENERAL OF VIRGINIA
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                           Piper Declaration
                                 Exhibit A




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                         Exhibit 31




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6     TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
7     KARL D. SMITH, WSBA #41988
        Deputy Solicitors General
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      Seattle, WA 98104
9     (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF AMY
14                          Plaintiffs,            PUHALSKI IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF PUHALSKI                                      Complex Litigation Division
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                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



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                         Exhibit 32




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 5    Assistant Attorneys General
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 6    TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
 7    KARL D. SMITH, WSBA #41988
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      Seattle, WA 98104
 9    (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF KRISTIN
14                          Plaintiffs,            A. RICHARDS IN SUPPORT
              v.                                   OF PLAINTIFF STATES’
15                                                 MOTION FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                               Complex Litigation Division
     KRISTIN A. RICHARDS                                           800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



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 1    I, KRISTIN A. RICHARDS, declare:

 2            1.   I am a resident of the State of Illinois. I am over the age of 18 and make this

 3    declaration from personal knowledge and based on records from the Illinois Department of

 4    Employment Security (“IDES”). If called as a witness, I could and would testify competently

 5    to all the matters set forth below.

 6            2.   I am the Acting Director of IDES. I am responsible for overseeing the day to day

 7    operations of IDES. I coordinate with IDES staff to develop policies, objectives, and initiatives

 8    to further IDES’ mission to serve its community. I have held this position since August 10,

 9    2020.

10            3.   Our mission is to serve Illinois workers and employers by administering

11    unemployment insurance, programs created in Illinois under the Workforce Innovation and

12    Opportunity Act, and other federal programs to the best of our ability and to use our knowledge

13    of the Illinois workforce to inform sound policy decision making for Illinois residents and

14    employers.

15            4.   Between March 1, 2020 and August 29, 2020, IDES administered regular

16    unemployment insurance under the Illinois Unemployment Insurance Act, 820 ILCS 405/100

17    et seq., as well as benefits pursuant to the Pandemic Unemployment Assistance (“PUA”) and

18    Pandemic Emergency Unemployment Compensation (“PEUC”) programs created by the

      Coronavirus Aid, Relief, and Economic Security (“CARES”) Act, PL 116-136, for
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      approximately 2,436,853 initial unemployment claims. This amounts to an increase of over
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      860% of the initial unemployment claims for the same period one year ago. Since the COVID-
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                                                                         ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                                           Complex Litigation Division
24   KRISTIN A. RICHARDS                                                       800 5th Avenue, Suite 2000
                                                                                Seattle, WA 98104-3188
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25
                                                                                      Page 230 of 342
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 1    19 pandemic began in March 2020, IDES has seen a significant surge in applications for

 2    unemployment, and we anticipate that number to continue to increase.

 3           5.   Prompt mail service is necessary for the effective and efficient administration of

 4    unemployment benefits. Otherwise, our recipients will experience significant delays to their

 5    detriment. For example, the notices we mail trigger a number of rights for both claimants and

 6    employers that run on a tight timeline for receiving and appealing services that are awarded or

 7    denied. Employers have 10 days from the date a Notice to Chargeable Employer is mailed out

 8    by IDES to protest a claim. 56 Ill. Admin. Code 2720.130(a). Following a determination or

 9    decision granting or denying benefits, the right to appeal is lost after 30 days once the

10    determination or decision is mailed by the agency. 820 ILCS 405/800.

11           6.   Furthermore, parties have 35 days from the mailing of a final administrative

12    decision to file a complaint in circuit court or lose their right to judicial review. 735 ILCS 5/3-

13    103. If mail service is delayed, the recipient has a shorter amount of time to invoke their rights;

14    no time at all if the delay is long enough. This could result in claimants losing their rightful

15    benefits or employers losing the right to appeal. The law is clear that once the deadlines have

16    passed, IDES loses jurisdiction: Illinois courts reviewing these statutory time limits have

17    consistently declined to insert jurisdictional exemptions into the Act. See Thompson v IDES,

18    399 Ill. App. 3d 393, 928 N.E.2d 528 (1st Dist. 2010).

             7.   Even when the COVID-19 pandemic eventually subsides, IDES will still be
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      required to serve a significant population. In the years immediately prior to the pandemic,
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      IDES received an average of 490,000 initial unemployment claims per year. Any purported
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                                                                           ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                                             Complex Litigation Division
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                                                                                  Seattle, WA 98104-3188
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                                                                                        Page 231 of 342
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                         Exhibit 33




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5     Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
6     TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
7     KARL D. SMITH, WSBA #41988
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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF ROBERT
14                          Plaintiffs,            ROCK IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF ROBERT                                        Complex Litigation Division
     ROCK                                                          800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



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                         Exhibit 34




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 4    ANDREW R.W. HUGHES, WSBA #49515
      CRISTINA SEPE, WSBA #53609
 5    Assistant Attorneys General
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 6    TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
 7    KARL D. SMITH, WSBA #41988
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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                      NO. 1:20-cv-03127-SAB
13      al.,
                                                     DECLARATION OF
14                           Plaintiffs,             RANDALL ROSENBAUM IN
              v.                                     SUPPORT OF PLAINTIFF
15                                                   STATES’ MOTION FOR
        DONALD J. TRUMP, et al.,                     PRELIMINARY INJUNCTION
16
                             Defendants.
17

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                                                               ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF RANDALL                                        Complex Litigation Division
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                                                                      Seattle, WA 98104-3188
                                                                           (206) 464-7744



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 1    I, Randall Rosenbaum, declare as follows:
 2          1. I am over the age of 18, am competent to testify as to the matters herein,
 3             and make this declaration based on my personal knowledge.
 4          2. I am a resident of Rhode Island, residing at 108 Boyce Avenue, Pawtucket,
 5             Rhode Island, 02861-2818.
 6          3. I am a subscriber to the United States Postal Service (“USPS”) Informed
 7             Delivery program.
 8          4. USPS Informed Delivery scans the exterior of mail that is going to be
 9             delivered to me soon and emails me a digital preview.
10          5. Since I began to subscribe to Informed Delivery approximately one year
11             ago, the emails regularly displayed images of mail that would be delivered
12             later on the same day I received the email.
13          6. For example, at approximately 7:30 AM I would typically receive an email
14             displaying images of one to eight pieces of mail, and USPS would typically
15             deliver all of those items of mail on the same day.
16          7. Sometime between the beginning and middle of July 2020, I noticed that
17             items appearing in my daily email would frequently not be delivered on
18             that day. Instead, some items of mail would frequently arrive one or two
19             days after they appeared in my email through the Informed Delivery
20             service.
21          8. I began to notice that one or several items from the daily emails would not
22             appear in my mailbox that day, but appear the next day, or even two days
23             later.
24          9. On rare occasions, an item would not be delivered until three days later.


                                                               ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF RANDALL                                        Complex Litigation Division
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                                                                               Page 244 of 342
     Case 1:20-cv-03127-SAB     ECF No. 54-2   filed 09/09/20   PageID.693 Page 245 of 342



 1          10.I began to document the decline in this service, and ran two tests during
 2             “control periods,” where I compared the percentage of items carried over
 3             from one day to the next.
 4          11.The first control period is the period of June 8, 2020 through June 20, 2020.
 5             The second is from August 10, 2020 through August 20, 2020.
 6          12.From June 8, 2020 through June 20, 2020, I was scheduled to receive 34
 7             pieces of mail in total, and 3 pieces did not arrive until the following day.
 8             Thus 9% of my mail was not delivered on the day that it was scanned and
 9             emailed to me.
10          13.From August 10, 2020 through August 20, 2020, I was scheduled to
11             receive 55 pieces of mail. 16 pieces did not arrive until the following day
12             or later. Thus 29% of my mail was not delivered on the day that it was
13             scanned and emailed to me.
14          14.Based upon my experience with the Informed Delivery program, I believe
15             that USPS service has substantially declined since approximately July
16             2020 and resulted in slowed delivery of mail.
17          15.I declare under penalty of perjury under the laws of the State of Rhode
18             Island and the United States that the foregoing is true and correct.
19                         7th day of September
               DATED this ___         ____. 2020, at Pawtucket, Rhode Island.
20

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22                                                         ______________________
23                                                         Randall Rosenbaum

24


                                                                ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF RANDALL                                         Complex Litigation Division
      ROSENBAUM                                                       800 5th Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
                                                                            (206) 464-7744




                                                                                Page 245 of 342
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                         Exhibit 35




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Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.695 Page 247 of 342




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5     Assistant Attorneys General
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6     TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
7     KARL D. SMITH, WSBA #41988
        Deputy Solicitors General
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      Seattle, WA 98104
9     (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF KATHIE
14                          Plaintiffs,            RUMBLEY IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF KATHIE                                        Complex Litigation Division
     RUMBLEY                                                       800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



                                                                           Page 247 of 342
Case 1:20-cv-03127-SAB     ECF No. 54-2    filed 09/09/20   PageID.696 Page 248 of 342




 1          I, Kathie Rumbley, declare as follows:
 2          1.    I am a resident of Parkville, Maryland and have lived in the same
 3    location for 41 years. I worked 30 years and retired from Maryland Public
 4    Television as Special Events Manager, worked as an Administrator for Johns
 5    Hopkins School for Public Health and as Executive Secretary at CareFirst Blue
 6    Cross/Blue Shield.

 7          2.    I am aware that the Postmaster General of the United States has
 8    made policy changes that have affected postal service, and I am further aware
 9    that the State of Maryland and other states have filed this lawsuit challenging
10    those policy changes.
11          3.    We live in Parkville and are experiencing postal service issues. I
12    come from a background of postal letter carriers. My husband retired from the

13    Towson Branch, as did his father. We know how the mail should be delivered
14    and how it’s managed. What we’re experiencing is out of the ordinary.
15          4.    Our family has been enrolled in Informed Delivery from the USPS
16    for many years. We are able to view what mail is scheduled to be delivered each
17    day. Many days we have not received the mail we should until at least three days
18    later or in some instances, never. Some of this mail was important like bills,

19    which I had to call and get re-sent. Since June, we have regularly not received
20    any mail for three days or more. Recently, I was to receive a package that was
21    sent on July 9 from New York. The tracking info showed that it was sitting in
22

                                                              ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF KATHIE                                         Complex Litigation Division
24   RUMBLEY                                                        800 5th Avenue, Suite 2000
                                                                     Seattle, WA 98104-3188
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25
                                                                            Page 248 of 342
26
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 1    the Parkville Post Office for over three weeks Office until it was finally delivered
 2    on July 31.
 3          5.      Most disturbingly, on August 5 I received an Informed Delivery
 4    Notice indicating that I was going to be delivered Official Election Mail, marked
 5    First Class. I did not receive it until August 14.
 6          I declare under penalty of perjury under the laws of the State of

 7    Washington and the United States that the foregoing is true and correct.
 8          DATED this 4th day of September, 2020, at Ocean City, Maryland.
 9
10                                     KATHIE RUMBLEY
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                                                                ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF KATHIE                                           Complex Litigation Division
24   RUMBLEY                                                          800 5th Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
                                                                            (206) 464-7744
25
                                                                              Page 249 of 342
26
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2     NOAH GUZZO PURCELL, WSBA #43492
      Solicitor General
3     NATHAN K. BAYS, WSBA #43025
      KRISTIN BENESKI, WSBA #45478
4     ANDREW R.W. HUGHES, WSBA #49515
      CRISTINA SEPE, WSBA #53609
5     Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
6     TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
7     KARL D. SMITH, WSBA #41988
        Deputy Solicitors General
8     800 Fifth Avenue, Suite 2000
      Seattle, WA 98104
9     (206) 464-7744

10
                          UNITED STATES DISTRICT COURT
11                       EASTERN DISTRICT OF WASHINGTON
                                    AT YAKIMA
12
        STATE OF WASHINGTON, et                         NO. 1:20-cv-03127-SAB
13      al.,
                                                        DECLARATION OF STEVE
14                               Plaintiffs,            SIMON IN SUPPORT OF
                 v.                                     PLAINTIFF STATES’ MOTION
15                                                      FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                        INJUNCTION
16
                                 Defendants.
17

18
      I, Steve Simon, declare as follows:
19
            1.        I am over the age of 18, am competent to testify as to the matters
20
      herein, and make this declaration based on my personal knowledge and on my
21
22
                                                                  ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                                    Complex Litigation Division
     STEVE SIMON                                       1                800 5th Avenue, Suite 2000
                                                                         Seattle, WA 98104-3188
                                                                              (206) 464-7744




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     Case 1:20-cv-03127-SAB    ECF No. 54-2    filed 09/09/20     PageID.700 Page 252 of 342


1     review of data and documents maintained by the Minnesota Office of Secretary of

2     State during the course of everyday business.

3           2.     I am the twenty-second and current Secretary of State of the Plaintiff

4     State of Minnesota. I was elected to this office in 2014 and began my term in office

5     in January 2015.

6           3.     Prior to my election as Secretary of State, I was a member of the

7     Minnesota House of Representatives for ten years, and I chaired the Elections

8     Committee in that body for part of my tenure.

9           4.     Based on my experience as Secretary of State and as a legislator, I am

10    familiar with all of the details of elections, including the mechanics of both

11    absentee and mail balloting as practiced in Minnesota, and have sponsored and

12    successfully enacted legislation regarding these matters, including a statutory

13    change that expanded Minnesotans’ opportunities to use absentee balloting by

14    eliminating the requirement that voters may request an absentee ballot only if they

15    cannot vote in person for one of a specified list of reasons.

16          5.     Minnesota law provides for both absentee balloting and mail

17    balloting. Absentee balloting provides a mechanism for voting without traveling to

18    a polling place on election day. Mail balloting is a separate system that is available

19    as an option to municipalities in particular rural areas as specified by state law.

                                                                ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                          2                      Complex Litigation Division
      STEVE SIMON                                                     800 5th Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
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1     Elections in municipalities choosing the mail balloting option are conducted

2     entirely by mail, with no local polling places available for voters to cast ballots.

3           6.     Absentee and mail voting have always been safe, secure, and efficient

4     processes that have reliably worked in this state. Minnesota is one of the states that

5     instituted absentee balloting for the benefit of soldiers who were away from their

6     state during the Civil War. Absentee balloting has been used in every election

7     conducted in Minnesota since 1862. The separate mail balloting system has been in

8     place since 1987.

9           7.     Minnesota voters use absentee and mail balloting at every election.

10    According to documents that the Secretary of State’s Office maintains in the usual

11    course of business, the usage levels of these procedures in recent Minnesota

12    elections have included the following:

              Election             Absentee Ballots Accepted            Mail Ballots Accepted
            August 2014
                                               27,209                             18,158
         statewide primary
           November 2014
                                              196,266                             37,366
          statewide general
            August 2016
                                               23,050                             18,435
         statewide primary
           November 2016
                                              616,309                             60,160
          statewide general
            August 2018
                                              103,023                             40,952
         statewide primary

                                                                 ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                           3                      Complex Litigation Division
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                                                                        Seattle, WA 98104-3188
                                                                             (206) 464-7744




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     Case 1:20-cv-03127-SAB    ECF No. 54-2    filed 09/09/20   PageID.702 Page 254 of 342


              Election            Absentee Ballots Accepted        Mail Ballots Accepted
           November 2018
                                              561,385                         77,196
          statewide general
       March 2020 presidential
                                              98,952                          46,871
        nominating primary
             August 2020
                                              462,903                         80,244
          statewide primary

1           8.     In addition to Minnesotans’ long history of using absentee and mail

2     ballots to exercise their right to vote, the current COVID-19 health pandemic

3     presents further challenges that may make voting in person more difficult for many

4     voters, particularly those who are at a higher risk of contracting the virus. It is my

5     considered expectation that, in large part as a result, a total of between 1.4 million

6     and 1.5 million absentee and mail ballots will be cast in Minnesota’s

7     November 2020 general election. This estimate is based on the number of persons

8     who, by the time of the August 11, 2020 primary, had already requested absentee

9     ballots for both the primary and the general election or will be voting with mail

10    ballots. Moreover, turnout increases substantially in Minnesota in presidential

11    elections, and Minnesota frequently leads the nation in the percentage of voters

12    participating in the presidential election. For example, 74.72 percent of the state’s

13    voting-age population participated in the 2016 presidential election.

14          9.     1,340 of Minnesota’s 4,110 precincts will use mail balloting in the

15    2020 statewide general election. These precincts currently have a total of 217,056
                                                          ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                        4                   Complex Litigation Division
      STEVE SIMON                                               800 5th Avenue, Suite 2000
                                                                 Seattle, WA 98104-3188
                                                                      (206) 464-7744




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     Case 1:20-cv-03127-SAB    ECF No. 54-2    filed 09/09/20     PageID.703 Page 255 of 342


1     registered voters. There were 80,244 votes cast in these precincts in the August

2     primary, all of them by mail. It is likely that there will be substantially more votes

3     cast in the same precincts this November for the reasons discussed above.

4            10.   In addition to mail and standard absentee ballots, in each general

5     election thousands of Minnesota voters use overseas and military absentee

6     balloting, which follows a slightly different process but still relies on the United

7     States Mail for delivery to election officials. For example, in the November 2016

8     general election, 11,594 of the 616,309 absentee ballots that Minnesota election

9     officials accepted and counted were submitted via the overseas and military

10    absentee balloting process.

11           11.   For the vast majority of Minnesotans casting a ballot via either

12    absentee balloting or mail balloting, using these procedures requires relying on the

13    United States Postal Service to transmit a ballot. Unlike other states, Minnesota has

14    no statutory infrastructure regarding drop boxes, which reduces options for

15    mitigating postal delays for state residents seeking to return completed absentee

16    ballots.

17           12.   Within Minnesota’s borders are eleven federally recognized Native

18    American tribal communities, many of whose members reside on reservations

19    where reliable mail service has long been a challenge. On those reservations, more

                                                                ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                          5                      Complex Litigation Division
      STEVE SIMON                                                     800 5th Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
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                                                                                  Page 255 of 342
     Case 1:20-cv-03127-SAB    ECF No. 54-2    filed 09/09/20     PageID.704 Page 256 of 342


 1    than 30 percent of Native people live in poverty, a problem that has only been

 2    exacerbated by the COVID-19 pandemic. This poverty is frequently accompanied

 3    by health problems that increase the risk of death or severe illness from exposure

 4    to the coronavirus. Registered voters on reservations are fewer, with greater

 5    distances between them, and voters often lack access to transportation and the

 6    internet. All of these facts make Native American voters who live on reservations

 7    even more dependent on reliable mail service to submit ballots than are voters in

 8    other areas.

 9          13.      For all of these reasons, changes to USPS procedure and machinery

10    that result in delays to the delivery of U.S. Mail risk broad and serious injury to the

11    voting rights of more than a million Minnesota voters. A large portion of the

12    Minnesota electorate could be disenfranchised by a substantial slow-down in mail

13    delivery during the fall of 2020.


14          I declare under penalty of perjury under the laws of the States of Washington

15    and Minnesota and the United Sates that the foregoing is true and correct.


16    Dated: August 18, 2020
                                                    STEVE SIMON
17

18


                                                                ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                          6                      Complex Litigation Division
      STEVE SIMON                                                     800 5th Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
                                                                            (206) 464-7744




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                         Exhibit 37




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      KRISTIN BENESKI, WSBA #45478
 4    ANDREW R.W. HUGHES, WSBA #49515
      CRISTINA SEPE, WSBA #53609
 5      Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
 6    TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
 7    KARL D. SMITH, WSBA #41988
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10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF WADE
14                          Plaintiffs,            STEMBRIDGE IN SUPPORT
              v.                                   OF PLAINTIFF STATES’
15                                                 MOTION FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF WADE                       1                  Complex Litigation Division
     STEMBRIDGE                                                    800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



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Case 1:20-cv-03127-SAB     ECF No. 54-2    filed 09/09/20   PageID.707 Page 259 of 342




1           I, Wade Stembridge, declare as follows:

2           1.    I am over the age of 18, am competent to testify as to the matters

3     described, and make this declaration based on my personal knowledge.

4           2.    I have run a small gourmet chocolate business, Coco Gusto

5     Chocolates, in Denver, Colorado, for the last three years. Coco Gusto specializes

6     in high-quality, hand-painted chocolates. More information about the chocolates

7     and the business can be seen at coco-gusto.com.

8           3.    About 80 percent of my orders are sent out-of-state.

9           4.    I usually use the United States Postal Service to ship my orders

10    because it is the most economical option.

11          5.    I began noticing delays to my shipments beginning in mid-May.

12          6.    Before these delays, I typically did not have any problems shipping

13    chocolate in the summer.

14          7.    My shipments to out-of-state customers generally used to arrive in

15    1-3 days when sent by Regular Priority Mail.

16          8.    Recently, shipments to out-of-state customers generally take 3-6

17    days when sent by Regular Priority Mail.

18          9.    As a result of this delay, my chocolates often arrive melted, ruining

19    my chocolates.

20          10.   To keep my customers satisfied and ensure that my chocolates meet

21    the standards of my business, I have had to resend orders using Priority Express

22

                                                              ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF WADE                          2                Complex Litigation Division
     STEMBRIDGE                                                     800 5th Avenue, Suite 2000
                                                                     Seattle, WA 98104-3188
                                                                          (206) 464-7744



                                                                            Page 259 of 342
Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20   PageID.708 Page 260 of 342




1     Mail. Resending orders requires me to remake the chocolates and pay a $40-$50

2     fee for Priority Express Mail.

3           11.    One replacement order that I sent to San Francisco via Priority

4     Express Mail took 6 days to arrive.

5           12.    These delays have changed how I conduct my business. I have

6     stopped advertising for out-of-state orders on social media because I am

7     concerned that these orders will arrive melted. I believe I have lost sales because

8     of this reduction in advertising. I have had to purchase bigger icepacks to keep

9     the chocolates from melting when I ship them in the mail. I used to ship orders

10    every day of the week but now I only ship orders on Monday to give them the

11    best chance of arriving by Friday or Saturday.

12          I declare under penalty of perjury that the foregoing is true and correct.

13          DATED this 30th day of August, 2020, at Denver, Colorado.

14

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16                                     WADE STEMBRIDGE
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                                                                ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF WADE                         3                   Complex Litigation Division
     STEMBRIDGE                                                       800 5th Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
                                                                            (206) 464-7744



                                                                              Page 260 of 342
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                         Exhibit 38




                                                                     Page 261 of 342
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 2    NOAH GUZZO PURCELL, WSBA #43492
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 4    ANDREW R.W. HUGHES, WSBA #49515
      CRISTINA SEPE, WSBA #53609
 5    Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
 6    TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
 7    KARL D. SMITH, WSBA #41988
        Deputy Solicitors General
 8    800 Fifth Avenue, Suite 2000
      Seattle, WA 98104
 9    (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF ELICE
14                          Plaintiffs,            STURDIVANT IN SUPPORT
              v.                                   OF PLAINTIFF STATES’
15                                                 MOTION FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF ELICE                                         Complex Litigation Division
     STURDIVANT                                                    800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



                                                                          Page 262 of 342
Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20   PageID.711 Page 263 of 342




1           I, Elice Sturdivant, declare as follows:

2           1.    I am over the age of 18, am competent to testify as to the matters

3     herein, and make this declaration based on my personal knowledge.

4           2.    I am a resident of the state of Maryland, having lived in Baltimore

5     City for sixteen years. I am employed as an attorney at a law firm in Baltimore

6     County.

7           3.    I am aware that the Postmaster General of the United States has

8     made policy changes that have affected postal service, and I am further aware

9     that the State of Maryland and other states have filed this lawsuit challenging

10    those policy changes.

11          4.    I take a medication daily for a thyroid disease, and I rely on the

12    USPS to deliver that medication to me through the mail. Normally it takes 2 to

13    3 days to get my medications. My last refill took over 30 days to get to me,

14    meaning that I was out of my needed medication for several weeks. I also had to

15    go back to my doctor and ask for a new prescription, which my insurance would

16    not pay for since they had already paid for the medication the first time. This

17    delay has caused me to experience illness and fatigue, which I am still fighting

18    as I build up the medication in my system. Without my medication, it is difficult

19    to work and complete the daily tasks needed to function. As an essential

20    employee, it is not acceptable to call out or have a bad day. If I don’t have

21    dependable access to the mail, I will have to expose myself and my family to an

22

                                                               ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF ELICE                                           Complex Litigation Division
     STURDIVANT                                                      800 5th Avenue, Suite 2000
                                                                      Seattle, WA 98104-3188
                                                                           (206) 464-7744



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Case 1:20-cv-03127-SAB     ECF No. 54-2    filed 09/09/20   PageID.712 Page 264 of 342




 1    unnecessary risk of infection to pick up my medication in person or wait and hope

 2    for the best with the mail.

 3          I declare under penalty of perjury that the foregoing is true and correct.

 4          DATED this 20 day of August, 2020, at Baltimore, Maryland.

 5

 6                                    ELICE STURDIVANT, ESQ.
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                                                               ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF ELICE                                           Complex Litigation Division
     STURDIVANT                                                      800 5th Avenue, Suite 2000
                                                                      Seattle, WA 98104-3188
                                                                           (206) 464-7744



                                                                             Page 264 of 342
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                         Exhibit 39




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Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.714 Page 266 of 342




1     ROBERT W. FERGUSON
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2     NOAH GUZZO PURCELL, WSBA #43492
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5     Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
6     TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
7     KARL D. SMITH, WSBA #41988
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8     800 Fifth Avenue, Suite 2000
      Seattle, WA 98104
9     (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF LYNNE
14                          Plaintiffs,            THOMAS IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                               Complex Litigation Division
     LYNNE THOMAS                                                  800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.715 Page 267 of 342




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                                                                     Page 268 of 342
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                         Exhibit 40




                                                                     Page 271 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2      filed 09/09/20   PageID.720 Page 272 of 342




 1   ROBERT W. FERGUSON
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 2   NOAH GUZZO PURCELL, WSBA #43492
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     KRISTIN BENESKI, WSBA #45478
 4   ANDREW R.W. HUGHES, WSBA #49515
     CRISTINA SEPE, WSBA #53609
 5   Assistant Attorneys General
     EMMA GRUNBERG, WSBA #54659
 6   TERA M. HEINTZ, WSBA #54921
       (application for admission forthcoming)
 7   KARL D. SMITH, WSBA #41988
     Deputy Solicitors General
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     Seattle, WA 98104
 9   (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
     STATE OF WASHINGTON, et al.,               NO. 1:20-cv-03127-SAB
13
                             Plaintiffs,        DECLARATION OF ROBIN
14         v.                                   THOMAS IN SUPPORT OF
                                                PLAINTIFF STATES’ MOTION
15   DONALD J. TRUMP, et al.,                   FOR PRELIMINARY INJUNCTION

16                           Defendants.

17
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     DECLARATION OF                            1              ATTORNEY GENERAL OF WASHINGTON
                                                                   Complex Litigation Division
     ROBIN THOMAS                                                   800 5th Avenue, Suite 2000
                                                                     Seattle, WA 98104-3188
     NO. 1:20-CV-03127-SAB                                                (206) 464-7744



                                                                            Page 272 of 342
Case 1:20-cv-03127-SAB      ECF No. 54-2    filed 09/09/20   PageID.721 Page 273 of 342




 1          I, Robin Thomas, declare as follows:

 2          1.      I am over the age of 18, am competent to testify as to the matters

 3    herein, and make this declaration based on my personal knowledge.

 4          2.      I am a long-time resident of Bellingham, Washington, and a long-

 5    time voter. I have voted in various elections for over thirty-five years.

 6          3.      I am currently in Maine and received my ballot on or around August

 7    1, 2020. I mailed back my completed ballot on August 3rd with the understanding

 8    that my vote would still count because, in Washington, ballots that are

 9    postmarked on or before election day and received before certification are

10    counted.

11          4.      Because I am currently in Maine, I was not able to drop off my ballot

12    at a ballot drop-off box. But I trusted that the Postal Service would postmark and

13    deliver my ballot in a timely and consistent way.

14          5.      I was very disheartened to learn that my ballot for Washington’s

15    August 4, 2020 primary was rejected because it was incorrectly postmarked. It

16    also reached my County Auditor well outside of the service standard set for First

17    Class Mail.

18          6.      After mailing my ballot, I read news reports that more than 1,000

19    ballots in the August 4 primary were rejected by Whatcom County elections

20    officials because they were postmarked too late or the signature on the ballot did

21    not match the signature on voter registration forms.

22

     DECLARATION OF                              2              ATTORNEY GENERAL OF WASHINGTON
                                                                     Complex Litigation Division
     ROBIN THOMAS                                                     800 5th Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
     NO. 1:20-CV-03127-SAB                                                  (206) 464-7744



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Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20   PageID.722 Page 274 of 342




 1          7.     These news reports prompted me to look up and track my ballot. I

 2    saw, through the ballot tracking option on the Secretary of State’s website, that

 3    the status of my ballot was “TOO LATE.” The website further listed August 12

 4    as the ballot returned date. This means it took nine days for my ballot to arrive.

 5          8.     On August 20, I sent an email to my County Auditor, Diana

 6    Bradrick, to express my deep disappointment in my vote not being counted and

 7    my concern about mail delays that would affect the times of how ballots are

 8    processed and delivered.

 9          9.     The County Auditor responded by email and attached a scanned

10    copy of my ballot envelope. The scan showed that my ballot was not postmarked

11    in Maine; it was not postmarked until it reached Bellingham, WA on August 10,

12    2020. Attached as Exhibit A is a copy of the scanned ballot envelope.

13          10.    The County Auditor also confirmed that if my ballot was

14    postmarked on or before August 4 and received the day before county canvassing

15    boards certify and transmit results of the August Primary, then my ballot would

16    have been processed.

17          11.    My ballot should have been, but was not, postmarked when I mailed

18    it on August 3rd.

19          12.    I am also concerned that the service was exceptionally slow. It took

20    nine days for the Postal Service to deliver my ballot to the County Auditor. I

21    understand that the delivery standard for First Class Mail is 1-3 business days,

22

     DECLARATION OF                              3              ATTORNEY GENERAL OF WASHINGTON
                                                                     Complex Litigation Division
     ROBIN THOMAS                                                     800 5th Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
     NO. 1:20-CV-03127-SAB                                                  (206) 464-7744



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Case 1:20-cv-03127-SAB     ECF No. 54-2    filed 09/09/20   PageID.723 Page 275 of 342




 1    and my experience for mail between Washington State and Maine been about

 2    four days.

 3          I declare under penalty of perjury under the laws of the United States that

 4    the foregoing is true and correct.

 5
 6          DATED this __ day of September, 2020, at _____________, __________.

 7

 8                                     Robin Thomas
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     DECLARATION OF                            4              ATTORNEY GENERAL OF WASHINGTON
                                                                   Complex Litigation Division
     ROBIN THOMAS                                                   800 5th Avenue, Suite 2000
                                                                     Seattle, WA 98104-3188
     NO. 1:20-CV-03127-SAB                                                (206) 464-7744



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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.724 Page 276 of 342




                         R. Thomas Declaration
                                  Exhibit A




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                         Exhibit 41




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 1    ROBERT W. FERGUSON
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 2    NOAH GUZZO PURCELL, WSBA #43492
      Solicitor General
 3    NATHAN K. BAYS, WSBA #43025
      KRISTIN BENESKI, WSBA #45478
 4    ANDREW R.W. HUGHES, WSBA #49515
      CRISTINA SEPE, WSBA #53609
 5    Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
 6    TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
 7    KARL D. SMITH, WSBA #41988
        Deputy Solicitors General
 8    800 Fifth Avenue, Suite 2000
      Seattle, WA 98104
 9    (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF NICOLE
14                          Plaintiffs,            TOUSIGNANT IN SUPPORT
              v.                                   OF PLAINTIFF STATES’
15                                                 MOTION FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF NICOLE                                        Complex Litigation Division
     TOUSIGNANT                                                    800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
     NO. 1:20-CV-03127-SAB                                               (206) 464-7744




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.728 Page 280 of 342




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                         Exhibit 42




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.731 Page 283 of 342




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     CRISTINA SEPE, WSBA #53609
 5   Assistant Attorneys General
     EMMA GRUNBERG, WSBA #54659
 6   TERA M. HEINTZ, WSBA #54921
       (application for admission forthcoming)
 7   KARL D. SMITH, WSBA #41988
     Deputy Solicitors General
 8   800 Fifth Avenue, Suite 2000
     Seattle, WA 98104
 9   (206) 464-7744

10
                     UNITED STATES DISTRICT COURT
11                  EASTERN DISTRICT OF WASHINGTON
                               AT YAKIMA
12
     STATE OF WASHINGTON, et al.,            NO. 1:20-cv-03127-SAB
13
                          Plaintiffs,        DECLARATION OF MYNOR
14         v.                                URIZAR-HUNTER IN SUPPORT
                                             OF PLAINTIFF STATES’ MOTION
15   DONALD J. TRUMP, et al.,                FOR PRELIMINARY INJUNCTION

16                        Defendants.

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                                                           ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                         1                   Complex Litigation Division
     MYNOR URIZAR-HUNTER                                         800 5th Avenue, Suite 2000
                                                                  Seattle, WA 98104-3188
     NO. 1:20-CV-03127-SAB                                             (206) 464-7744



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Case 1:20-cv-03127-SAB     ECF No. 54-2    filed 09/09/20   PageID.732 Page 284 of 342




 1          I, Mynor Urizar-Hunter, declare as follows:

 2          1.    I am over the age of 18, am competent to testify as to the matters

 3    herein, and make this declaration based on my personal knowledge.

 4          2.    I am an Information Technology Consultant. I have a degree in

 5    Economics from UC Berkeley.

 6          3.    I am one of the co-creators of https://uspsimpact2020.com/, a

 7    website that presents visual data on sorting machines slated for removal by the

 8    Postal Service. The website shows visual data and charts of sorting machine

 9    removal by state and county and includes the political preferences of voters by

10    state and county.

11          4.    We created this website on or around August 24, 2020, following

12    news reports of postal delays and operational changes at the Postal Service. We

13    wanted to provide the data visualization so that voters could see trends and

14    patterns within their communities. The website also directs people to other

15    resources on voting, such as information on voting prepared by the National

16    Association of Secretaries of State and mail-in voting deadlines compiled by

17    Vote.org.

18          5.    We used sorting machine data that was created by the Postal Service

19    and obtained by The Washington Post. This sorting machine data was attached as

20    spreadsheets to a June 17, 2020 letter from the Postal Service to American Postal

21    Workers Union. The data identifies over 600 sorting machines—including

22

                                                              ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                             2                  Complex Litigation Division
     MYNOR URIZAR-HUNTER                                            800 5th Avenue, Suite 2000
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Case 1:20-cv-03127-SAB       ECF No. 54-2    filed 09/09/20    PageID.733 Page 285 of 342




 1    Advanced Facer Canceler Systems, Delivery Bar Code Sorters, and Automated

 2    Flat Sorting Machine 100s, and Flat Sequencing Systems—scheduled for

 3    removal between June 13 and September 30. The spreadsheets also identify the

 4    region, area, and processing & distribution center for each sorting machine

 5    scheduled for removal. A copy of the spreadsheets can be found at:

 6    https://www.21cpw.com/wp-content/uploads/2020/06/mail-processing-

 7    equipment-reduction_6-17-2020.pdf.

 8          6.     The sorting machines identified for removal are scattered across 49

 9    states, the District of Columbia, and Puerto Rico. Alaska is the only state with no

10    machines slated for removal. According to this sorting machine data, over 90%

11    of the machines were to be disconnected by August 1.

12          7.     My co-creators and I used the sorting machine data to map where

13    sorting machines were removed or are scheduled for removal across the country

14    by state and county.

15          8.     We then added information regarding major party preferences (i.e.,

16    Democrat or Republican) to see if there was a partisan difference in where sorting

17    machines were removed. We used data gathered by the N.Y. Times in reporting

18    the   2016   election    results.   This   information    can    be     accessed      at:

19    https://www.nytimes.com/elections/2016/results/president.

20          9.     Using a data visualization tool, we are able to depict where sorting

21    machines have been or are slated for removal.

22

                                                                 ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                              3                    Complex Litigation Division
     MYNOR URIZAR-HUNTER                                               800 5th Avenue, Suite 2000
                                                                        Seattle, WA 98104-3188
     NO. 1:20-CV-03127-SAB                                                   (206) 464-7744



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Case 1:20-cv-03127-SAB            ECF No. 54-2       filed 09/09/20   PageID.734 Page 286 of 342




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13           10.       Based on the USPS data, 184 counties have had or will have sorting

14    machines removed. Hillary Clinton won the majority vote in 124 (67%) of these

15    counties. Donald Trump won the majority vote in 60 (33%) of these counties.

16           11.       We identified 662 sorting machines slated for removal in the USPS

17    data, with 516 (78%) located in counties where Clinton won the majority vote

18    and 146 (22%) located in counties where Trump won the majority vote.

19                    Number of      Percentage of    Number of Sorting       Percentage of Sorting
                      Counties       Counties         Machines Removed        Machines Removed
20
      Clinton 2016         124            67%                  516                       78%
21    Trump 2016           60             33%                  146                       22%
              Total        184                                 662
22

                                                                          ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                      4                     Complex Litigation Division
     MYNOR URIZAR-HUNTER                                                        800 5th Avenue, Suite 2000
                                                                                 Seattle, WA 98104-3188
     NO. 1:20-CV-03127-SAB                                                            (206) 464-7744



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 1          12.    The following chart lists the state breakdown of sorting machine

 2    removals based on the results of the 2016 presidential election:
                      State Breakdown based on 2016 Presidential Election Results
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                                                                     ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                 5                     Complex Litigation Division
     MYNOR URIZAR-HUNTER                                                   800 5th Avenue, Suite 2000
                                                                            Seattle, WA 98104-3188
     NO. 1:20-CV-03127-SAB                                                       (206) 464-7744



                                                                                    Page 287 of 342
Case 1:20-cv-03127-SAB     ECF No. 54-2    filed 09/09/20   PageID.736 Page 288 of 342




 1          13.   The following maps and charts provide the state and county

 2    breakdown of sorting machine removals for the Plaintiff States in this lawsuit

 3                                        Colorado

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12                                     Connecticut

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                                                              ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                            6                   Complex Litigation Division
     MYNOR URIZAR-HUNTER                                            800 5th Avenue, Suite 2000
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     NO. 1:20-CV-03127-SAB                                                (206) 464-7744



                                                                            Page 288 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2    filed 09/09/20   PageID.737 Page 289 of 342




 1                                       Illinois

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                                        Maryland
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                                                             ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                          7                   Complex Litigation Division
      MYNOR URIZAR-HUNTER                                          800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
      NO. 1:20-CV-03127-SAB                                              (206) 464-7744



                                                                          Page 289 of 342
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 1                                      Michigan

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                                  *Note: The blue-striped shaded county (Kent County)
13                                        flipped blue for the 2018 gubernatorial race.


14
                                        Minnesota
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                                                                ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                          8                      Complex Litigation Division
      MYNOR URIZAR-HUNTER                                             800 5th Avenue, Suite 2000
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      NO. 1:20-CV-03127-SAB                                                 (206) 464-7744



                                                                             Page 290 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.739 Page 291 of 342




 1                                      Nevada

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                                    New Mexico
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                                                            ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                         9                   Complex Litigation Division
      MYNOR URIZAR-HUNTER                                         800 5th Avenue, Suite 2000
                                                                   Seattle, WA 98104-3188
      NO. 1:20-CV-03127-SAB                                             (206) 464-7744



                                                                         Page 291 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.740 Page 292 of 342




 1                                      Oregon

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12                                  Rhode Island

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                                                            ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                         10                  Complex Litigation Division
      MYNOR URIZAR-HUNTER                                         800 5th Avenue, Suite 2000
                                                                   Seattle, WA 98104-3188
      NO. 1:20-CV-03127-SAB                                             (206) 464-7744



                                                                         Page 292 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20      PageID.741 Page 293 of 342




 1                                      Virginia

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11                                      Vermont
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                                *Note: The red-striped shaded county (Windsor County)
18                                          flipped red for the 2018 gubernatorial race.

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                                                                 ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                           11                     Complex Litigation Division
      MYNOR URIZAR-HUNTER                                              800 5th Avenue, Suite 2000
                                                                        Seattle, WA 98104-3188
      NO. 1:20-CV-03127-SAB                                                  (206) 464-7744



                                                                              Page 293 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2    filed 09/09/20   PageID.742 Page 294 of 342




 1                                  Washington

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                                        Wisconsin
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                                                             ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                          12                  Complex Litigation Division
      MYNOR URIZAR-HUNTER                                          800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
      NO. 1:20-CV-03127-SAB                                              (206) 464-7744



                                                                          Page 294 of 342
Case 1:20-cv-03127-SAB     ECF No. 54-2    filed 09/09/20   PageID.743 Page 295 of 342




 1          14.    The visuals and information provided in this declaration can also be

 2    accessed at: https://uspsimpact2020.com/.

 3          I declare under penalty of perjury under the laws of the United States that

 4    the foregoing is true and correct.

 5
                         8th                                 Los Angeles, Ca
 6          DATED this _____ day of September, 2020, at _____________________.
                            date                            City, State
 7

 8
                                       Mynor Urizar-Hunter
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                                                               ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                            13                   Complex Litigation Division
     MYNOR URIZAR-HUNTER                                             800 5th Avenue, Suite 2000
                                                                      Seattle, WA 98104-3188
     NO. 1:20-CV-03127-SAB                                                 (206) 464-7744



                                                                             Page 295 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.744 Page 296 of 342




                         Exhibit 43




                                                                     Page 296 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.745 Page 297 of 342




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5     Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
6     TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
7     KARL D. SMITH, WSBA #41988
        Deputy Solicitors General
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      Seattle, WA 98104
9     (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF AMANDA
14                          Plaintiffs,            WHITE IN IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF AMANDA                                        Complex Litigation Division
     WHITE                                                         800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



                                                                           Page 297 of 342
Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20   PageID.746 Page 298 of 342




1           I, Amanda White, declare as follows:

2           1.    I am over the age of 18, am competent to testify as to the matters

3     described, and make this declaration based on my personal knowledge.

4           2.    I suffer from Lyme disease and receive medication by mail to treat

5     it.

6           3.    Living in a rural area, I have to allow extra time for packages to

7     arrive. But in the past, I have found that if my medication is shipped on a

8     Monday, it will arrive by Friday the same week.

9           4.    The week of August 10th, my medicine was shipped on a Monday

10    and was supposed to arrive on a Friday, but I did not receive it until the

11    following Monday.

12          5.    As a result of this delay, I was forced to go three days without

13    medication, which delayed my treatment plan and caused me concern.

14          I declare under penalty of perjury that the foregoing is true and correct.

15
            DATED this _8th___ day of September, 2020, at Telluride, Colorado.
16

17                                    Amanda White
                                      Amanda White
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                                                              ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF AMANDA                                         Complex Litigation Division
     WHITE                                                          800 5th Avenue, Suite 2000
                                                                     Seattle, WA 98104-3188
                                                                          (206) 464-7744



                                                                             Page 298 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.747 Page 299 of 342




                         Exhibit 44




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Case 1:20-cv-03127-SAB   ECF No. 54-2      filed 09/09/20   PageID.748 Page 300 of 342




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 2    NOAH GUZZO PURCELL, WSBA #43492
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      KRISTIN BENESKI, WSBA #45478
 4    ANDREW R.W. HUGHES, WSBA #49515
      CRISTINA SEPE, WSBA #53609
 5    Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
 6    TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
 7    KARL D. SMITH, WSBA #41988
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 8    800 Fifth Avenue, Suite 2000
      Seattle, WA 98104
 9    (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                      NO. 1:20-cv-03127-SAB
13      al.,
                                                     DECLARATION OF
14                           Plaintiffs,             MARGARET WHITNEY IN
              v.                                     SUPPORT OF PLAINTIFF
15                                                   STATES’ MOTION FOR
        DONALD J. TRUMP, et al.,                     PRELIMINARY INJUNCTION
16
                             Defendants.
17

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                                                               ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF                                                Complex Litigation Division
      MARGARET WHITNEY                                               800 5th Avenue, Suite 2000
                                                                      Seattle, WA 98104-3188
                                                                           (206) 464-7744



                                                                            Page 300 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.749 Page 301 of 342




                                                                     Page 301 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.750 Page 302 of 342




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.751 Page 303 of 342




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.752 Page 304 of 342




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                         Exhibit 45




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Case 1:20-cv-03127-SAB   ECF No. 54-2      filed 09/09/20   PageID.754 Page 306 of 342




 1    ROBERT W. FERGUSON
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 2    NOAH GUZZO PURCELL, WSBA #43492
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 4    ANDREW R.W. HUGHES, WSBA #49515
      CRISTINA SEPE, WSBA #53609
 5    Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
 6    TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
 7    KARL D. SMITH, WSBA #41988
        Deputy Solicitors General
 8    800 Fifth Avenue, Suite 2000
      Seattle, WA 98104
 9    (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                      NO. 1:20-cv-03127-SAB
13      al.,
                                                     SECOND DECLARATION OF
14                           Plaintiffs,             MARGARET WHITNEY IN
              v.                                     SUPPORT OF PLAINTIFF
15                                                   STATES’ MOTION FOR
        DONALD J. TRUMP, et al.,                     PRELIMINARY INJUNCTION
16
                             Defendants.
17

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                                                               ATTORNEY GENERAL OF WASHINGTON
      SECOND DECLARATION OF                                         Complex Litigation Division
      MARGARET WHITNEY                                               800 5th Avenue, Suite 2000
                                                                      Seattle, WA 98104-3188
                                                                           (206) 464-7744



                                                                            Page 306 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.755 Page 307 of 342




                                                                     Page 307 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.756 Page 308 of 342




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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.757 Page 309 of 342




                         Exhibit 46




                                                                     Page 309 of 342
Case 1:20-cv-03127-SAB   ECF No. 54-2     filed 09/09/20   PageID.758 Page 310 of 342




1     ROBERT W. FERGUSON
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2     NOAH GUZZO PURCELL, WSBA #43492
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3     NATHAN K. BAYS, WSBA #43025
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4     ANDREW R.W. HUGHES, WSBA #49515
      CRISTINA SEPE, WSBA #53609
5       Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
6     TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
7     KARL D. SMITH, WSBA #41988
        Deputy Solicitors General
8     800 Fifth Avenue, Suite 2000
      Seattle, WA 98104
9     (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF ZOË
14                          Plaintiffs,            WILLIAMS IN SUPPORT OF
              v.                                   PLAINTIFF STATES’ MOTION
15                                                 FOR TEMPORARY
        DONALD J. TRUMP, et al.,                   RESTRAINING ORDER
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF ZOË                       1                   Complex Litigation Division
     WILLIAMS                                                      800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



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Case 1:20-cv-03127-SAB     ECF No. 54-2     filed 09/09/20    PageID.759 Page 311 of 342




1           I, Zoë Williams, declare as follows:

2           1.     I am over the age of 18, am competent to testify as to the matters

3     described, and make this declaration based on my personal knowledge.

4           2.     I am a nonprofit consultant in Denver, Colorado.

5           3.     I am an independent contractor.

6           4.     My clients pay me by check.

7           5.     Recently, a client recently mailed me a check for three months of

8     work. Despite being mailed from a Denver address, the check took about two

9     weeks to arrive.

10          6.     I had not previously experienced such delays.

11          7.     I followed up with the client, and they confirmed that they had

12    mailed the check on time.

13          8.     Because of the delay in receiving the check, I was not able to pay a

14    bill that was due.

15          9.     The bill was sent to collections, and I received a notice that my credit

16    score had changed.

17          10.    Because the check was delayed, I was worried about being able to

18    purchase groceries for my four children.

19          11.    I ran out of money before the check arrived and was required to pay

20    an overdraft fee to buy groceries.

21          I declare under penalty of perjury that the foregoing is true and correct.

22

                                                                 ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF ZOË                          2                    Complex Litigation Division
     WILLIAMS                                                          800 5th Avenue, Suite 2000
                                                                        Seattle, WA 98104-3188
                                                                             (206) 464-7744



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Case 1:20-cv-03127-SAB   ECF No. 54-2   filed 09/09/20   PageID.760 Page 312 of 342




 1          DATED this 2nd day of September, 2020, at Denver, Colorado.

 2                                 S/Zoë Williams

 3                                 Zoë Williams
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                                                            ATTORNEY GENERAL OF WASHINGTON
      DECLARATION OF ZOË                     3                   Complex Litigation Division
      WILLIAMS                                                    800 5th Avenue, Suite 2000
                                                                   Seattle, WA 98104-3188
                                                                        (206) 464-7744



                                                                         Page 312 of 342
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                         Exhibit 47




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      Solicitor General
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      KRISTIN BENESKI, WSBA #45478
4     ANDREW R.W. HUGHES, WSBA #49515
      CRISTINA SEPE, WSBA #53609
5     Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
6     TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
7     KARL D. SMITH, WSBA #41988
        Deputy Solicitors General
8     800 Fifth Avenue, Suite 2000
      Seattle, WA 98104
9     (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF
14                           Plaintiffs,           CHRISTOPHER WINTERS
              v.                                   IN SUPPORT OF PLAINTIFF
15                                                 STATES’ MOTION FOR
        DONALD J. TRUMP, et al.,                   PRELIMINARY INJUNCTION
16
                             Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF                                               Complex Litigation Division
     CHRISTOPHER WINTERS                                           800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
     NO. 1:20-cv-03127-SAB                                               (206) 464-7744




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 1                        UNITED STATES DISTRICT COURT
 2                  EASTERN DISTRICT OF WASHINGTON AT YAKIMA
 3
 4   STATE OF WASHINGTON, et al.,   ) No. 20-03127-SAB
 5   Plaintiffs                     )
 6                                  )
 7   v.                             )
 8   DONALD J. TRUMP, et al.,       )
 9   Defendants                     )
10   _______________________________)
11

12                           Declaration of Christopher Winters
13                           Vermont Deputy Secretary of State
14

15   I, Christopher Winters, pursuant to 28 U.S.C. § 1746, hereby declare that the following is

16   true and correct:

17   1.   I am the Deputy Secretary of State for the State of Vermont. I have been employed

18   by the Secretary of State’s Office for more than 23 years, the last five as Deputy

19   Secretary, appointed by Secretary of State Jim Condos.

20   2.   As Deputy Secretary of State, I oversee and have responsibility for the operations

21   of the four divisions of the Secretary of State’s Office. This includes the Elections

22   Division, and I have direct knowledge of its functions and operations. The Elections

23   Division of the Vermont Secretary of State’s Office has responsibility for guiding and

24   administering Vermont’s local, state, and federal elections. The Elections Division

25   provides oversight and guidance on election law, provides supplies that are fundamental

26   to carrying out elections, and is a resource before and on election day to help election

27   officials with any emergencies or routine questions that may arise.




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 1   3.      In Vermont, voters have been able to vote by mail (no-excuse absentee voting)

 2   since 2001. Vermonters also have the ability to vote early at their town clerk’s office

 3   during regular hours for 45 days prior to the election. Ballots must be received in the

 4   town clerk’s office before the close of business on the Monday before Election Day, or

 5   ballots may be delivered to the polls on Election Day before the polls close at 7:00 p.m. 1


 6   4.      On July 2, 2020, Act 135 became law.               This legislation, along with previously
 7   enacted Act 92, authorized the Vermont Secretary of State to order or permit, as

 8   applicable, appropriate elections procedures for the purpose of protecting the health,

 9   safety, and welfare of voters, elections workers, and candidates in carrying out elections,

10   including expanding mail voting by sending ballots by mail to all registered voters.

11   5.      The Vermont Secretary of State has exercised his authority under Act 135.                    In a

12   directive issued by the Secretary of State on July 20, 2020, it was announced that the

13   Vermont Secretary of State will send ballots to all registered voters via first-class mail

14   (paid at the first-class rate) for the General Election in 2020. The State of Vermont will

15   also include prepaid envelopes, postage first class for the return ballots.

16   6.      Under Vermont’s current election law, ballots returned by mail must be received

17   by the clerk no later than 7:00 p.m. on Election Day, regardless of when the ballot is

18   postmarked. 2

19   7.      Voting by mail is especially beneficial for Vermonters who are homebound, such

20   as the elderly and members of the disabled community; those who are economically

21   disadvantaged and have limited access to transportation and childcare that would enable

22   them to vote in person during a set timeframe; overseas and military voters; those who


     1
       . There is an exception for ballots that have been mailed to the town clerk. To be counted, they must
     arrive before 7:00 p.m. on election day. 17 V.S.A. § 2453(d)(1)(B).
     2
       . 17 V.S.A. § 2453(d)((1)(B).


                                                                                             Page 316 of 342
Case 1:20-cv-03127-SAB       ECF No. 54-2       filed 09/09/20    PageID.765 Page 317 of 342




 1   are temporarily away from home for work or family reasons; and those who may not have

 2   time to get to the polls during set hours, such as shift workers, caregivers, single parents,

 3   and those without childcare or time off from work.

 4   8.       In the 2020 election, there is another category of Vermonters who would be

 5   disproportionately affected by the need to vote in person: older voters and those with

 6   compromised immune systems who are particularly susceptible to harm from COVID-19.

 7   This category also includes voters who live with or care for a vulnerable household

 8   member or relative, and who fear that voting in person may expose them to the virus,

 9   which they may then spread to more vulnerable individuals.

10   9.       The COVID-19 pandemic has led to a massive increase in voting by mail. More

11   voters requested absentee ballots for the 2020 primary election than the number of

12   Vermonters who actually voted in the last two primaries, as reflected in the following

13   chart:

14
                   Statewide        Total Ballots Voted      Early/Absentee Ballots Voted
                 Primary Year                                        (% of total)
                     2016                  107,000                  17,000 (16%)
                      2018                 120,000                    22,000 (18%)
                      2020                 168,000               150,000 requested (89%)
                                                               (Voted data is not available)
15            Voted totals are rounded down to the nearest 1,000.

16   10.      Delays in mail delivery by the USPS could adversely impact the timely receipt of

17   ballots, thereby, jeopardizing the ability of such voters to have their ballots counted.

18   11.      In the 2020 primary election, many postal workers in Vermont went above and

19   beyond their job duties to ensure that all timely posted ballots were delivered to polling

20   places on time, which was a challenge given the much higher volume of mailed ballots

21   than in previous years. Vermont is concerned that, with the elimination of overtime and

                                                                                  Page 317 of 342
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 1   other recent USPS operational changes, postal workers will be unable to fulfill these

 2   functions for the 2020 general election.

 3   13.    Vermont is concerned that, with the certainty of a high turnout and heavy reliance

 4   on absentee voting or voting by mail for this impending election, postal service

 5   disruptions will disenfranchise voters, make receipt and processing more difficult for

 6   election workers and will undermine the integrity of election results if large numbers of

 7   ballots are not returned in time.

 8

 9          I declare under penalty of perjury that, to the best of my knowledge, the
10   foregoing is true and correct.
11

12          Executed at __Montpelier__, Vermont, on this _4th_ day of September, 2020.



13
14          ________________________________________
15          Christopher Winters
16          Deputy Secretary of State




                                                                               Page 318 of 342
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                         Exhibit 48




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     Solicitor General
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     KRISTIN BENESKI, WSBA #45478
4    ANDREW R.W. HUGHES, WSBA #49515
     CRISTINA SEPE, WSBA #53609
5    Assistant Attorneys General
     EMMA GRUNBERG, WSBA #54659
6    TERA M. HEINTZ, WSBA #54921
       (application for admission forthcoming)
7    KARL D. SMITH, WSBA #41988
       Deputy Solicitors General
8    800 Fifth Avenue, Suite 2000
     Seattle, WA 98104
9    (206) 464-7744

10
                     UNITED STATES DISTRICT COURT
11                  EASTERN DISTRICT OF WASHINGTON
                               AT YAKIMA
12
       STATE OF WASHINGTON, et                       NO. 1:20-cv-03127-SAB
13     al.,
                                                     DECLARATION OF
14                           Plaintiffs,             MARIBETH WITZEL-BEHL IN
             v.                                      SUPPORT OF PLAINTIFF
15                                                   STATES’ MOTION FOR
       DONALD J. TRUMP, et al.,                      PRELIMINARY INJUNCTION
16
                             Defendants.
17

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22
                                                               ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF MARIBETH                                        Complex Litigation Division
     WITZEL-BEHL                              1                      800 5th Avenue, Suite 2000
                                                                      Seattle, WA 98104-3188
                                                                           (206) 464-7744




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                                        2




                                                                     Page 321 of 342
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                                        3




                                                                     Page 322 of 342
Case 1:20-cv-03127-SAB     ECF No. 54-2       filed 09/09/20   PageID.771 Page 323 of 342




 I    especially acute for voters who wait until the deadline offive days before election

 2   day to request an absentee ballot by mail.

 3          11.    In Wisconsin's most recent primary election in August 2020, around

 4   270 absentee ballots arrived at the City Clerk's office by mail after the statutory

 5   deadline and were not counted. In the comparable primary election during August

 6   2018, the City Clerk's office received only around 160 late absentee ballots.

 7          12.    Madison voters have expressed to me their concerns with Postal

 8   Service mail delivery in connection with the November 2020 general election,

 9   and specifically their worries that the Postal Service will not deliver their

10   completed absentee ballots in a timely and reliable fashion.

11

12          I declare under penalty ofpe1jmy under the laws ofthe State of Wisconsin

13   and the United States that the foregoing is true and correct.

14          DATED this 18th day ofAugust, 2020, at Madison, Wisconsin.

15

16                                    Maribeth Witzel-B�
                                      City Clerk of the City ofMadison, Wisconsin
17

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     DECLARATION OF MARIBETH              4
                                                                 ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
     WITZEL-BEHL                                                       800 5th Avenue, Suite 2000
                                                                        Seattle, WA 98104-3188
                                                                             (206) 464-7744




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                         Exhibit 49




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 1    ROBERT W. FERGUSON
      Attorney General
 2
 3
 4
 5                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
 6                                AT YAKIMA

 7
      STATE OF WASHINGTON, et al.,                 NO. 1:20-CV-03127
 8
                             Plaintiff,            DECLARATION OF DAVID YAO
 9
            v.
10
      DONALD J. TRUMP, et al.,
11
                             Defendants.
12
13
14          I, David Yao, declare as follows:

15          1.     I am over the age of 18, am competent to testify as to the matters

16    herein, and make this declaration based on my personal knowledge.

17          2.     I have been a United States Postal Service (USPS) employee for

18    over 30 years. In addition to my role as a postal clerk for the USPS, I currently

19    serve as Vice President of the Greater Seattle Area Local of the American Postal

20    Workers Union. I make this declaration in my personal capacity and not on

21    behalf of any organization or entity.

22

                                                                 ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF DAVID YAO                     1                   Complex Litigation Division
24                                                                     800 5th Avenue, Suite 2000
                                                                        Seattle, WA 98104-3188
                                                                             (206) 464-7744
25
                                                                               Page 325 of 342
26
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 1          3.     The USPS has recently made several significant changes to the way
 2    it processes and delivers mail in the State of Washington.
 3          4.     In general, when a mail carrier is out on their daily route, they will
 4    pick up outgoing mail from various sources, including private mailboxes and
 5    public blue boxes. When the mail carrier finishes their route, they will bring that
 6    outgoing mail back to the station, where it will be put on a truck that will take it

 7    to a regional processing center that evening. At the processing center, the mail
 8    will be postmarked and sorted depending on its destination.
 9          5.     One of the more significant recent changes to the way mail is being
10    processed in Washington State is that trucks traveling between stations and
11    processing centers must now leave each facility by a firm deadline each day, and
12    there cannot be any exceptions to this deadline. I learned about this change from

13    the truck drivers. They have told me that this requirement applies both to trucks
14    leaving stations at the end of the day to take outgoing mail to a processing center,
15    and to trucks leaving processing centers in the morning to take mail that has been
16    postmarked and sorted to a station for delivery.
17          6.     In normal circumstances, if the last truck of the day were about to
18    leave a station to take outgoing mail to a processing center, the truck would have

19    discretion to wait if there was for example a letter carrier who was about to return
20    with a large bundle of outgoing mail collected during the day. In that situation,
21    waiting a short amount of time makes it possible to ensure that all of the outgoing
22

                                                                ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF DAVID YAO                    2                   Complex Litigation Division
24                                                                    800 5th Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
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25
                                                                              Page 326 of 342
26
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 1    mail that was collected during the day would be sent to the processing center that
 2    evening to be sorted and postmarked.
 3           7.       These recent changes, however, represent a significant departure
 4    from our prior practices. Truck drivers have told me they are required to leave
 5    the station for the processing center by a firm deadline without any exceptions.
 6    As a result, even if a carrier is about to return to the station with a large bundle

 7    of outgoing mail collected during the day, the truck leaving for the processing
 8    center is not permitted to wait for the carrier to arrive. Instead, the truck will leave
 9    before the carrier arrives, and that outgoing mail will get left behind to sit at the
10    station for at least another day unless a supervisor can drive it to the processing
11    center to be sorted and postmarked.
12           8.       I have heard from other Union officers and postal employees that

13    these changes also apply to trucks leaving a processing center in the morning to
14    take postmarked and sorted mail to stations for distribution and delivery.
15    Previously, if there was still a large volume of mail that was nearly done being
16    processed in the morning, the trucks could wait to make sure they got all the mail
17    that should go to the station that day. Under the recent changes, however, those
18    trucks also leave by a firm deadline without any exception. As a result, any mail

19    that was nearly done being processed will miss the truck entirely and could
20    instead sit at the facility for at least another day until it can be driven to the station
21    for delivery.
22

                                                                    ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF DAVID YAO                       3                    Complex Litigation Division
24                                                                        800 5th Avenue, Suite 2000
                                                                           Seattle, WA 98104-3188
                                                                                (206) 464-7744
25
                                                                                  Page 327 of 342
26
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 1             9.     In my experience as a postal employee, election mail is usually
 2       treated as First Class Mail, regardless of the postage on the envelope. This
 3       includes absentee or mail-in ballots that are sent to voters and the completed
 4       ballots that are sent back to election officials.

 5             I declare under penalty of perjury under the laws of the State of

 6       Washington and the United States that the foregoing is true and correct.

 7

 8            DATED this _______
                         3rd     day of September, 2020, at Seattle, Washington.

 9
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11                                         DAVID YAO
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        DECLARATION OF DAVID YAO                      4              ATTORNEY GENERAL OF WASHINGTON
                                                                          Complex Litigation Division
                                                                           800 5th Avenue, Suite 2000
                                                                            Seattle, WA 98104-3188
                                                                                 (206) 464-7744



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 4    ANDREW R.W. HUGHES, WSBA #49515
      CRISTINA SEPE, WSBA #53609
 5    Assistant Attorneys General
      EMMA GRUNBERG, WSBA #54659
 6    TERA M. HEINTZ, WSBA #54921
        (application for admission forthcoming)
 7    KARL D. SMITH, WSBA #41988
        Deputy Solicitors General
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      Seattle, WA 98104
 9    (206) 464-7744

10
                      UNITED STATES DISTRICT COURT
11                   EASTERN DISTRICT OF WASHINGTON
                                AT YAKIMA
12
        STATE OF WASHINGTON, et                    NO. 1:20-cv-03127-SAB
13      al.,
                                                   DECLARATION OF KAREN
14                          Plaintiffs,            YARBROUGH IN SUPPORT
              v.                                   OF PLAINTIFF STATES’
15                                                 MOTION FOR PRELIMINARY
        DONALD J. TRUMP, et al.,                   INJUNCTION
16
                            Defendants.
17

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                                                             ATTORNEY GENERAL OF WASHINGTON
     DECLARATION OF KAREN A.                                      Complex Litigation Division
     YARBROUGH                                                     800 5th Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
                                                                         (206) 464-7744



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                                                                     Page 339 of 342
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                         Yarbrough Declaration
                                 Exhibit A




                                                                     Page 340 of 342
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